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           League of Women Voters of Florida, Inc.

                                        vs.

                                   Laurel Lee



                               Deposition of:

                        Michael McDonald, Ph.D.



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   · · · · · · · · UNITED STATES DISTRICT COURT
   · · · · · · · · NORTHERN DISTRICT OF FLORIDA
   · · · · · · · · · · TALLAHASSEE DIVISION

   · · · ·Case No.· 4:21CV186-MW/MAF· · · · ·4:21-cv-187
   · · · · · · · · ·4:21-cv-201· · · · · · · ·4:21-cv-242

   ·LEAGUE OF WOMEN VOTERS OF FLORIDA,
   ·et al.,

   · · · · · · · · · ·Plaintiffs,

   · · ·v.

   ·LAUREL M. LEE, Florida Secretary
   ·of State, et al.,

   · · · · · · · · · ·Defendants,

   · · ·and

   ·NATIONAL REPUBLICAN SENATORIAL COMMITTEE, et al.,

   · · · · · · · · · ·Intervenor-Defendants.
   ·~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~


   REMOTE ZOOM-RECORDED DEPOSITION OF MICHAEL McDONALD, Ph.D.


   · · · · · · · · · Volume 1 (Pages:· 1-95)



   · · · · · · · · · Friday, October 29, 2021
   · · · · · · · · · 10:02 a.m. - 12:26 p.m.



   · · · · · · · · Location:· Via Web Conference



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   ·1· ·APPEARANCES:· (All parties appeared via Web conference)

   ·2
   · ·   ·ON BEHALF OF FLORIDA RISING TOGETHER:
   ·3
   · ·   ·   ·   ·   ·   ·   ARNOLD & PORTER KAYE SCHOLER, LLP
   ·4·   ·   ·   ·   ·   ·   601 Massachusetts Avenue, Northwest
   · ·   ·   ·   ·   ·   ·   Washington, D.C. 20001
   ·5·   ·   ·   ·   ·   ·   202.942.5564
   · ·   ·   ·   ·   ·   ·   BY:· Jeremy Karpatkin, Esquire
   ·6·   ·   ·   ·   ·   ·   jeremy.karpatkin@arnoldporter.com

   ·7· · · · · · · · · · ·-and-

   ·8·   ·   ·   ·   ·   ·   250 West 55th Street
   · ·   ·   ·   ·   ·   ·   New York, New York 10019
   ·9·   ·   ·   ·   ·   ·   212.836.7827
   · ·   ·   ·   ·   ·   ·   BY:· Andrew R. Hirschel, Esquire
   10·   ·   ·   ·   ·   ·   andrew.hirschel@arnoldporter.com

   11
   · ·   ·ON BEHALF OF FLORIDA STATE CONFERENCE OF THE NAACP:
   12
   · ·   ·   ·   ·   ·   ·   COVINGTON & BURLING, LLP
   13·   ·   ·   ·   ·   ·   One City Center
   · ·   ·   ·   ·   ·   ·   850 Tenth Street, Northwest
   14·   ·   ·   ·   ·   ·   Washington, D.C. 20001
   · ·   ·   ·   ·   ·   ·   202.652.5218
   15·   ·   ·   ·   ·   ·   BY:· Cyrus Nasseri, Esquire
   · ·   ·   ·   ·   ·   ·   cnasseri@cov.com
   16

   17·   ·ON BEHALF OF HARRIET TUBMAN FREEDOM FIGHTERS, CORP and HEAD
   · ·   ·COUNT, INC.:
   18
   · ·   ·   ·   ·   ·   ·   FAIR ELECTIONS CENTER
   19·   ·   ·   ·   ·   ·   1825 K Street Northwest
   · ·   ·   ·   ·   ·   ·   Suite 450
   20·   ·   ·   ·   ·   ·   Washington, DC 20006
   · ·   ·   ·   ·   ·   ·   202.331.0114
   21·   ·   ·   ·   ·   ·   BY:· Michelle Kanter Cohen, Esquire
   · ·   ·   ·   ·   ·   ·   mkantercohen@fairelectionscenter.org
   22

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   ·2
   · ·   ·ON BEHALF OF THE ATTORNEY GENERAL:
   ·3
   · ·   ·   ·   ·   ·   ·   OFFICE OF THE ATTORNEY GENERAL
   ·4·   ·   ·   ·   ·   ·   General Civil Litigation Division
   · ·   ·   ·   ·   ·   ·   PL-01, The Capitol
   ·5·   ·   ·   ·   ·   ·   Tallahassee, Florida 32399
   · ·   ·   ·   ·   ·   ·   850.414.3670
   ·6·   ·   ·   ·   ·   ·   BY: William Chorba, Esquire
   · ·   ·   ·   ·   ·   ·   william.chorba@myfloridalegal.com
   ·7

   ·8· ·ON BEHALF OF ALACHUA COUNTY SUPERVISOR OF ELECTIONS:

   ·9·   ·   ·   ·   ·   ·   ALACHUA COUNTY ATTORNEY'S OFFICE
   · ·   ·   ·   ·   ·   ·   12 Southeast First Street
   10·   ·   ·   ·   ·   ·   Second Floor
   · ·   ·   ·   ·   ·   ·   Gainesville, Florida 32601
   11·   ·   ·   ·   ·   ·   352.374.5218
   · ·   ·   ·   ·   ·   ·   BY:· Diana M. Johnson, Esquire
   12·   ·   ·   ·   ·   ·   dmjohnson@alachuacounty.us

   13
   · ·   ·ON BEHALF OF OKALOOSA COUNTY SUPERVISOR OF ELECTIONS:
   14
   · ·   ·   ·   ·   ·   ·   NABORS, GIBLIN & NICKERSON, P.A.
   15·   ·   ·   ·   ·   ·   1500 Mahan Drive
   · ·   ·   ·   ·   ·   ·   Suite 200
   16·   ·   ·   ·   ·   ·   Tallahassee, Florida 32308
   · ·   ·   ·   ·   ·   ·   850.224.4070
   17·   ·   ·   ·   ·   ·   BY:· Gregory T. Stewart, Esquire
   · ·   ·   ·   ·   ·   ·   gstewart@ngnlaw.com
   18

   19·   ·ON BEHALF OF OKEECHOBEE COUNTY SUPERVISOR OF ELECTIONS,
   · ·   ·HOLMES COUNTY SUPERVISOR OF ELECTIONS, HENDRY COUNTY
   20·   ·SUPERVISOR OF ELECTIONS, GLADES COUNTY SUPERVISOR OF
   · ·   ·ELECTIONS, HARDEE COUNTY SUPERVISOR OF ELECTIONS, LEVY
   21·   ·COUNTY SUPERVISOR OF ELECTIONS, and OKEECHOBEE COUNTY
   · ·   ·SUPERVISOR OF ELECTIONS:
   22
   · ·   ·   ·   ·   ·   ·   HENDERSON, FRANKLIN, STARNES & HOLT, P.A.
   23·   ·   ·   ·   ·   ·   1715 Monroe Street
   · ·   ·   ·   ·   ·   ·   Fort Myers, Florida 33901
   24·   ·   ·   ·   ·   ·   239.344.1598
   · ·   ·   ·   ·   ·   ·   BY:· Robert V. White, Esquire
   25·   ·   ·   ·   ·   ·   robert.white@henlaw.com


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   ·3·   ·BREVARD COUNTY SUPERVISOR OF ELECTIONS, MADISON COUNTY
   · ·   ·SUPERVISOR OF ELECTIONS, GILCHRIST COUNTY SUPERVISOR OF
   ·4·   ·ELECTIONS, and HIGHLANDS COUNTY SUPERVISOR OF ELECTIONS:

   ·5·   ·   ·   ·   ·   ·   ROPER, P.A.
   · ·   ·   ·   ·   ·   ·   2707 East Jefferson Street
   ·6·   ·   ·   ·   ·   ·   Orlando, Florida 32803
   · ·   ·   ·   ·   ·   ·   407.897.5150
   ·7·   ·   ·   ·   ·   ·   BY: John Janousek, Esquire
   · ·   ·   ·   ·   ·   ·   jjanousek@roperpa.com
   ·8

   ·9· ·ON BEHALF OF THE INTERVENOR DEFENDANTS:

   10·   ·   ·   ·   ·   ·   SHUTTS & BOWEN, LLP
   · ·   ·   ·   ·   ·   ·   200 South Biscayne Boulevard
   11·   ·   ·   ·   ·   ·   Suite 4100
   · ·   ·   ·   ·   ·   ·   Miami, Florida 33131
   12·   ·   ·   ·   ·   ·   305.347.7305
   · ·   ·   ·   ·   ·   ·   BY:· Francis A. Zacherl, III, Esquire
   13·   ·   ·   ·   ·   ·   faz@shutts.com

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   17·   ·Exhibit 4· · Response and Supplemental· · · · · · · 6
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   · ·   · · · · · ·     ·   Committee Substitute for Senate
   20·   · · · · · ·     ·   Bill 90

   21

   22·   ·   · (Stenographer's Note:· Exhibits sent to stenographer
   · ·   ·   electronically.· A digital exhibit sticker was placed on
   23·   ·   the documents that were marked during the proceeding and
   · ·   ·   · · · · · · ·retained by the stenographer.)
   24

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   ·1· ·Thereupon,
   ·2· ·The following Web proceedings began at 10:02 a.m.:
   ·3· · · · · · · · · · · · · · ~ ~ ~ ~ ~
   ·4· · · · · · ·(Documents premarked as Exhibits 1 - 4
   ·5· · · · · · · · · · · for identification)
   ·6· · · · · · MS. KANTER COHEN:· For the record, we agreed that
   ·7· · · · an objection from any of plaintiffs' counsel will
   ·8· · · · apply to all the plaintiffs in this matter.
   ·9· · · · · · THE STENOGRAPHER:· Will you raise your right hand,
   10· · · · please?
   11· · · · · · Do you solemnly swear or affirm that the testimony
   12· · · · you are about to give in the matter before you will be
   13· · · · the truth, the whole truth, and nothing but the truth?
   14· · · · · · THE WITNESS:· I do.
   15· ·Thereupon,
   16· · · · · · · · · · MICHAEL McDONALD, Ph.D.,
   17· ·having been duly sworn, was examined and testified as
   18· ·follows:
   19· · · · · · · · · · · ·DIRECT EXAMINATION
   20· ·BY MR. ZACHERL:
   21· · · ·Q.· ·Good morning, Dr. McDonald.· My name is Frank
   22· ·Zacherl.· I represent the intervenor defendants in this
   23· ·case.· Happy Friday.· I know you said earlier you can hear
   24· ·me okay.
   25· · · · · · I want to put on the record two things.· One, I


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   ·1· ·agree with Michelle's statement about the objections, and
   ·2· ·we probably should have done that a long time ago.· That's
   ·3· ·very sensible.
   ·4· · · · · · Second, I have placed the four exhibits for this
   ·5· ·deposition in the chat.· So there are -- there is
   ·6· ·basically, Dr. McDonald, your report, your CV -- that's
   ·7· ·Exhibit 1.· Your CV is Exhibit 2, Dr. Kidd's report that
   ·8· ·you are commenting on is Exhibit 3, and then Exhibit 4 will
   ·9· ·be Dr. Kidd's supplemental report, which I'm going to ask
   10· ·you about in a minute.
   11· · · · · · MR. ZACHERL:· To the extent anybody has any issues
   12· · · · retrieving those, please let me know, but I put them
   13· · · · in the chat earlier this morning so we would be ready
   14· · · · to go.
   15· ·BY MR. FRAZIER:
   16· · · ·Q.· ·Dr. McDonald, do you have copies of those
   17· ·documents?
   18· · · ·A.· ·I am just going to download the ones that you have
   19· ·provided so I have exactly the same ones that you have, so
   20· ·if you will just bear with me for a minute, I have got to
   21· ·save it to my computer.
   22· · · ·Q.· ·Take your time.
   23· · · · · · While you are doing that, you may see some
   24· ·underlining or comments in there.· I'm not tech savvy
   25· ·enough to put a clean copy in the chat, so you can ignore


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   ·1· ·my comments.
   ·2· · · · · · MR. KARPATKIN:· I'm not seeing them in the chat.
   ·3· · · · Am I looking in the wrong place?
   ·4· · · · · · MR. ZACHERL:· If you click on the Chat button at
   ·5· · · · the bottom.
   ·6· · · · · · MR. KARPATKIN:· Right.
   ·7· · · · · · MR. ZACHERL:· And it should pop up.· On the
   ·8· · · · right-hand side, you should get a, you know, kind of
   ·9· · · · like a rectangle that has the four documents in there.
   10· · · · · · MR. STUART:· Frank, I'm not getting it either.
   11· · · · · · THE STENOGRAPHER:· Frank, I think you put them in
   12· · · · before everybody joined, so they won't see it.· You'll
   13· · · · need to put them in now that everybody's joined.                I
   14· · · · got them because I was on with you.
   15· · · · · · MR. ZACHERL:· Oh, the best-laid plans.· So we are
   16· · · · going to do this again.· Just stay with me for a
   17· · · · minute, folks.· Everything is an adventure when it
   18· · · · comes to me and the computer.
   19· · · · · · So the first one is up.
   20· · · · · · MR. KARPATKIN:· I'm seeing it, yep.
   21· · · · · · MR. ZACHERL:· Dr. McDonald's CV is the second one,
   22· · · · Dr. Kidd's report will be the third one, and
   23· · · · Dr. Kidd's supplemental will be the fourth one.
   24· · · · · · Sorry about that, everybody.· I learn something
   25· · · · new every day about this interface.


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    ·1· ·BY MR. ZACHERL:
    ·2· · · ·Q.· ·While everybody is downloading, let me go ahead
    ·3· ·and start asking you some questions, Dr. McDonald.
    ·4· · · · · · The first thing is, just for the record, can you
    ·5· ·give us your full name and spell it for the court reporter,
    ·6· ·please.
    ·7· · · ·A.· ·My name is Michael McDonald, M-I-C-H-A-E-L, M-C
    ·8· ·capital D-O-N-A-L-D.
    ·9· · · ·Q.· ·Have you ever had your deposition taken before,
    10· ·sir?
    11· · · ·A.· ·Yes, I have.
    12· · · ·Q.· ·Okay.· So you know the drill.· The two main things
    13· ·from my perspective are, number one, I'm going to try to go
    14· ·slow.· I would ask you to do the same thing.· In the
    15· ·military they say slow is fast.· This is sort of the same
    16· ·thing.· It will make a clean record, and we won't talk over
    17· ·each other.
    18· · · · · · The second thing is please tell me if you don't
    19· ·understand any of the questions that I ask you.· Okay?
    20· · · ·A.· ·Yes, that's okay with me.
    21· · · ·Q.· ·Okay.· The first thing, just to get some, you
    22· ·know, some sort of 10,000-foot background, what did you do
    23· ·to prepare for this deposition today, sir?
    24· · · ·A.· ·I have reviewed the documents that you have shared
    25· ·with me as a matter of this case, and I have followed some


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    ·1· ·of the links that were provided by Dr. Kidd in his
    ·2· ·supplemental report, but I have not been able to do a
    ·3· ·comprehensive review of all the information that he
    ·4· ·provided.
    ·5· · · ·Q.· ·Okay.· Did you do anything else to prepare?
    ·6· · · ·A.· ·I did have meetings with my lawyers, so, yes, I
    ·7· ·did that as well.
    ·8· · · ·Q.· ·Anything else?
    ·9· · · ·A.· ·No, that is all.
    10· · · ·Q.· ·Did you speak to Dr. Mayer before this deposition
    11· ·about your deposition?
    12· · · ·A.· ·I have never spoken to Dr. Mayer about this case.
    13· · · ·Q.· ·And then did you review either Dr. Mayer's depo
    14· ·transcript or Dr. Kidd's deposition transcript?· He was
    15· ·deposed yesterday.
    16· · · ·A.· ·I have not reviewed either transcript.
    17· · · ·Q.· ·Okay.· The good news is Dr. Kidd addressed a lot
    18· ·of what I think you had in your report yesterday, which
    19· ·will make this deposition shorter because I don't have to
    20· ·address it with you since he has addressed it.· I just
    21· ·wanted to see if you had seen that.
    22· · · · · · Besides the documents that you described, did you
    23· ·review any other deposition transcripts or any other
    24· ·evidence in the case?
    25· · · ·A.· ·I have not.


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    ·1· · · ·Q.· ·Okay.· And then you just told me that you looked
    ·2· ·at Dr. Kidd's supplemental report but you haven't had a
    ·3· ·chance to verify all the citations; is that a fair summary?
    ·4· · · ·A.· ·That's correct.
    ·5· · · ·Q.· ·Okay.· I'm going to ask you about some of those
    ·6· ·statements in his supplemental report today, and to the
    ·7· ·extent you can't verify, you can just tell me that.· Okay?
    ·8· · · ·A.· ·Yes.
    ·9· · · ·Q.· ·Other than your initial report, which I have seen
    10· ·and what we have marked as an exhibit here, have you
    11· ·prepared any other reports for this matter?
    12· · · ·A.· ·No, I have not.
    13· · · ·Q.· ·And then the final question is, to save us a lot
    14· ·of time, is your curriculum vitae, which I have attached as
    15· ·Exhibit 2, more or less up to date?
    16· · · ·A.· ·Yes, more or less up to date.· Since I filed it
    17· ·two weeks ago, I started working on districting for the
    18· ·City of Gainesville, but other than that there have been no
    19· ·other changes.
    20· · · ·Q.· ·Okay.· And is it fair to say that your CV gives us
    21· ·an accurate and sounds like a pretty current summary of
    22· ·your background, your education, your publications or
    23· ·qualifications, et cetera?
    24· · · ·A.· ·Yes.
    25· · · ·Q.· ·Let's talk about Dr. Kidd for a minute.· Do you


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    ·1· ·know Dr. Kidd personally?
    ·2· · · ·A.· ·Yes, I do.
    ·3· · · ·Q.· ·How is it that you know him?
    ·4· · · ·A.· ·When I was at George Mason University, which is in
    ·5· ·a suburb of the D.C. area in Virginia, he and I worked
    ·6· ·together on a reform effort to reform redistricting in the
    ·7· ·state of Virginia.· As a part of that reform effort, that
    ·8· ·morphed into a work on a -- Governor McDonald, who is
    ·9· ·Republican, a bipartisan, independent, redistricting
    10· ·advisory committee.· I think I got the name right.· And so
    11· ·we worked together on that commission, that advisory
    12· ·commission, that Governor McDonald had created for
    13· ·redistricting.· This would have been around 2011.
    14· · · ·Q.· ·Was the initial George Mason contact that you
    15· ·described also in that 2011 time frame?
    16· · · ·A.· ·Yes.· It would have been sometime around there.
    17· ·It could have been late 2010, but sometime around that
    18· ·area.· Virginia has a very fast track on districting
    19· ·compared to some other states, and so I would think that
    20· ·our initial conversations would have been sometime late
    21· ·2010.
    22· · · ·Q.· ·Got it.· Okay.· Just to get an understanding, did
    23· ·you-all work together or, I guess, collaborate on those two
    24· ·projects that you mentioned?
    25· · · ·A.· ·Yes, we did.


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    ·1· · · ·Q.· ·Rising out of those projects, did you have any
    ·2· ·publications or any further research that you did together
    ·3· ·that related to those two projects?
    ·4· · · ·A.· ·No, I have never coauthored or worked on a paper
    ·5· ·together with Dr. Kidd.
    ·6· · · ·Q.· ·Okay.· When you worked together, did you meet him
    ·7· ·in person or was it something where you did it over the
    ·8· ·phone and online?
    ·9· · · ·A.· ·Yes, we met in person.· There were in-person
    10· ·meetings for the commission, and so there were a number of
    11· ·opportunities for the two of us to talk face-to-face.
    12· · · ·Q.· ·Other than those two projects, have you and
    13· ·Dr. Kidd worked together on anything else?
    14· · · ·A.· ·No, we have not.
    15· · · ·Q.· ·Okay.· I don't believe this is the case, but I
    16· ·just want to ask you, do you claim that Dr. Kidd is any
    17· ·less qualified than you are to provide opinions in the
    18· ·field of political science in this case?
    19· · · ·A.· ·Any less than I am?· I am widely regarded as one
    20· ·of the leading experts on elections in the country.            I
    21· ·don't think that Dr. Kidd has raised to that same level in
    22· ·terms of his national/international reputation.
    23· · · ·Q.· ·Okay.· Do you believe that -- let me ask you this
    24· ·way, do you believe that he is unqualified to render expert
    25· ·opinions in this matter?


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    ·1· · · ·A.· ·Again, my personal belief would be that he should
    ·2· ·be competent enough to render an expert report.
    ·3· · · ·Q.· ·Fair enough.· Fair enough.· And then one other
    ·4· ·just sort of, you know, broad-brush question.· Is it
    ·5· ·unusual in your field of political science, and I guess
    ·6· ·election administration, for well-qualified experts to
    ·7· ·disagree with one another on particular topics?
    ·8· · · ·A.· ·Yes, there are.· Certainly in the courtroom that I
    ·9· ·have been involved with in several cases instances where
    10· ·there have been disagreements, and I have seen those
    11· ·disagreements lead to instances where an opposing expert
    12· ·was found not credible by a Court.
    13· · · ·Q.· ·That was one of the questions I had for you, just
    14· ·as sort of a general background.· Has any Court ever found
    15· ·that you were unqualified to -- well, first of all, has any
    16· ·Court ever accepted you as an expert?
    17· · · ·A.· ·Yes, I have been accepted numerous times.
    18· · · ·Q.· ·Has your opinion, to your knowledge, ever been
    19· ·excluded in any of the matters in which you have been
    20· ·involved in by a Court?
    21· · · · · · MR. KARPATKIN:· Hold on.· I want to object as to
    22· · · · form.· Vagueness to the question.
    23· ·BY MR. ZACHERL:
    24· · · ·Q.· ·I will rephrase.
    25· · · · · · Has any judge ever stricken your opinion?


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    ·1· · · ·A.· ·Again, I'm not familiar enough with the legal
    ·2· ·terminology.· I don't think that my opinion has ever been
    ·3· ·stricken from the record, but, yes, so I don't believe
    ·4· ·that's the case.
    ·5· · · ·Q.· ·Has any judge ever refused to recognize you as an
    ·6· ·expert?
    ·7· · · ·A.· ·Has any judge refused to recognize me as an
    ·8· ·expert?· No.
    ·9· · · ·Q.· ·And then --
    10· · · ·A.· ·Not to my knowledge.
    11· · · ·Q.· ·Just to get a sense of it, has any judge ever
    12· ·refused to consider any of your opinions, not necessarily,
    13· ·you know, formally striking them, but just saying I'm not
    14· ·going to consider these opinions, to your knowledge?
    15· · · ·A.· ·Yes, that's happened.
    16· · · ·Q.· ·Okay.· How many times would you say that's
    17· ·happened in your career?
    18· · · ·A.· ·Once with a three-court panel in South Carolina,
    19· ·once with a dissenting opinion on a three-court --
    20· ·three-judge panel in Virginia, and once with the state
    21· ·Supreme Court in Ohio.
    22· · · ·Q.· ·Okay.· Are those cases reflected on your
    23· ·curriculum vitae, your CV?
    24· · · ·A.· ·They are.
    25· · · ·Q.· ·Okay.· Let's switch gears a little bit.· I'm going


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    ·1· ·to ask you some general questions about Dr. Kidd's report,
    ·2· ·and then I want to go through it with you and ask you some
    ·3· ·more specific questions.
    ·4· · · · · · First generally, and I have read your report, and
    ·5· ·I appreciate you taking the time to put that together, it's
    ·6· ·very helpful.· One of the phrases in your report is
    ·7· ·"sleight of hand."· You basically said that Dr. Kidd
    ·8· ·employed sleight of hand in a portion of his analysis.· Do
    ·9· ·you stand by that characterization today?
    10· · · ·A.· ·Yes, I do.
    11· · · ·Q.· ·And can you give us an example of sleight of hand
    12· ·that you believe was employed by Dr. Kidd?
    13· · · ·A.· ·If you want to point to the passage in my report
    14· ·so that we can have a discussion about that.
    15· · · ·Q.· ·No problem.· Yeah, sure.· Let me see if I can find
    16· ·it quickly here.
    17· · · · · · Where I see it is in Section 6 of your report,
    18· ·which is on page 11.· You can tell me when you are there.
    19· · · ·A.· ·Yes, I see that sentence.
    20· · · ·Q.· ·Do you see where it says, "First, Dr. Kidd
    21· ·performs a sleight of hand by restricting his opinion."
    22· · · · · · Do you see that?
    23· · · ·A.· ·Yes.
    24· · · ·Q.· ·Now, is this the only instance, in your view --
    25· ·and this is why I was asking the question about examples.


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    ·1· ·Other than this example that you have discussed in your
    ·2· ·report, are there any other examples that, in your opinion,
    ·3· ·constitute Dr. Kidd performing sleight of hand?
    ·4· · · ·A.· ·Well, I am using here my objections to his -- or
    ·5· ·I'm describing my objection to his restricting his analysis
    ·6· ·to only certain states rather than looking more
    ·7· ·comprehensively at 50 states.· And he does so in a way that
    ·8· ·will often favor his opinion about Florida with respect to
    ·9· ·other states because either he is ignoring some states that
    10· ·may have more permissive laws or something of that nature
    11· ·than what Florida has.
    12· · · · · · He does this more than once.· I'm just using
    13· ·sleight of hand here to say that this really -- if you are
    14· ·going to do an analysis of Florida in relation to other
    15· ·states, you should do -- you should include all 50 states
    16· ·rather than restricting your analysis and then saying that
    17· ·how does Florida compare favorably or disfavorably to other
    18· ·states within the more restricted states.
    19· · · · · · So I don't think this is the only time he does
    20· ·this.· As I recall, here we are talking about third-party
    21· ·ballot collection rules.· I think he does something similar
    22· ·with the disclaimer rules where he -- and I'm just skimming
    23· ·through.· So, you know, I'm just giving you a sense of
    24· ·where this is happening, because it is happening in
    25· ·multiple places within his report.· I'm trying to read


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    ·1· ·through to make sure that I answer your question.
    ·2· · · ·Q.· ·Take your time.· There is no rush.
    ·3· · · ·A.· ·Yeah.
    ·4· · · ·Q.· ·What I'm trying to get a sense of -- my next
    ·5· ·question, just so you know, is going to be by sleight of
    ·6· ·hand do you mean that -- are you essentially accusing
    ·7· ·Dr. Kidd of intentionally attempting to deceive the readers
    ·8· ·of his report?
    ·9· · · ·A.· ·Yes, I am, actually, with that language, because
    10· ·he is restricting his analysis and then coming to a
    11· ·conclusion where, you know, at the beginning of his report
    12· ·he is talking about -- I'm going to have to go to his
    13· ·report now.
    14· · · ·Q.· ·Take your time.· Like I said, that's the context.
    15· ·That's why I'm asking you these questions.· But I do want
    16· ·to hear everything you have to say.
    17· · · ·A.· ·In his synopsis, for example, on page 4 and page 5
    18· ·of his report, he talks about how, for example, Section --
    19· ·well, why don't we do the one that we are looking at right
    20· ·here.· Section D, "How do Florida's rules related to
    21· ·third-party registrations spelled out in SB 90" -- so this
    22· ·is on page 4, paragraph 6 -- "compared to other states?"
    23· · · · · · So here at the very beginning of his report, he is
    24· ·not saying that he is going to restrict his analysis to
    25· ·certain states.· He says he is going to look at all states.


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    ·1· ·And then later on when he gets down into his report, he is
    ·2· ·restricting his analysis to only certain states.· So that
    ·3· ·seems inconsistent with what he was charged to do, what he
    ·4· ·claims he was charged to do in his report at the outset.
    ·5· · · · · · It does -- it has the implication that he is
    ·6· ·trying to shade his analysis in a way that is most
    ·7· ·favorable to the defendants, so that is why I'm using that
    ·8· ·word -- or that phrase, "sleight of hand."· I do think this
    ·9· ·is intentional because it's clear that he has changed his
    10· ·standard for how he is going to approach his analysis
    11· ·within the report.
    12· · · ·Q.· ·Fair enough.· Okay.· So, you know, this is all
    13· ·about you giving me your opinion, so that's what we are
    14· ·here to do.
    15· · · · · · Did you look at his supplemental declaration on
    16· ·this point regarding voter registration and the absentee
    17· ·voting rules?· Did you go through his supplemental report
    18· ·on these points?· And if so, does that change your opinion
    19· ·if you look at his supplemental report together with his
    20· ·original report with regard to whether he is engaging in
    21· ·sleight of hand?
    22· · · ·A.· ·I have read this supplemental report.· Is there a
    23· ·particular sentence that you wish to point me to that will
    24· ·point out my understanding of what I just described to you
    25· ·as somehow incorrect?· I'm willing to say that if that's


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    ·1· ·the case.
    ·2· · · ·Q.· ·Well, what I'm asking is, and I will ask it more
    ·3· ·generally, after reviewing his supplemental report, do you
    ·4· ·stand by your characterization of his opinions as sleight
    ·5· ·of hand?· Let's ask it that way.
    ·6· · · ·A.· ·Again, we are narrowly focused on the issue of him
    ·7· ·restricting his analysis to certain states at various
    ·8· ·points in his report rather than doing a full 50-state
    ·9· ·comparison that he says that he is going to do at the
    10· ·outset.
    11· · · · · · As I read his supplemental report, I have only had
    12· ·two days to review it --
    13· · · ·Q.· ·Right.
    14· · · ·A.· ·-- so if there is something in there that I have
    15· ·missed, I don't see it.· I don't see his explanation why it
    16· ·was that he was selectively restricting his analysis when
    17· ·he was doing -- when he was writing his report.
    18· · · ·Q.· ·Okay.· We will go through -- we will go through it
    19· ·in a little more detail, but it sounds like what you are
    20· ·saying, as we sit here right now, you would stand by that
    21· ·characterization even after reading his supplemental
    22· ·report; is that accurate?
    23· · · ·A.· ·I would.· Again, if you wish to point me to
    24· ·some -- some response that he has to that criticism that I
    25· ·had in his report, I would be happy to take a look at it.


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    ·1· ·If I have missed it for some reason, I would be happy to
    ·2· ·take a look at it and make a reassessment of my criticism
    ·3· ·of Dr. Kidd.
    ·4· · · ·Q.· ·Okay.· Okay.· So let's -- we will go through his
    ·5· ·report, and I will do that.· I don't want to go too far out
    ·6· ·of sequence here.· At this point I just kind of want to get
    ·7· ·a general sense.
    ·8· · · · · · There is another statement in your report where
    ·9· ·you describe errors in Dr. Kidd's analysis of the drop box
    10· ·laws in various states.· Do you recall that section of your
    11· ·report?
    12· · · ·A.· ·I do.
    13· · · ·Q.· ·And having read his supplemental report, do you
    14· ·stand by your characterization that he made errors with
    15· ·regard to the drop box -- his summary of the drop box laws
    16· ·in the various states?
    17· · · ·A.· ·Yes, I do.· I continue to believe that he is
    18· ·misclassifying.· He has come up with a -- he has one
    19· ·typology in his original report, and in the supplemental
    20· ·report he has now introduced a fourth category.· He had
    21· ·three categories in his original report, now he has an
    22· ·additional fourth category as to whether or not drop boxes
    23· ·are exclusively restricted within a state or if there is no
    24· ·enabling legislation.
    25· · · · · · Even within that, and I have not been able to spot


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    ·1· ·check all of his citations, some citations I have clicked
    ·2· ·on them and I get a 404 file missing error, so whatever
    ·3· ·citation he was providing is going to a dead website.· So
    ·4· ·whoever compiled that did not do a good job of updating
    ·5· ·that document by the time that this report was filed or the
    ·6· ·supplemental report was filed.· So that's one problem.
    ·7· · · · · · The other problem is that I can clearly see that
    ·8· ·whoever put that document together, if it was Dr. Kidd or
    ·9· ·somebody else, I don't know, but whoever put that document
    10· ·together also did not update for changes of laws that have
    11· ·happened over the last year.
    12· · · · · · For example, when you look at Nevada's, following
    13· ·Nevada's link, it is -- Nevada has adopted all mail ballot
    14· ·elections.· They did that sometime around June of this
    15· ·year, as I noted in my rebuttal report, and they changed
    16· ·the law with respect to drop boxes.· So his classification
    17· ·of Nevada is completely erroneous when you look at the
    18· ·actual law as it currently stands.
    19· · · · · · So, yeah, he incorrectly classifies, he tries to
    20· ·clean it up here.· But even there if you actually look at
    21· ·the statutes, he is still making errors in his
    22· ·classification.
    23· · · ·Q.· ·Okay.· So I'm going to unpack a little bit of what
    24· ·you said there.· It was quite a bit.· By the way, you
    25· ·answered a bunch of my questions with that, so thank you.


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    ·1· · · · · · But with regard to Nevada -- well, first of all,
    ·2· ·with regard to his classifications, I think he said in the
    ·3· ·supplemental report that the column stating that drop boxes
    ·4· ·are prohibited more accurately probably should have been
    ·5· ·titled no enabling legislation.· Is that your understanding
    ·6· ·of his characterization of that third column in his drop
    ·7· ·box table?
    ·8· · · ·A.· ·So just to be clear, in a deposition, I prefer
    ·9· ·actually looking at the statements that you have in the
    10· ·report.· So could you please when you are asking these
    11· ·questions, point to the specific points in his report so
    12· ·that I can respond to them?
    13· · · ·Q.· ·Well, let's take a look.· Do you have Dr. Kidd's
    14· ·supplemental report in front of you?
    15· · · ·A.· ·I do.· I just pulled it up, yes.
    16· · · ·Q.· ·Okay.· And so if you go to the section of his
    17· ·report, it's paragraph 8 on page 3.· Take a minute, you
    18· ·know, and let me know when you are there.
    19· · · ·A.· ·I'm there, yes.
    20· · · ·Q.· ·And you can see where he says, "Additionally,
    21· ·plaintiff's experts" -- one of whom I think is you he is
    22· ·responding to -- "contend my analysis of drop box
    23· ·availability is wrong because I did not consider states
    24· ·that implemented public health exceptions."
    25· · · · · · Do you see that?


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    ·1· · · ·A.· ·Yes.
    ·2· · · ·Q.· ·And then if you go down farther, in the last
    ·3· ·sentence he says, "I also note that the third category on
    ·4· ·Table 3 could be more accurately labeled No Enabling
    ·5· ·Legislation rather than Prohibited as I have also noted in
    ·6· ·the citations below."
    ·7· · · · · · Do you see that?
    ·8· · · ·A.· ·I do.
    ·9· · · ·Q.· ·And so would you agree with me that if you retitle
    10· ·that third column in his drop box table No Enabling
    11· ·Legislation as opposed to Prohibited, that the table would
    12· ·be accurate?
    13· · · ·A.· ·No, it would not.
    14· · · ·Q.· ·And why not, sir?
    15· · · ·A.· ·Because as I read through his prohibited no
    16· ·enabling legislation, he is describing two different
    17· ·classifications here.· There are some that he says are
    18· ·prohibited explicitly in law, and then there are others
    19· ·that have no enabling legislation.· So what he has really
    20· ·done is he has created out of this one category which was
    21· ·prohibited in which he now acknowledges wasn't actually
    22· ·prohibited, there is really two classifications here.· One
    23· ·is a really strictly prohibited and one is no enabling
    24· ·legislation, and that no enabling legislation is -- in some
    25· ·ways it's discretionary, so it really falls into the second


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    ·1· ·classification they have of allowed is his -- he has
    ·2· ·Required, Allowed, Prohibited.· There is no explicit
    ·3· ·prohibition, so states have their discretion or localities
    ·4· ·have their discretion to provide drop boxes if they wish to
    ·5· ·do so.
    ·6· · · · · · So that's -- you know, he would have needed to
    ·7· ·look at the practice that is actually employed within those
    ·8· ·states to understand whether or not as a practice local
    ·9· ·election officials were providing drop boxes that would be
    10· ·similar to how the states that are under his Allowed
    11· ·category to provide drop boxes.
    12· · · ·Q.· ·Are you able to point me to any of the states in
    13· ·his column 3, the No Enabling Legislation/Prohibited
    14· ·column, are you able to point me to any states where the
    15· ·legislature has said that it's discretionary on whether you
    16· ·can use drop boxes or not?
    17· · · ·A.· ·Whether the legislature?
    18· · · ·Q.· ·Yes.
    19· · · ·A.· ·You mean the legislature?· So, I mean, a
    20· ·legislature is a body of people.· Are you talking about the
    21· ·leadership in the legislature has said this?
    22· · · ·Q.· ·I'm talking about whether the legislature in a
    23· ·statute in any of the states in that third column that we
    24· ·are discussing has, you know -- you can take the word
    25· ·"legislature" out.· I mean the statute.· Are there any


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    ·1· ·statutes in that third column where the law specifically
    ·2· ·states that it's discretionary on whether to use drop boxes
    ·3· ·or not?
    ·4· · · ·A.· ·Well, that's a really interesting distinction that
    ·5· ·you are making about the law and if there is enabling
    ·6· ·statutes, because in some cases, like in Ohio, as I was
    ·7· ·following the court action there, and I have not followed
    ·8· ·it in depth, so it's just my understanding --
    ·9· · · ·Q.· ·Right.
    10· · · ·A.· ·-- that the state Supreme Court said it's up to
    11· ·the discretion of the Secretary of State of Ohio to
    12· ·promulgate rules about the use of drop boxes in the state
    13· ·even though there is no enabling legislation.· So as a
    14· ·matter of law in the state of Ohio, you might come to the
    15· ·conclusion that Ohio does have -- allowed use of drop boxes
    16· ·while there is no enabling statute.
    17· · · · · · It's this sort of important distinction that you
    18· ·need to -- if you are going to talk about how states vary
    19· ·in their drop box usage, you need to understand those
    20· ·nuances so that you can fully understand and appreciate the
    21· ·differences between how states actually implement the use
    22· ·of drop boxes across different states.
    23· · · ·Q.· ·Well, okay.· But let me ask you my question again
    24· ·because I think you might have gone a little farther than I
    25· ·asked.


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    ·1· · · · · · My question is, are any of the states in column 3,
    ·2· ·this No Enabling Legislation, states where the statutes in
    ·3· ·that state say that it's discretionary?
    ·4· · · ·A.· ·I have not done a thorough review of all the
    ·5· ·statutes, so I don't know if he is missing anything.
    ·6· · · ·Q.· ·Well --
    ·7· · · ·A.· ·I do know that Nevada is misclassified.· He is
    ·8· ·saying that it's prohibited, but there is actually enabling
    ·9· ·legislation.· So directly answering your question, I know
    10· ·for sure that's Nevada.· If given time, I can go through
    11· ·and look at all the states.· I may find other examples
    12· ·other than Nevada in the link that he provided.
    13· · · · · · So it's a link that he provided and did not bother
    14· ·to follow when he was compiling this document here where he
    15· ·is trying to clean up the mess that he made in his first
    16· ·report.
    17· · · ·Q.· ·And so other than Nevada, are you able to point to
    18· ·any other errors that you believe exist in that column 3
    19· ·that he has now entitled No Enabling Legislation?
    20· · · ·A.· ·Again, I have not had time to look at all of them.
    21· ·But as another example, there is a link in Idaho, and it
    22· ·goes to a dead link.· So I have not had time to look up
    23· ·this explicit statute other than the link that he provided.
    24· ·And I can't believe that within two weeks that Idaho
    25· ·changed their website so that they were creating a dead


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    ·1· ·link there.· It's just sloppiness that's pervading this
    ·2· ·report where there should be very firm citations and then
    ·3· ·links where they are provided and some check by somebody to
    ·4· ·verify that the classifications are correct.· That just
    ·5· ·wasn't done in this report.
    ·6· · · ·Q.· ·Okay.· So I just want to make sure I understand
    ·7· ·your testimony.· Your testimony is that in Nevada there is
    ·8· ·a state statute that explicitly authorizes the use of drop
    ·9· ·boxes; is that your understanding?
    10· · · ·A.· ·I was just reviewing it before we got on to this
    11· ·call.· Nevada adopted vote-by-mail elections in June of
    12· ·this year for all of their elections, and they adopted at
    13· ·that time, as I was reading the law, explicit use of drop
    14· ·boxes.
    15· · · ·Q.· ·Okay.· Okay.· And then besides what you described,
    16· ·are there any -- I mean, I understand your distinction
    17· ·between, you know, the statutes themselves and then, you
    18· ·know, the regulations that are promulgated by, you know,
    19· ·the administrative side like the Supervisor of Elections or
    20· ·Secretary of State or something like that.· I take your
    21· ·point.
    22· · · · · · Other than that and what you described so far, are
    23· ·there any other errors, and I know you said you haven't
    24· ·reviewed the whole thing yet, but are there any other
    25· ·errors that you can identify today in that column 3, No


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    ·1· ·Enabling Legislation?
    ·2· · · ·A.· ·It's not really my responsibility to go clean up
    ·3· ·Dr. Kidd's report and fix every error that he has in it.             I
    ·4· ·have checked some of them, and I have found the ones that I
    ·5· ·have described to you.· I would reserve that upon further
    ·6· ·investigation whether or not there are further errors that
    ·7· ·are in that particular section of his report that we are
    ·8· ·referencing at the moment.
    ·9· · · ·Q.· ·Okay.· But right now you are unable to point to
    10· ·any others, and you are saying it's just because you
    11· ·haven't gone through the whole report with all the
    12· ·citations; is that right?
    13· · · ·A.· ·That's correct.· I have only had two days, and I
    14· ·have had other responsibilities over those two days.
    15· · · ·Q.· ·Understood.
    16· · · ·A.· ·So I have had very limited time to take a look at
    17· ·all of the citations that he is providing.
    18· · · ·Q.· ·Okay.· In terms of his -- and, you know, I know
    19· ·the scope of your engagement was not to necessarily render
    20· ·opinions with regard to the conclusions that Dr. Kidd
    21· ·reached, but do you have -- first of all, were you asked to
    22· ·provide any opinions -- and you asked me to pull up the
    23· ·document, so let's pull up the document.
    24· · · · · · In his original report --
    25· · · ·A.· ·"His" being?


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    ·1· · · ·Q.· ·Dr. Kidd, sorry.
    ·2· · · ·A.· ·Okay.
    ·3· · · ·Q.· ·If you look at Dr. Kidd's original report, there
    ·4· ·is a section in the report where he summarizes his opinions
    ·5· ·essentially.· And I believe it starts on page 4, Section 2,
    ·6· ·called Synopsis.
    ·7· · · ·A.· ·Yes, I am there.
    ·8· · · ·Q.· ·Do you see that there?· Okay.
    ·9· · · · · · So in paragraph 6 he describes the questions that
    10· ·he examined.· And then if you go to paragraph 7, he talks
    11· ·about employing standard methods, and we will go back to
    12· ·that.· And then in paragraph 3, I'm sorry, Roman numeral
    13· ·III, Summary of Findings, he summarizes his findings.· Do
    14· ·you see that there?
    15· · · ·A.· ·Yes, I do.
    16· · · ·Q.· ·Okay.· So were you asked to provide opinions on
    17· ·whether you agree or disagree with the findings that he
    18· ·made as opposed to his process?
    19· · · ·A.· ·I was not.
    20· · · ·Q.· ·Okay.· Having read through those opinions, are
    21· ·there any that you -- well, are there any that you agree
    22· ·with?· Let me ask you that.
    23· · · · · · MR. KARPATKIN:· Hold on.· Objection.· Is that
    24· · · · question related to his expert opinion?· Because let's
    25· · · · stick to what is within the four corners of his expert


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    ·1· · · · report.
    ·2· · · · · · MR. ZACHERL:· I think it's appropriate for me to
    ·3· · · · ask him -- I am asking him his expert opinion, but I
    ·4· · · · think it's appropriate for me to ask him since he has
    ·5· · · · reviewed this and since he works in the same field and
    ·6· · · · has collaborated with Dr. Kidd whether he agrees with
    ·7· · · · any of Dr. Kidd's opinions.· So I will let the
    ·8· · · · question stand.· If you want to instruct him not to
    ·9· · · · answer, that's fine.
    10· · · · · · MR. KARPATKIN:· Just to clarify, are you asking
    11· · · · him for his expert opinion or his personal opinion?
    12· · · · · · MR. ZACHERL:· Well, right now I'm asking for his
    13· · · · expert opinion.· You have anticipated, Jeremy, that I
    14· · · · will probably then ask him if he doesn't have an
    15· · · · expert opinion whether he agrees personally or not.
    16· · · · My question right now is in his expert opinion as a
    17· · · · political scientist.
    18· · · ·A.· ·I have not had an opportunity to do a full
    19· ·analysis that was charged -- similar sort of analysis that
    20· ·was charged to Dr. Kidd, so I would not feel comfortable at
    21· ·this time rendering an opinion on the merits of his
    22· ·analysis.
    23· ·BY MR. ZACHERL:
    24· · · ·Q.· ·So in other words, you wouldn't feel comfortable
    25· ·stating whether you agree or disagree with any of his


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    ·1· ·findings?
    ·2· · · ·A.· ·That's correct, at this time I would not be
    ·3· ·willing to do so.
    ·4· · · ·Q.· ·Okay.· Fair enough.· Fair enough.
    ·5· · · · · · I think that -- I think we might -- I'm going
    ·6· ·through some notes as we are talking here, because like I
    ·7· ·said, we took Dr. Kidd yesterday, and he answered a lot of
    ·8· ·this.
    ·9· · · · · · Let's go through your report, and you can pull
    10· ·that up.· And while you are doing that, I just have some
    11· ·general questions about the report.· Who drafted your
    12· ·report?
    13· · · ·A.· ·I did.
    14· · · ·Q.· ·Did the attorneys who hired you provide you with
    15· ·any input into the contents of the report?
    16· · · ·A.· ·At stages they did help me, assist me, with
    17· ·finding citations.
    18· · · ·Q.· ·Any other input?
    19· · · · · · MR. KARPATKIN:· Hold on.· Hold on.· I want to
    20· · · · object here.· Questions that are related to
    21· · · · discussions between Professor McDonald and his counsel
    22· · · · are going to be privileged.
    23· · · · · · MR. ZACHERL:· Let me rephrase.· That's fair.
    24· ·BY MR. ZACHERL:
    25· · · ·Q.· ·What I'm really getting to is are there any


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    ·1· ·sections of the report that were drafted by the attorneys
    ·2· ·who hired you, sir, as opposed to you?
    ·3· · · ·A.· ·No.
    ·4· · · ·Q.· ·Okay.· And then the final question, just generally
    ·5· ·with regard to your report, you know, you've stated that
    ·6· ·you believe even after seeing the supplemental report that
    ·7· ·there are errors in Dr. Kidd's analysis.· Are there any
    ·8· ·errors in your report that you are aware of?
    ·9· · · ·A.· ·There could be.· There is a lot of material that I
    10· ·had to go through.· I tried my best, but I will own up to
    11· ·them if there are any errors.
    12· · · ·Q.· ·Okay.· Okay.· And then just generally with regard
    13· ·to errors -- you know, I come from a family of Ph.D.s, but
    14· ·I am the guy that went and made money.· I went to law
    15· ·school, right?· So I have had these conversations a hundred
    16· ·times with my siblings.· What I'm curious about in your
    17· ·view, is that is it possible to have errors in a report but
    18· ·still have the conclusions in the report, you know, being
    19· ·sound and reliable?
    20· · · ·A.· ·That's an excellent question.· And, you know, so
    21· ·I, of course, have done many of these lawsuits, and there
    22· ·have been errors in my reports.· When an opposing expert
    23· ·points out these errors, I will reassess my opinions based
    24· ·on the error that they have pointed out.· You know, if I
    25· ·come to a different conclusion, I would state that, or I


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    ·1· ·would explicitly state into my report I have considered
    ·2· ·the, you know, this new information that was provided, I am
    ·3· ·in error here, and here is -- does that substantively
    ·4· ·affect my opinion.
    ·5· · · · · · It's notable that Dr. Kidd never does that in his
    ·6· ·supplemental report.· He clearly, you know, confronted
    ·7· ·with, for example, what he now acknowledges is an error in
    ·8· ·the way in which he classified states with regard to drop
    ·9· ·boxes.· It was incumbent upon him at that point to say
    10· ·something, well, does this change my opinion at all or I
    11· ·don't -- this doesn't change my opinion at all.
    12· · · · · · I will give you an example of this.· In Georgia, I
    13· ·made a calculation error in an Excel spreadsheet.· I am
    14· ·probably not the only one who has ever done that.
    15· · · ·Q.· ·Sure.
    16· · · ·A.· ·And the opposing expert pointed it out, but it
    17· ·actually helped our side.· I was kind of surprised that the
    18· ·opposing expert put it into his record.· So there I'm,
    19· ·like, yes, of course, that's an error that we made, or I
    20· ·made, not we, it's an error I made, and it doesn't change
    21· ·my opinions.· If anything, it strengthens my opinion.
    22· · · · · · If that was the case with Dr. Kidd, if all my
    23· ·criticism only strengthened his opinions, he should have
    24· ·said so.· There is nothing in his supplemental report which
    25· ·would indicate any of the issues that I'm pointing out at


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    ·1· ·all affect his opinions.
    ·2· · · ·Q.· ·Okay.· And I think you have answered my question,
    ·3· ·but let me just make sure I get the question and answer.
    ·4· · · · · · So is it fair to say that in your experience,
    ·5· ·sometimes errors in reports do affect the conclusions,
    ·6· ·sometimes errors in reports don't affect the conclusions,
    ·7· ·but either way, you would expect that if an expert was
    ·8· ·pointed to an error in his report, that expert ought to say
    ·9· ·whether or not it impacted his opinions; is that a fair
    10· ·summary?
    11· · · ·A.· ·Yes, that is a fair summary.
    12· · · ·Q.· ·Okay.· All right.· Let's go and look at your
    13· ·report now in more detail.· I want to go through it with
    14· ·you, and recognizing it's a Friday, I don't want to keep
    15· ·you all day.
    16· · · · · · So let's just start at the top.· If you see my
    17· ·highlighting, as I said earlier, please ignore it.· I'm not
    18· ·tech savvy enough to upload an unhighlighted document, so I
    19· ·am not sure if it's in there or not.
    20· · · ·A.· ·Just for the record, I don't see any highlighting
    21· ·in the documents that you forwarded to me.
    22· · · ·Q.· ·See that, even a blind squirrel finds a nut once
    23· ·in a while.
    24· · · · · · I see your very impressive qualifications in the
    25· ·first section, and it looks like you are being paid $450 an


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    ·1· ·hour for your work in this case; is that right?
    ·2· · · ·A.· ·That is correct.
    ·3· · · ·Q.· ·Have you tallied up how much time you have put in
    ·4· ·so far?
    ·5· · · ·A.· ·I have put in roughly 25 hours so far.
    ·6· · · ·Q.· ·Okay.· And then, you know, you identify what your
    ·7· ·assignment is, which is pretty narrow, just to review and
    ·8· ·respond to Dr. Kidd's declaration; is that right?
    ·9· · · ·A.· ·Yes, that's what I was charged to do.
    10· · · ·Q.· ·Okay.· And then you summarized your conclusions in
    11· ·the next few -- the next few -- I guess the next seven
    12· ·paragraphs.· I'm going to -- I'm not going to hit every one
    13· ·of these, but I have some questions on some of them.
    14· · · · · · So if you go to the last sentence in paragraph 1
    15· ·where you say, "Dr. Kidd provides no rationale as to how
    16· ·these extraneous provisions are relevant to inform his
    17· ·opinions on issues at stake in this litigation."
    18· · · · · · Do you see that?
    19· · · ·A.· ·Correct, yes.
    20· · · ·Q.· ·Well, what I'm curious about is, you know, he
    21· ·described in his deposition these processes that are,
    22· ·according to him, used frequently by political scientists.
    23· ·One of them was this typology analysis.· Are you familiar
    24· ·with the typology analysis and can you describe for us what
    25· ·it is, if you know what it is?


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    ·1· · · ·A.· ·Yes, I can.· But just to point out what's relevant
    ·2· ·for this section here, this section in my report, he is
    ·3· ·actually using a different methodology called process
    ·4· ·tracing.· So I don't know if -- if you want me to go over
    ·5· ·typology, it would be out of order from what we are talking
    ·6· ·about right now.
    ·7· · · ·Q.· ·You are a bright guy.· My second question was
    ·8· ·going to be about that.· Yeah, let's do it that way.· Tell
    ·9· ·me about this process that you political scientists use,
    10· ·and if you can describe it for the record, I would
    11· ·appreciate it.
    12· · · ·A.· ·Right.· And just to be clear, I don't disagree
    13· ·that he is using the methods of process tracing and
    14· ·typology or classification.· It states that's very clear
    15· ·what he is doing in his report.
    16· · · · · · I think Dr. Kidd misunderstands that my complaint
    17· ·or my criticism of his report is that he is not producing
    18· ·research in a way that's transparent and referable, so I
    19· ·can't go back and figure out what it is that was going --
    20· ·his thought processes that led him to his measurement,
    21· ·which then led to his conclusions.
    22· · · · · · Recommendation is a very important component to
    23· ·social sciences, and so it's really that where I have a
    24· ·disagreement with him on his methods.· I don't have a
    25· ·disagreement that he is using process tracing, for example,


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    ·1· ·which is looking at a series of changes over time and
    ·2· ·developing a historical narrative about what those changes
    ·3· ·mean to some phenomenon that you are studying.· So that's a
    ·4· ·very widely used method.
    ·5· · · · · · Doing classifications of states into different
    ·6· ·categories is also very widely used.· When you get into,
    ·7· ·especially into elections, though, it becomes deeply
    ·8· ·challenging for many of the criticisms that I'm lining out
    ·9· ·to Dr. Kidd because there are lots of nuances to these
    10· ·laws, and sometimes you can lose some of the nuance, you
    11· ·know, when you are doing the classification.
    12· · · · · · It's really that part -- again, to go back to it,
    13· ·it's that measurement part at that point.· Some of these
    14· ·laws have -- that he is studying when he is doing his
    15· ·typology comparison, not the process tracing, that there
    16· ·are multiple elements to what those laws are touching on in
    17· ·election administration, and he is pulling out one or two
    18· ·pieces to examine.· Okay?
    19· · · · · · He should explain why he is doing that, and then
    20· ·if he is pulling out more than one piece, he needs to
    21· ·explain, well, if he pulls out any piece, he needs to
    22· ·explain the measurement that he has, how is he going about
    23· ·measuring this data off that element.· And then if he has
    24· ·two pieces, then it's incumbent upon him to not only talk
    25· ·about how he is measuring both of those, but also the


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    ·1· ·relationship to one another.· Is one more important than
    ·2· ·the other?· Are they being weighted the same way?
    ·3· · · · · · Essentially we start thinking about it that way.
    ·4· ·The other elements that he is disregarding, he is basically
    ·5· ·assigning zero weight to them and saying they are
    ·6· ·unimportant, they are irrelevant.
    ·7· · · · · · So, again, it's this sort of weighting that you
    ·8· ·need to think about when you are coming up with an overall
    ·9· ·opinion.· Like, at one point in particular, he says
    10· ·average.· Well, average is numeric in value, and he never
    11· ·provides a numeric number, so it's kind of difficult to
    12· ·understand what he means by an average state, like Florida
    13· ·is an average state compared to other states, when I don't
    14· ·even know what -- how Florida is in relationship to the
    15· ·other states on the sort of measure that he wants to
    16· ·develop for what he considers to be average.
    17· · · ·Q.· ·Okay.· And so let me -- this may cut through a lot
    18· ·of what I was going to ask you.· Let me see if I can
    19· ·summarize.
    20· · · · · · So you would agree that process tracing and
    21· ·typology are generally accepted methodologies within the
    22· ·field of political science, but you take issue strongly
    23· ·with the way in which he carried out those methodologies;
    24· ·is that a fair summary?
    25· · · ·A.· ·Yes, I agree that those are widely used methods.


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    ·1· ·I have used them myself in my own research.
    ·2· · · ·Q.· ·Okay.
    ·3· · · ·A.· ·That's not my complaint.· My complaint is focused
    ·4· ·on the ability to replicate and reproduce independently the
    ·5· ·research that he has produced for this report.· I have
    ·6· ·written on that, too, in my career.· So it's a subject area
    ·7· ·that we are not really talking about my qualifications
    ·8· ·there with that respect in this case, but it's something
    ·9· ·that I do write about.
    10· · · ·Q.· ·Um-hm.
    11· · · ·A.· ·What I find notable is that when -- after I have
    12· ·levied this criticism of Dr. Kidd, because it's clear in my
    13· ·rebuttal report that I'm making these criticisms, at no
    14· ·point does he -- when he is talking about the methods, he
    15· ·wants to say well, it's just about processing and
    16· ·typologies, but he is ignoring that I'm saying I can't
    17· ·reproduce your work.· And that's very fundamental to any
    18· ·scientific endeavor to be able to reproduce work so that we
    19· ·know whether or not there is truth to it.
    20· · · ·Q.· ·Okay.· And let me ask you another question that
    21· ·relates, I think, to what you are saying.· In the field of
    22· ·political science, is there a distinction in the kinds of
    23· ·analysis that you folks, political scientists, do between
    24· ·qualitative analysis and quantitative analysis?· I guess
    25· ·that's the first question.


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    ·1· · · ·A.· ·Can you restate that?· I didn't quite understand
    ·2· ·what you are trying to get at.
    ·3· · · ·Q.· ·What I'm trying to get at, and I will ask you the
    ·4· ·whole question, I didn't want to ask a compound question,
    ·5· ·but what I'm trying to get at is can we explain the lack
    ·6· ·of, you know, for example, arithmetic detail or numerical
    ·7· ·detail in Dr. Kidd's report by characterizing his report as
    ·8· ·qualitative rather than quantitative?
    ·9· · · ·A.· ·So I also teach research methods, so I'm
    10· ·definitely aware of the differences between qualitative and
    11· ·quantitative research.· So let's say that -- he wasn't
    12· ·attempting to do quantitative research, so -- it was really
    13· ·a misstatement for him to use the word something like
    14· ·"average" --
    15· · · ·Q.· ·Okay.
    16· · · ·A.· ·-- in that sort of hypothetical.· He didn't even
    17· ·embark upon this endeavor.
    18· · · · · · Still you need to explain at least something when
    19· ·you are doing qualitative research as to what your measures
    20· ·are and how if there are multiple measures that you are --
    21· ·you know, elements of a particular law in this case that
    22· ·you think are important to look at, what are they and why
    23· ·are you disregarding others, and then what's the relative
    24· ·importance to one another.
    25· · · · · · You know, to give a more concrete example in


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    ·1· ·Kidd's report where he fails to do this would be -- let me
    ·2· ·go down to it.
    ·3· · · ·Q.· ·I'm pulling it up myself.
    ·4· · · ·A.· ·Table 4 on page 22.
    ·5· · · ·Q.· ·Okay.· Give me a second here.· Okay.· Table 4.
    ·6· ·Got it.
    ·7· · · ·A.· ·All right.· So, again, I was not asked to
    ·8· ·comprehensively review every classification that he made on
    ·9· ·this particular table about third-party ballot collection
    10· ·rules.
    11· · · ·Q.· ·Right.
    12· · · ·A.· ·But as you look at it and what I found interesting
    13· ·when I was looking at it is that he has made these four
    14· ·classifications, but then in some of the states, there are
    15· ·parentheses after them.· At first I wasn't really even
    16· ·clear what those were because it's not really described in
    17· ·the table, so I had to do some additional inference from
    18· ·the text what he was really talking about with the
    19· ·parentheses.· Is that, like, a footnote?· Is it something
    20· ·else?
    21· · · · · · It turns out for Florida he is talking about the
    22· ·number of ballots.· So these parentheses are the number of
    23· ·ballots that an individual is authorized under the law to
    24· ·return on behalf of another person.· So here is a case
    25· ·where it's not very clear, he is not explaining what these


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    ·1· ·parentheses are, these numbers inside the parentheses.
    ·2· · · · · · Then I have to understand well, so does it matter
    ·3· ·that in Montana there is an acquaintance can return up to
    ·4· ·six ballots, and in Florida anyone can return two ballots.
    ·5· ·So qualitatively what's the difference there between an
    ·6· ·acquaintance or anyone, and how does that -- does it matter
    ·7· ·that there can be six or two ballots?· How does that affect
    ·8· ·things?
    ·9· · · · · · I'm saying this particular example because it's in
    10· ·my report.· And I would reserve the right to look through
    11· ·all these much more deeply and try to understand this
    12· ·particular nuance and why it was that he would want to say,
    13· ·well, Florida is in this classification -- you know, what's
    14· ·really the difference between Montana and Florida, because
    15· ·there is two dimensions here that he is looking at.· One is
    16· ·sort of the universe of people who can do ballot returns,
    17· ·and then the other dimension is the number of ballots that
    18· ·they can return.
    19· · · ·Q.· ·Right.
    20· · · ·A.· ·So how do those things interact with one another.
    21· ·It's really incumbent upon him to explain his thought
    22· ·process and reasoning as to why he decided to make these
    23· ·classifications in the way in which he did when he is
    24· ·forming his opinions.
    25· · · ·Q.· ·Okay.· So on this example, because actually I was


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    ·1· ·going to use a different example to try to talk about this
    ·2· ·qualitative versus quantitative, but this is a good one to
    ·3· ·use.
    ·4· · · · · · To your point about the number of ballots that
    ·5· ·somebody can return, when I read this table, I noted that
    ·6· ·in the titles he puts in parentheses limits, and then when
    ·7· ·he has each state, if there is a limit, he puts the number
    ·8· ·of ballots in the parentheses for these states.· Do you see
    ·9· ·that?
    10· · · ·A.· ·Yes, I do.
    11· · · ·Q.· ·Okay.· And so what you are saying essentially is
    12· ·that's not clear enough.· He should have said the limits on
    13· ·the number of ballots that could be returned or something
    14· ·like that, right?
    15· · · ·A.· ·That would have added much more clarity.· Instead
    16· ·I had to look down into his text to figure out what context
    17· ·he meant by limits.
    18· · · ·Q.· ·Understood.· That's fair.· I hear what you are
    19· ·saying.
    20· · · · · · Okay.· And then with regard to the categories or
    21· ·the classifications, I'm paraphrasing, but in his
    22· ·deposition he described in doing the classifications that
    23· ·it's -- the difference between the classifications is more
    24· ·important than the differences among the examples in the
    25· ·particular categories.


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    ·1· · · · · · So, for example, it's more important that you have
    ·2· ·distinction between voters only can return ballots and then
    ·3· ·maybe some family member as opposed to the difference
    ·4· ·between Alaska and Georgia within the Family Member column.
    ·5· ·Do you understand what I mean?
    ·6· · · · · · MR. KARPATKIN:· Hold on.· I'm going to object a
    ·7· · · · moment here because you are characterizing deposition
    ·8· · · · testimony that Professor McDonald has not seen, he has
    ·9· · · · already testified he hasn't seen, and we have no way
    10· · · · of independently verifying for the purpose of this
    11· · · · deposition that you are accurately characterizing the
    12· · · · deposition testimony.· I would ask you to rephrase.
    13· · · · · · MR. ZACHERL:· No problem.· I can rephrase.
    14· ·BY MR. ZACHERL:
    15· · · ·Q.· ·Essentially what I'm getting to, Dr. McDonald, is,
    16· ·you know, would you agree that when you are doing these
    17· ·classifications, the more important distinctions are the
    18· ·distinctions between the columns rather than the
    19· ·distinctions between the entries in each column?
    20· · · ·A.· ·So that's a choice that Dr. Kidd has made in this
    21· ·report, and he needs to be more transparent about those
    22· ·sorts of choices that he has made and explain why it is
    23· ·that he believes that the classifications are more
    24· ·important than this other component.· And if the other
    25· ·component was unimportant to his opinion, he needs to say


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    ·1· ·that.· But then it just opens the door, well, why didn't he
    ·2· ·look at anything else?· If the number of ballots was
    ·3· ·immaterial to his opinion, there are other nuances in these
    ·4· ·laws, too --
    ·5· · · ·Q.· ·Right.
    ·6· · · ·A.· ·-- about, you know, exactly who it is that can
    ·7· ·return the ballots.· So why -- what about that?
    ·8· · · · · · We can go down the road on different nuances like
    ·9· ·those.· I have not had the time to comprehensively review
    10· ·all the laws on that, but it's really incumbent upon him to
    11· ·explain why it was that, here's this other thing, but I'm
    12· ·not going to consider it for my opinion anyway.· I'm going
    13· ·to discard all this other stuff, I'm not even going to look
    14· ·at it and not even tell you about not looking at it.
    15· · · · · · I get that what he was trying to do was classify
    16· ·states in these columns.
    17· · · ·Q.· ·Right.
    18· · · ·A.· ·Again, I will also reserve that there may be
    19· ·errors there.
    20· · · ·Q.· ·Right.
    21· · · ·A.· ·He has to explain why he is doing that and why it
    22· ·is that he is basing his opinion on that one element.
    23· · · ·Q.· ·So -- okay.· Let me, again, try to summarize to
    24· ·see if we can move past this.
    25· · · · · · You wouldn't take issue with his use of


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    ·1· ·classifications and even not necessarily these particular
    ·2· ·classifications, but what you are saying is you are unable
    ·3· ·to evaluate the appropriateness of these classifications
    ·4· ·given the lack of detail and the lack of explanations for
    ·5· ·why he did it this way; is that a fair summary?
    ·6· · · ·A.· ·To a certain extent, yes.· I mean, at this point
    ·7· ·when I'm responding to his report, he hasn't even provided
    ·8· ·the citations, so I couldn't go back and figure out, like,
    ·9· ·were these even correct classifications.· I have still yet
    10· ·to have the time to go back through and determine whether
    11· ·or not these classifications are correct.
    12· · · · · · If I reviewed the -- all of the laws, I may come
    13· ·to a different opinion as to how you might go about doing
    14· ·this classification scheme that he has come up with.· Maybe
    15· ·there is some other thing in there about the law that might
    16· ·talk about inclusiveness of the number of people, the
    17· ·universe of people who could return ballots.· That's just
    18· ·an example.
    19· · · · · · I have not been able to do that, so -- again, I
    20· ·was tasked here to criticize the report, not come up with,
    21· ·you know -- rehabilitate his report by coming up with my
    22· ·own classification schemes and render opinions about, you
    23· ·know, doing my own reanalysis of his report.· I could never
    24· ·even do the reanalysis at the very outset, so it was very
    25· ·frustrating to read through this report in various sections


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    ·1· ·because I simply couldn't even start to do the sorts of
    ·2· ·things that I needed to do in order to reanalyze what it
    ·3· ·was that he was -- his opinions, how I can get to the same
    ·4· ·opinions as him, or at least understand his reasoning as to
    ·5· ·how to get to those opinions.
    ·6· · · ·Q.· ·Okay.· And then a couple of follow-up questions,
    ·7· ·and I think we can move on from this topic.· But you said a
    ·8· ·lot there, and I'm trying to ask a narrower question.
    ·9· · · · · · I mean, what I'm getting to is you are not taking
    10· ·issue with his class -- his use of a classification scheme
    11· ·to evaluate the third-party ballot collection rules in the
    12· ·various states.· You are taking issue with how he went
    13· ·about it because it's not -- there is not enough detail for
    14· ·you to evaluate it, whether it's accurate; is that a fair
    15· ·summary?
    16· · · ·A.· ·Yes.· Using typologies, I do it all of the time,
    17· ·lots of political scientists do it all the time.· That's
    18· ·not the issue that's at stake.· It's how he arrived at the
    19· ·typology, and he needs to be very transparent about -- "he"
    20· ·being Dr. Kidd.· Dr. Kidd needs to be very transparent
    21· ·about the steps that he took to reach that classification
    22· ·and then explain why it was that he was making the
    23· ·classification of the states in the way in which he was.
    24· · · ·Q.· ·Okay.· And so then my next question is, and this
    25· ·may go back to your point earlier that you just haven't had


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    ·1· ·a chance to check all of the links, but in his supplemental
    ·2· ·report, he does provide links for each of the -- each of
    ·3· ·the law -- or each of the states that he lists and in each
    ·4· ·of those four classifications that's on page 5 and 6 of his
    ·5· ·report -- really 5 to 7 of his report.· But the fact that
    ·6· ·he has provided these links, does that cure the problems
    ·7· ·that you are identifying, or does that get him part of the
    ·8· ·way there?
    ·9· · · · · · Like I said, I understand you haven't reviewed the
    10· ·whole thing, but what is your view of this supplemental
    11· ·report on this topic in terms of rehabilitating issues that
    12· ·you identified?
    13· · · ·A.· ·It's definitely helpful for him to have provided
    14· ·the citations that he needed to provide.· So that is
    15· ·useful.· But, again, I have not had the chance to actually
    16· ·look at all of the laws, so I can't tell you if there are
    17· ·errors still in there and if those errors in some way
    18· ·fundamentally -- you know, at the very outset if he is
    19· ·citing the wrong thing, then that would, you know, that
    20· ·obviously would be an error.· But then I have to understand
    21· ·how the whole typology works.· I couldn't even begin to
    22· ·embark upon the reanalysis of his report because I didn't
    23· ·even have the primary sources for this particular table.
    24· · · · · · I want to be clear on that, too.· Because another
    25· ·part in the next table, Table 5, he is citing a website


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    ·1· ·that was created, and it provides guidelines, suggestive
    ·2· ·guidelines, to people.
    ·3· · · ·Q.· ·Right.
    ·4· · · ·A.· ·I looked at that site, and there are at least a
    ·5· ·couple of states that look like, Alabama and Arkansas, I
    ·6· ·didn't even see the -- any statutory language there that
    ·7· ·was cited to.· And so I still think on this Table 5 he is
    ·8· ·still being deficient in being transparent in the statutes.
    ·9· · · · · · I wish he would have done as he did with the other
    10· ·sections and actually provided links or -- the links are
    11· ·bad.· Give me the actual citation to the actual statute.             A
    12· ·link is great to add on at the end to that, but, you know,
    13· ·give me the legal cite so that if the citation -- if the
    14· ·link doesn't work, I can still try to find it independently
    15· ·and figure out what was the statute that he was actually
    16· ·looking at.
    17· · · ·Q.· ·Got it.· Okay.
    18· · · · · · Let's go back to your report, Dr. McDonald.· And
    19· ·we were at the point in your report, it was at the end of
    20· ·paragraph 1 of your summary which starts on page 3 and goes
    21· ·over to page 4.· The last sentence is what I asked you
    22· ·about, the one that starts off, "Dr. Kidd provides no
    23· ·rationale."
    24· · · · · · Do you see that there?
    25· · · ·A.· ·Yes, I do.


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    ·1· · · ·Q.· ·Okay.· So this is something that I'm just not
    ·2· ·educated on, so I'm curious as to how the analysis is done.
    ·3· ·But if you are -- if you are tasked with the responsibility
    ·4· ·of analyzing changes to a particular state's election laws,
    ·5· ·and you are going to use this, you know, this process
    ·6· ·tracing where you go back historically to see what the law
    ·7· ·was before, are you saying that it's improper for the
    ·8· ·person doing the analysis to address aspects of the law
    ·9· ·that are not at issue -- aspects of the historical law that
    10· ·are not at issue in the new law?
    11· · · ·A.· ·I mean, again, I'm not fully clear on the question
    12· ·you are asking, so maybe if you could narrow it down a
    13· ·little bit.
    14· · · ·Q.· ·Well, what I'm getting to is you have said that he
    15· ·has cited to historical provisions in the law that are not
    16· ·at issue in the litigation over the new law.· Do you see
    17· ·that there?
    18· · · ·A.· ·Yes.
    19· · · ·Q.· ·And so my question is, within the field of
    20· ·political science as a part of the process of using this
    21· ·process tracing methodology, I mean, the way I will ask it
    22· ·is, isn't it fair sometimes to look at provisions in the
    23· ·historical law even though they are not necessarily at
    24· ·issue in a challenge over the new law?
    25· · · ·A.· ·I see.· So I did read his supplemental report


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    ·1· ·where he noted that he was just specifically tasked by the
    ·2· ·defendants' counsel to look at these two aspects of the
    ·3· ·law, and that's the in-person early voting and mail ballot.
    ·4· ·So he does this process tracing -- he was tasked to do
    ·5· ·those two -- to review those two using process tracing.
    ·6· · · · · · What I'm noting is, all right -- maybe I'm being
    ·7· ·overly critical of Dr. Kidd, then, because I say Dr. Kidd
    ·8· ·at the top of page 4 in that first bullet point, I say,
    ·9· ·"Dr. Kidd provides no rationale as to how these extreme
    10· ·provisions are relevant to inform his opinions on issues at
    11· ·stake in this litigation challenging SB 90."
    12· · · ·Q.· ·Right.
    13· · · ·A.· ·So he does not provide -- he does provide a
    14· ·rationale.· His rationale is that defendants' counsel told
    15· ·him to look at these two areas, so that's why he is looking
    16· ·there.
    17· · · · · · What he has done, then, is provide his process
    18· ·tracing for these two elements, and it was defendants'
    19· ·counsel that decided we are going to look at these two
    20· ·areas.· So that's his rationale.· And so should he have
    21· ·looked -- I'm pointing out as a criticism that if we want
    22· ·to think about -- make arguments about irrelevant pieces of
    23· ·election administration and election law in Florida, we
    24· ·will want to look at the whole system, not just to what
    25· ·defendants' counsel has tasked Dr. Kidd to take a look at.


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    ·1· · · ·Q.· ·Okay.· Again, to summarize, what you are saying is
    ·2· ·it's not necessarily a problem using process tracing
    ·3· ·methodology to look at historical laws that are not at
    ·4· ·issue in the new law, but that if the person doing the
    ·5· ·analysis is going to mention those historical laws, they
    ·6· ·need to give the rationale for why they are relevant; is
    ·7· ·that your opinion?
    ·8· · · ·A.· ·Well, again, it's relevant to form opinions about
    ·9· ·issues at stake in the litigation challenging SB 90.· So
    10· ·that's what I'm saying here is that we would want a
    11· ·rationale as to why it was that one process -- one process
    12· ·tracing of a law that is at stake and one that is not at
    13· ·stake --
    14· · · ·Q.· ·Um-hm.
    15· · · ·A.· ·-- why if you are going to look at the not at
    16· ·stake, why you would exclude other ones that are not at
    17· ·stake in the litigation as well?
    18· · · · · · But, again, he is going back and just saying,
    19· ·well, this is all I was tasked to do, so that's just what
    20· ·I'm doing.
    21· · · · · · My larger criticism is really maybe not, you know,
    22· ·his rationale as -- is one that's -- it really puts the
    23· ·onus back on to the defendants' legal team as to why it was
    24· ·that they wanted to look at only these two facets.· So
    25· ·whatever your -- whatever your legal strategy is, that's


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    ·1· ·what he is following here.
    ·2· · · · · · I would think, though, that if you wanted to look
    ·3· ·at everything -- of course, I'm just pointing out for the
    ·4· ·Court that there are other elements that are being ignored
    ·5· ·in Florida's laws when Dr. Kidd does this process tracing.
    ·6· · · ·Q.· ·Okay.· Again, not to perseverate, but I want to
    ·7· ·make sure I understand the science.· It's appropriate when
    ·8· ·you are doing process tracing, generally it could be
    ·9· ·appropriate to look at historical laws that are different
    10· ·than those at issue in the litigation or whatever the
    11· ·matter at hand is, but you are saying there has to be a
    12· ·showing by the person doing the analysis as to why it's
    13· ·relevant, and here you found the showing to be
    14· ·insufficient; is that a fair summary?
    15· · · ·A.· ·Now you are asking me a different question,
    16· ·actually.· I was trying to --
    17· · · ·Q.· ·Just so you know -- sorry.· Sorry to interrupt
    18· ·you.· That's actually what I was trying to get to, so it's
    19· ·probably just my bad questioning.· I just want to know
    20· ·whether in the field of political science when you are
    21· ·doing process tracing, is it appropriate to look at
    22· ·historical laws that may not be at issue in the current
    23· ·litigation in determining, you know, the impact of the new
    24· ·laws?· That's really all I'm asking.
    25· · · ·A.· ·Yeah, so you are asking a much more broader


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    ·1· ·question is how we would go about doing this sort of work
    ·2· ·in social sciences generally or political science, if you
    ·3· ·want to think even more broadly than social sciences.· The
    ·4· ·answer to that is absolutely not.· There are whole books
    ·5· ·and debates that people have about what they think are the
    ·6· ·important elements to analyze in terms of doing any sort of
    ·7· ·tracing, historical tracing narrative of development,
    ·8· ·political development, or any social development, quite
    ·9· ·frankly.· And so people debate all the time, well, you look
    10· ·here and you look here, but you didn't look over here.
    11· · · ·Q.· ·Right.
    12· · · ·A.· ·Or you look here and here, but that section here
    13· ·was irrelevant to what you were looking at here.
    14· · · · · · Again, there are entire books written on this
    15· ·stuff like about the development of democracies and other
    16· ·things.· So as a matter of political science, we would be
    17· ·having these debates, and there have been longstanding
    18· ·debates over decades, about how we would go about doing
    19· ·process tracing to understand how we see political
    20· ·development, for example.
    21· · · · · · So, yeah, again, it's incumbent upon somebody to
    22· ·explain why it was that we were looking at these two.· Why
    23· ·were these two thought to be important?· Why were other
    24· ·things not thought to be important?· And if Dr. Kidd just
    25· ·wants to, you know, defend himself and say well, that's all


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    ·1· ·I was tasked to do was look at these two things, that's
    ·2· ·fine, he was just tasked to do those two things, but it
    ·3· ·doesn't really inform us about the overarching change in
    ·4· ·Florida's election laws because we are excluding certain
    ·5· ·elements from it, from this sort of historical analysis
    ·6· ·that Dr. Kidd is doing.
    ·7· · · ·Q.· ·Understood.· Okay.· And you have answered my
    ·8· ·question.· I appreciate that.· I didn't mean to go down the
    ·9· ·rabbit hole.
    10· · · · · · So separate question on this topic and then we
    11· ·will move on.· When you are -- well, you know that in this
    12· ·case, there are certain sections of Senate Bill 90 that are
    13· ·being challenged, right?
    14· · · ·A.· ·I'm generally aware, but I have to say I have not
    15· ·read the entire Complaint because -- so I have only been
    16· ·informed by the lawyers in discussions with them about what
    17· ·elements that they are challenging, but I have not read the
    18· ·entire text of the bill.
    19· · · ·Q.· ·Yeah, I'm not going to ask you questions about the
    20· ·specific challenges that are being made.· My question,
    21· ·again, goes back to acceptable methodologies in political
    22· ·science when you are trying to determine -- let's say in
    23· ·this case they are challenging five provisions of Senate
    24· ·Bill 90.· In determining the impact of those provisions on,
    25· ·for example, voter turnout in future elections, would you


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    ·1· ·look at each law individually?· Would you look at the
    ·2· ·laws -- the aggregate effect of all the laws that are being
    ·3· ·challenged, or would you use some other methodology?
    ·4· · · · · · MR. KARPATKIN:· Hold on.· I just to want put an
    ·5· · · · objection on the record.· This is beyond the scope of
    ·6· · · · his expert report.
    ·7· · · ·A.· ·So exactly what I was about to say.· I was not
    ·8· ·tasked to do this analysis, so you are asking me a
    ·9· ·hypothetical about how I would go about doing an analysis
    10· ·of the effect of SB 90 on participation by the entire
    11· ·state, you know, voters for the entire state and distinct
    12· ·communities within the state.· So I haven't done that
    13· ·analysis.
    14· · · · · · I have done similar analyses in other states in
    15· ·litigation, and I have done that in my academic writing to
    16· ·look at turnout effects or turnout groups, you know, very
    17· ·specific communities, but I have not been tasked to do that
    18· ·here.
    19· · · · · · So you might want to look at both, but in certain
    20· ·instances, there may be certain communities that are being
    21· ·disproportionately impacted by a particular law.· So
    22· ·everyone has a right to vote.· So you want to look if there
    23· ·is a disparate impact.· For example, in litigation I'm
    24· ·involved with right now in Georgia, it's naturalized
    25· ·citizens through a quirk in the whole database


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    ·1· ·infrastructure that the Secretary of State has with the
    ·2· ·Department of Driver Services that leads to naturalized
    ·3· ·citizens being disenfranchised.· So there we are looking
    ·4· ·very narrowly at an affected population rather than looking
    ·5· ·at turnout rates for the whole, because the number of
    ·6· ·affected people are roughly 10,000 people.
    ·7· · · · · · So it's not -- you wouldn't be able to determine,
    ·8· ·you know, was there an effect that was having an impact on
    ·9· ·a particular community if I was just looking at overall
    10· ·turnout rates in Georgia, because the 10,000 people would
    11· ·be lost and subsumed into the larger currents that happen
    12· ·with all of the factors that go into turnout.
    13· · · · · · That's just one example.· I mean, I can go into
    14· ·other examples where once we have, you know, detailed data
    15· ·and, you know, individual-level data that we can get from
    16· ·election officials that are found during discovery, you can
    17· ·start answering that question, are there certain
    18· ·communities.
    19· · · · · · Was it like in Kansas with a group of citizenship
    20· ·requirement?· Was that military voters that were being
    21· ·disenfranchised by that particular law?· And there we had a
    22· ·judge that was an Army brat and knew that she could not
    23· ·find her birth certificate anymore.· So that really
    24· ·resonated with that particular judge, the arguments that we
    25· ·were making about affected military populations.


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    ·1· · · · · · Again, I would imagine, although, again, I have
    ·2· ·not been asked to do an analysis here, that overall we may
    ·3· ·not be able to find effects on SB 90 on overall turnout.
    ·4· ·But when we delve deeper into it, we are going to see that
    ·5· ·there are certain communities being adversely affected.
    ·6· · · · · · Again, that it is my personal opinion.· That's not
    ·7· ·any analysis I have done in opining about as an expert in
    ·8· ·this report in this case.
    ·9· · · ·Q.· ·Yeah, I think you have answered my question.
    10· ·Really all I was getting to is whether from, you know, from
    11· ·the perspective of acceptable methodologies in your field,
    12· ·there is, you know, there is a way to go about evaluating
    13· ·the impact so that you either look at the aggregate or you
    14· ·look at the impact of individual sections, or, as you said,
    15· ·the impact of individual sections on individual
    16· ·communities.· It sounds like -- and all that is not my
    17· ·question.
    18· · · · · · My question is, it sounds like what you are saying
    19· ·is there is no one-size-fits-all methodology with regard to
    20· ·looking at the impact of a group of laws on voting in that
    21· ·state.· It depends on the circumstances and a lot of other
    22· ·variables, and you haven't looked at that issue in this
    23· ·case; is that a fair summary?
    24· · · ·A.· ·So, yes, again, I have not been retained as an
    25· ·expert to evaluate the potential effects, if any, changes


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    ·1· ·that SB 90 will have in Florida.· But I would say, you
    ·2· ·know, yes, there are multiple methods, but having that
    ·3· ·individual-level data generally tends to be a best prolific
    ·4· ·value because then we can really get under the hood and see
    ·5· ·what's going on with the process and how is this affecting
    ·6· ·the rights of individual voters to participate in
    ·7· ·elections.
    ·8· · · ·Q.· ·Got it.· I hear you.· I just was trying to
    ·9· ·understand the methodology.
    10· · · · · · So let's go to paragraph 3 of your report.· It's a
    11· ·couple of paragraphs down there.· The second sentence you
    12· ·say "This omission" --
    13· · · ·A.· ·Can I interrupt?· We've been going for an hour and
    14· ·half, can we take a break?
    15· · · · · · MR. ZACHERL:· It's 11:24.· How about if we come
    16· · · · back at 11:30?
    17· · · · · · THE WITNESS:· That's fine.
    18· · · · · · MR. ZACHERL:· Is that okay, Counsel, with you?
    19· · · · · · MR. KARPATKIN:· That's fine.
    20· · · · · · MR. ZACHERL:· So we will see you at 11:30.· Sorry
    21· · · · for not asking.· Thanks.
    22· · · · · · (Recessed at 11:25 a.m.)
    23· · · · · · (Resumed at 11:30 a.m.)
    24· ·BY MR. ZACHERL:
    25· · · ·Q.· ·Okay.· So Dr. McDonald, on paragraph 3 of your


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    ·1· ·report, which is on page 4, you have a sentence -- the
    ·2· ·second sentence of that paragraph says, "This omission is
    ·3· ·significant and implicitly means Dr. Kidd does not opine on
    ·4· ·any future effects that Senate Bill 90 may have."
    ·5· · · · · · My question -- do you see that there?
    ·6· · · ·A.· ·Yes, I do.
    ·7· · · ·Q.· ·Okay.· My question for you is, were you asked to
    ·8· ·provide any opinions with regard to the future effect of
    ·9· ·SB 90?
    10· · · ·A.· ·We have gone over that previously, but, no.· No, I
    11· ·was not asked to do any analysis or render any opinions
    12· ·about SB 90.· I was asked to evaluate Dr. Kidd's report.
    13· · · ·Q.· ·Okay.· If we go to paragraph 4, it starts off
    14· ·Dr. Kidd's narrative.· He says, "Narrative of recent
    15· ·historical changes to Florida's mail balloting and
    16· ·in-person voting laws fails to mention any negative effects
    17· ·that may burden Florida voters."· And then you have, "or
    18· ·any changes in Florida law that were not undertaken
    19· ·voluntarily but that were the result of litigation."
    20· · · · · · Do you see that there?
    21· · · ·A.· ·Yes, I do.
    22· · · ·Q.· ·My question for you is why is it important when
    23· ·you are doing this process tracing historical analysis
    24· ·whether a law change was made as a result of litigation as
    25· ·opposed to some other reason?· I mean, isn't the point to


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    ·1· ·see whether it's getting better or whether it's getting
    ·2· ·worse?
    ·3· · · ·A.· ·Well, can we look at Kidd's conclusions with
    ·4· ·respect to this?· Because -- I believe what I'm objecting
    ·5· ·to is that he has these rather broad conclusions about how
    ·6· ·Florida has changed its laws.
    ·7· · · ·Q.· ·Right.
    ·8· · · ·A.· ·Now I'm paraphrasing.· So I don't like doing the
    ·9· ·paraphrasing necessarily, but to assist in time, I will do
    10· ·the paraphrasing.
    11· · · · · · He is saying that -- Florida has been very
    12· ·generous and it's really done well.
    13· · · ·Q.· ·Okay.
    14· · · ·A.· ·But then he neglects to say, well, but there have
    15· ·been moments in time where Florida hasn't been so good and
    16· ·they have taken some steps backwards or they have been
    17· ·forced to take a step forward under duress rather than
    18· ·proactively take a step forward.
    19· · · · · · So I think to understand this sort of narrative
    20· ·about a very forward-looking Florida, we also have to
    21· ·understand there have been moments within the context of
    22· ·the historical time frame that Dr. Kidd is looking at,
    23· ·which does not go back to Jim Crow era, that there were --
    24· ·you know, even within modern times there have been steps
    25· ·taken back.


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    ·1· · · · · · For example, on the usage of
    ·2· ·Sunday-before-election-day early voting, which is when
    ·3· ·African-Americans predominantly vote early in large
    ·4· ·numbers.· And so to do what they call Souls to Polls voter
    ·5· ·mobilization efforts.
    ·6· · · ·Q.· ·Right.
    ·7· · · ·A.· ·Florida specifically did away with that day.
    ·8· ·Later they reinstated it, but that's the sort of thing
    ·9· ·that's kind of important.· Because if we are going to paint
    10· ·a picture that Florida is always moving forward, that's
    11· ·different than a picture of well, Florida moves forward
    12· ·sometimes, sometimes it takes a step back, sometimes it
    13· ·takes a step forward because of litigation, and then we
    14· ·have SB 90, and there is issues that are being challenged
    15· ·in SB 90.
    16· · · · · · I can't really talk to the merits of those because
    17· ·I wasn't asked as an expert to do that, but it's reasonable
    18· ·to assume, then, that, you know, in the hypothetical that
    19· ·plaintiffs prevail in some of the allegations and
    20· ·complaints that they are making about SB 90, that, again, a
    21· ·Court will intervene and force Florida to change its
    22· ·direction in which it's going, and that would potentially
    23· ·be in a negative direction, as it has done in the past.
    24· · · ·Q.· ·Well, let me try to be more focused in my
    25· ·questioning, because I hear what you are saying.· What I'm


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    ·1· ·asking, I mean, is this -- it sounds like, you know, you
    ·2· ·are describing this kind of morality play, Florida bad, the
    ·3· ·judge had to tell them what to do.
    ·4· · · · · · What my question is, are you trying to say that,
    ·5· ·you know, Florida's changes are less favorable to voters
    ·6· ·because some of them were made as a result of a judge's
    ·7· ·order as opposed to a, you know, doing them voluntarily?
    ·8· · · ·A.· ·Well, first, I have to object to the notion that
    ·9· ·I'm saying Florida bad, because I don't believe it was the
    10· ·case in any of the litigation that I'm citing that there
    11· ·was intentional discrimination that a Court found.
    12· · · ·Q.· ·Right.
    13· · · ·A.· ·There is nothing about the motivations that were
    14· ·involved with the State.· States sometimes enact laws.
    15· ·Maybe they believe that they have a good rationale to do
    16· ·so, but they are doing so without the knowledge or
    17· ·understanding that a particular law will actually have an
    18· ·impact on a particular community.· So that's, you know, the
    19· ·first thing, I'm not saying Florida bad.
    20· · · ·Q.· ·Okay.
    21· · · ·A.· ·In terms of this overarching narrative about how
    22· ·Florida has moved forward, there have been times when
    23· ·this -- when we say Florida, we are not really
    24· ·understanding the processes that resulted in how Florida
    25· ·moved in a particular direction.


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    ·1· · · ·Q.· ·Okay.
    ·2· · · ·A.· ·Again, if we are thinking about process tracing, I
    ·3· ·mean, there is a lot of that to it.· I mean, you want to
    ·4· ·understand, like, how the French Revolution came about and
    ·5· ·what were the causal factors that led to the French
    ·6· ·Revolution, as, you know, one obscure example of where we
    ·7· ·see process tracing.
    ·8· · · ·Q.· ·True.
    ·9· · · ·A.· ·So, you know, in terms of -- so just to say, like,
    10· ·it's always moved in a nice direction, you know, not nice,
    11· ·but it's always moved in a more expansive direction sort of
    12· ·belays what's going on as to what's actually happening.
    13· ·Then again, it could be, then, that -- again, hypothetical,
    14· ·successful SB 90 we can see again a Court imposing a
    15· ·particular remedy on the State that would be contrary to
    16· ·the laws that have passed within the state.
    17· · · ·Q.· ·I got it.· Okay.· You have answered my question.
    18· ·I mean, I was just trying to get context for what you meant
    19· ·when you pointed that out, so you have given that.· Thank
    20· ·you.
    21· · · · · · Let's go down to paragraph 6 at the bottom of
    22· ·page 4.· You have said, "To the extent I can externally
    23· ·test the validity of Dr. Kidd's classification of states, I
    24· ·find them inaccurate and otherwise wanting," and then you
    25· ·have an example.


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    ·1· · · · · · You say, "For example, he misclassifies 19 states
    ·2· ·as not offering mail ballot return drop boxes when, in
    ·3· ·fact, those states did provide the drop boxes."
    ·4· · · · · · I think we have covered this.· I don't want to
    ·5· ·replow this field again, but, I mean, now that he has done
    ·6· ·the supplemental report, you know, would you agree that
    ·7· ·what he was stating related only to the statutes in the
    ·8· ·state and not necessarily what happened in the last
    ·9· ·election cycle or administrative regulations?
    10· · · ·A.· ·He was attempting to look only at the statutes.
    11· ·So, again, he was narrowing his focus on the statutes.              I
    12· ·have already pointed out previously, so we don't need again
    13· ·to replow that field, if you will, that he is still
    14· ·misclassifying some states, so we have got that going on.
    15· · · · · · And he has an inconsistent classification scheme,
    16· ·so I still reserve quite a bit in my criticism in agreeing
    17· ·with that characterization that he was attempting to try to
    18· ·look at the statutes, and I don't think that that's
    19· ·sufficient because you have to look at the administrative
    20· ·procedures in the state.· We don't want to look necessarily
    21· ·at those statutes just because the statute is silent, there
    22· ·is no statutory enabling statutory language doesn't mean
    23· ·the local election officials aren't actually doing the
    24· ·things that you are studying.· I think if you are
    25· ·classifying states in terms of their drop box usage, we


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    ·1· ·want to look at that more broadly.
    ·2· · · · · · Again, if I look at his report, I don't think he
    ·3· ·makes this distinction about, like, you know, when he is
    ·4· ·drawing his conclusions that were his goal to look
    ·5· ·explicitly at statutes.· I will look at it again.
    ·6· · · ·Q.· ·When I read it just --
    ·7· · · ·A.· ·Florida's use of drop boxes, it's page 4, 6(b).
    ·8· ·How does Florida's use of drop boxes compare to use of drop
    ·9· ·boxes by states across the country?
    10· · · ·Q.· ·Right.
    11· · · ·A.· ·And then there is a next section, which is, and
    12· ·are the rules.· I mean, it's a compound sentence.· You can
    13· ·see he was looking at the rules, but he has got two
    14· ·questions there.· The first question is definitely not
    15· ·answered by his analysis.· And if we look down at his
    16· ·conclusions in that section, I think we are going to see
    17· ·something similar that doesn't have --
    18· · · ·Q.· ·It's in the next section, paragraph 10, on page 6,
    19· ·I believe.
    20· · · ·A.· ·Again, I'm rereading his report on this section.
    21· · · · · · (Witness reviewing document.)
    22· · · · · · Can you point me to that section you were just
    23· ·looking at because I'm not finding it?
    24· · · ·Q.· ·If you look at page 6, paragraph 10 at the bottom,
    25· ·he talks about the fact -- I mean he does what I think you


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    ·1· ·are saying he did, which he doesn't necessarily address
    ·2· ·that first question.· I think that's your point.
    ·3· · · · · · If you read through this paragraph, he does
    ·4· ·address drop boxes here, though.
    ·5· · · · · · MR. KARPATKIN:· Can I request that we give the
    ·6· · · · witness time to read this section?
    ·7· · · · · · MR. ZACHERL:· Yeah.· I'm trying to give context.
    ·8· ·BY MR. ZACHERL:
    ·9· · · ·Q.· ·Go ahead.· Take your time.
    10· · · ·A.· ·(Witness reviewing document.)
    11· · · · · · So, again, it's muddied and, you know, I'm trying
    12· ·to give him a fair reading again.· He is doing some of the
    13· ·same criticisms I have had before where he is excluding
    14· ·certain states in paragraph 10, and he is narrowing down
    15· ·and he is saying, well, Florida only mandates.· He wants to
    16· ·stick with mandates.
    17· · · · · · But if the practice was in another state that as
    18· ·administrative rule they were providing them, it wasn't a
    19· ·mandate, it's discretionary.· This goes to this other, you
    20· ·know -- answering your question, yes, he can come back and
    21· ·say, yes, I'm just looking at the laws.· I'm not looking at
    22· ·the practices, I'm just looking at the laws --
    23· · · ·Q.· ·Right.
    24· · · ·A.· ·-- that's all I really care about.· But that
    25· ·doesn't actually talk about how the law actually is being


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    ·1· ·implemented or what the administrative procedures are
    ·2· ·within the states.
    ·3· · · · · · So I think if you wanted to understand drop box
    ·4· ·usage across the country, you would want to know something
    ·5· ·about the states where there is no enabling legislation but
    ·6· ·there might be an administrative rule or a Court
    ·7· ·interpretation or something that would say, yeah, drop
    ·8· ·boxes are allowed in our state.· Just because we don't have
    ·9· ·a law, local election officials are actually using drop
    10· ·boxes.
    11· · · · · · So I -- there is one other thing about this.               I
    12· ·feel like I have to do all this because I don't want my
    13· ·criticisms to be taken out of context.
    14· · · ·Q.· ·Sure.
    15· · · ·A.· ·His classification scheme here is to talk about
    16· ·discretion versus mandatory or required.· He wants to make
    17· ·a distinction about discretion versus mandatory here, but
    18· ·at a later stage when he is talking about, for example, the
    19· ·disclaimers that third-party organizations have to do when
    20· ·they are interacting with a registered voter, he lumps
    21· ·together discretionary and mandatory language and says, oh,
    22· ·well, consider these together.
    23· · · · · · So it's not only just, yes, he is looking at the
    24· ·rules, his classification scheme is inconsistent,
    25· ·internally inconsistent within his report.· But, yes, I


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    ·1· ·would agree that his attempt here, if we don't fully look
    ·2· ·at what he was -- you know, what he says he was trying to
    ·3· ·do up on Section --
    ·4· · · ·Q.· ·Section 2, yeah.
    ·5· · · ·A.· ·-- Section 2(b), if he was disregarding that and
    ·6· ·only looking at the rules, then that's what he is doing.
    ·7· ·He is trying to look at the rules and he is not trying to
    ·8· ·really talk about how drop boxes are actually used across
    ·9· ·states.· So maybe that was just an inaccurate statement by
    10· ·him in the report.
    11· · · ·Q.· ·Now, just one more question on this drop box issue
    12· ·and then I want to move on.
    13· · · · · · Is it your understanding that in the 2020 general
    14· ·election cycle many jurisdictions used drop boxes for
    15· ·public health reasons because of the pandemic?
    16· · · ·A.· ·That's a good question, and I have not done the
    17· ·analysis in order to render an opinion about that.· I just
    18· ·know that they were used much more widely among some of the
    19· ·states that Dr. Kidd says were not being -- have no
    20· ·enabling legislation, whatever language you want to say.
    21· · · ·Q.· ·Right.
    22· · · ·A.· ·So I didn't think it was appropriate for him to
    23· ·not class -- you know, to imply that somehow drop boxes
    24· ·weren't being used in these other states when there could
    25· ·be as a matter of administrative rules or court action that


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    ·1· ·would say, yes, drop boxes can be used and actually are
    ·2· ·used very widely within a particular state.
    ·3· · · ·Q.· ·Got it.· Okay.· Let's move on through your report.
    ·4· ·If you go to page 5, Dr. McDonald, and you go to your
    ·5· ·Section 2, Inconsistent Scope of Analysis, tell me when you
    ·6· ·are there.
    ·7· · · ·A.· ·Yes, I am there.
    ·8· · · ·Q.· ·Okay.· And then we go to the second full paragraph
    ·9· ·which starts off, "Dr. Kidd inconsistently selects elements
    10· ·of Florida's election administration."
    11· · · · · · Do you see that?
    12· · · ·A.· ·Yes.
    13· · · ·Q.· ·The last paragraph of that -- I'm sorry, the last
    14· ·sentence of that paragraph says, "In-person early voting is
    15· ·not a subject of plaintiffs' challenge to Senate Bill 90,
    16· ·and Dr. Kidd offers no explanation as to why he chose to
    17· ·examine this facet of Florida's voting laws over others."
    18· · · · · · Do you see that?
    19· · · ·A.· ·It's actually two sentences, so, yes, I'm seeing
    20· ·it, but there was no "and."
    21· · · ·Q.· ·Sorry, you are right.· You are right.
    22· · · · · · Okay.· So the reason I'm pointing this out, is
    23· ·this another example of what we talked about earlier,
    24· ·without opening that up again, but another example of where
    25· ·he has chosen to -- of where -- let me restate that.


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    ·1· · · · · · Is this another example of where it's not
    ·2· ·necessarily inappropriate within, you know, generally
    ·3· ·accepted methodologies of political science to look at
    ·4· ·parts of the historical voting laws that are not at issue
    ·5· ·in the current challenge, but if he is going to do that, he
    ·6· ·has to explain why he is doing it; is that accurate?
    ·7· · · ·A.· ·His explanation here is that plaintiffs' counsel
    ·8· ·directed him -- excuse me, defense counsel directed him to
    ·9· ·look at these two areas.· So he is just saying this is why
    10· ·I did it, I looked at these two areas because that's what I
    11· ·was tasked to do.· That's fine.· Experts get tasked to do
    12· ·things all the time.
    13· · · · · · I guess it's going to be incumbent upon the legal
    14· ·arguments that the defense is going to make as to why these
    15· ·two are relevant for their arguments that you wish to make.
    16· ·But certainly Dr. Kidd, as I said before, maybe I'm being
    17· ·unfair to him, he offers no explanation -- well, he does,
    18· ·it's because he was tasked to do this, that's his
    19· ·explanation.
    20· · · · · · Would I have looked more broadly?· Would other
    21· ·people look more broadly?· Would they explain why it was
    22· ·they were looking at these two elements and excluding
    23· ·others?· I think so.· I think that if you are -- again, in
    24· ·the process tracing literature, you explain why it is that
    25· ·you are looking at certain aspects of historical change.


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    ·1· ·So it's sort of lacking here.· It's just to say, well, my
    ·2· ·lawyers told me to do it, so that's why I did it.· He did
    ·3· ·it, so that's what he did.
    ·4· · · ·Q.· ·So it's not, per se, improper to look at these
    ·5· ·particular elements of Florida law, but if he is going to
    ·6· ·do it, he ought to have an explanation that's rooted in the
    ·7· ·science rather than in his assignment, the scope of his
    ·8· ·assignment, for why he did it; is that a fair summary?
    ·9· · · ·A.· ·I think so.· I think that's fair of the criticism
    10· ·that I have here now, yes.
    11· · · ·Q.· ·Got it.· Got it.· Okay.· Let's go down to the
    12· ·bottom of that page.· The last full paragraph starts off "A
    13· ·complete analogy of Florida's voting laws."
    14· · · · · · Do you see that?
    15· · · ·A.· ·Yes.
    16· · · ·Q.· ·And then you give an example, "He does not give
    17· ·historical analysis of voter registration laws."· And then
    18· ·you say, "Florida's voter registration deadline of 28 days
    19· ·prior to an election ranks Florida among the least
    20· ·convenient of preelection voter registration deadlines in
    21· ·the country."
    22· · · · · · My first question is, you know, when you give this
    23· ·example, aren't you doing the same thing you are accusing
    24· ·him of doing, which is cherry picking things that are
    25· ·favorable to the analysis?


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    ·1· · · ·A.· ·No.· All I'm doing is providing a critique of his
    ·2· ·report.· I'm pointing out here is an element that he didn't
    ·3· ·look at, and if he looked at it -- you know, I will give
    ·4· ·him the opportunity to look at it himself if he wishes to
    ·5· ·do so and render an opinion.· But if he looked at it, he
    ·6· ·may come to an opinion that Florida is not as, you know,
    ·7· ·forward looking as some other states because many other
    ·8· ·states have adopted election-day registration or, you know,
    ·9· ·registration deadlines that are less than the 30 days that
    10· ·are allowed under federal law, much less than the 28.
    11· · · · · · So, you know, that's -- I'm just pointing out that
    12· ·I have not done actually the analysis, although I have
    13· ·published independently on voter registration laws across
    14· ·the country.· So I'm really going upon that knowledge that
    15· ·I have from an article called, Portable Registration, it's
    16· ·on my CV, that was about how Florida sits relative to other
    17· ·states in the country.· Again, I am not trying to render an
    18· ·opinion here.· I want to be clear on that, too.
    19· · · ·Q.· ·Right.
    20· · · ·A.· ·I'm trying to say you might want to look here, and
    21· ·you might come to a different conclusion about Florida's
    22· ·forward-looking laws if you look here, but it wasn't an
    23· ·area that he looked at.
    24· · · ·Q.· ·Okay.· Understood.
    25· · · · · · Let's go to Section 3 of your report, which is on


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    ·1· ·page 6.
    ·2· · · ·A.· ·I'm there.
    ·3· · · ·Q.· ·Okay.· And the first paragraph you say, "Dr. Kidd
    ·4· ·previously notes that Florida's rules for mail balloting
    ·5· ·evolved from a very restrictive process to a much less
    ·6· ·restrictive process."
    ·7· · · · · · Do you see that there?
    ·8· · · ·A.· ·Yes, I do.
    ·9· · · ·Q.· ·Do you agree with that statement?
    10· · · ·A.· ·I'm not rendering an opinion about and not going
    11· ·to come to an agreement or disagreement.· I have not done
    12· ·my own independent analysis, comprehensive analysis, of
    13· ·Florida's laws.· So that was not what I was tasked to do by
    14· ·the defense -- excuse me, the plaintiffs' counsel.
    15· · · ·Q.· ·Is the same thing true with regard to the next
    16· ·statement that you quote, "The evolution of in-person
    17· ·voting from a relatively supervised process -- in-person
    18· ·early voting evolving from a relatively supervised process
    19· ·for voters who are unable to vote on election day to one
    20· ·oriented around one for convenience of voters."
    21· · · · · · On that statement are you able to agree or
    22· ·disagree?
    23· · · ·A.· ·I am unable to because I have not -- I was not
    24· ·tasked to do that, and so I have not been able to do an
    25· ·independent analysis.


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    ·1· · · ·Q.· ·Fair enough.· Okay.
    ·2· · · · · · Let's go to page 7.· Actually, I think we have
    ·3· ·covered this.· I was going to ask you about the last
    ·4· ·section in paragraph A where you talk about his failure to
    ·5· ·consider the evolution of election laws that were adopted
    ·6· ·pursuant to court orders, but I think we covered that.
    ·7· · · · · · I guess one question I do have on this point,
    ·8· ·would you agree that the measure of whether the law -- the
    ·9· ·voting laws in a particular state have improved over time
    10· ·is the impact on how easy it is for voters to cast their
    11· ·ballots?
    12· · · · · · MR. KARPATKIN:· I'm going to object.· Asked and
    13· · · · answered, and we have already established that
    14· · · · Professor McDonald did not conduct an impact analysis.
    15· · · · · · MR. ZACHERL:· That's fair.
    16· ·BY MR. ZACHERL:
    17· · · ·Q.· ·You can answer the question, sir, if you have a
    18· ·view.
    19· · · ·A.· ·So can you restate that, because I also found a
    20· ·compound statement in there, so I'm trying to understand
    21· ·what it is you are trying to get at.
    22· · · ·Q.· ·Well, what I was trying to get at was -- this goes
    23· ·back to this whole morality play thing I was asking you
    24· ·about earlier.· I was trying to understand your opinion.
    25· ·Were you saying that it's just important to point out


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    ·1· ·Florida bad because judges had to order Florida to do
    ·2· ·things in the past, or were you saying something else?· And
    ·3· ·you have answered that.
    ·4· · · · · · The only part left really is why we would look
    ·5· ·historically.· My question is, in the field of political
    ·6· ·science, do you look historically using this process
    ·7· ·tracing method because you are trying to determine, you
    ·8· ·know, whether a law has improved access to voting for
    ·9· ·voters in a particular state?
    10· · · · · · MR. KARPATKIN:· Same objection; asked and
    11· · · · answered.
    12· · · ·A.· ·Yeah, I mean, in a way this is a deficiency that I
    13· ·didn't note in the report because you are asking me a
    14· ·question how did he arrive at the conclusion that there has
    15· ·been -- these changes culminated in this greater
    16· ·convenience.
    17· ·BY MR. ZACHERL:
    18· · · ·Q.· ·Right.
    19· · · ·A.· ·There is never a measure of what convenience is,
    20· ·so it's more of an impression and opinion that he has
    21· ·rather than one that's based on any sort of analysis of,
    22· ·like, what's the change of the law and how did that affect
    23· ·overall turnout.
    24· · · · · · So I think, you know, lots of people have looked
    25· ·at this.· And I will tell you, the literature is very


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    ·1· ·conflicted on what the effects of a particular law are on
    ·2· ·turnout.· Again, I think a lot of the conflict has to do
    ·3· ·with a lot of nuances.· And so in the context of which
    ·4· ·elections you are talking about and which voters that are
    ·5· ·being benefitted or burdened by a particular law and the
    ·6· ·weighting of those sorts of things.
    ·7· · · · · · So I would say this sort of thing, it gets
    ·8· ·complicated to try to come to these sorts of conclusions
    ·9· ·that Dr. Kidd makes within this report in that sort of
    10· ·context of being devoid of any real sort of, you know,
    11· ·statistical or quantitative analysis.· It's purely a
    12· ·qualitative analysis that he is doing of the change to the
    13· ·laws in Florida.
    14· · · ·Q.· ·Okay.· Now we are going to skip over, to
    15· ·everyone's relief, a significant number of the pages in
    16· ·your report because they all sort of make the same point.
    17· · · · · · If you go to page 16 of your report, you know, you
    18· ·have discussed several issues to this point, which I'm not
    19· ·going to go into detail on, but what you have said I think
    20· ·at the end is sort of what I took -- this end of
    21· ·paragraph -- Section 8 is what I took to be your overall
    22· ·criticism of his report.· My question is going to be that.
    23· · · · · · So if you look at the last paragraph on 16 which
    24· ·wraps over to page 17, it starts off, "It is thus
    25· ·impossible for me using Dr. Kidd's classification and


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    ·1· ·measurement scheme to determine to what degree in terms of
    ·2· ·burden Florida's requirements are largely average."
    ·3· · · · · · You mentioned this earlier.· Do you see that?
    ·4· · · ·A.· ·Yes, I do.
    ·5· · · ·Q.· ·And then you go on in that same paragraph at the
    ·6· ·end to say, "Dr. Kidd devises no number that allows me to
    ·7· ·compute the average burden to voters across states, much
    ·8· ·less how Florida deviates from it for all Florida voters or
    ·9· ·specific Florida communities."
    10· · · · · · Do you see that?
    11· · · ·A.· ·Yes, I do.
    12· · · ·Q.· ·My question is when I read those sentences, I
    13· ·said, okay, I get it.· I mean, what you are essentially
    14· ·criticizing is he hasn't provided you as someone trying to
    15· ·understand the points he is making with enough detail for
    16· ·you to evaluate the reliability of his conclusions.            I
    17· ·mean, is that a fair summary of your opinions here?
    18· · · ·A.· ·Taking a step back, again, I don't have a problem
    19· ·with process tracing, I don't have a problem with typology.
    20· · · ·Q.· ·Right.
    21· · · ·A.· ·It's really the ability to reproduce.· In this
    22· ·particular case, it frustrated me that he is using the word
    23· ·"average," but he is also excluding certain states.· And so
    24· ·I can't go back and reanalyze his findings by including
    25· ·states that he excluded and try to understand, like, where


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    ·1· ·does Florida sit relative to all the states if I -- rather
    ·2· ·than looking at the subset of states that he is restricting
    ·3· ·his analysis to.
    ·4· · · · · · That's where I, you know, really honed in on the
    ·5· ·word "average" here because, you know, average has a
    ·6· ·specific quantitative connotation to it, and it really
    ·7· ·illustrated, I think for me, the failings that he has
    ·8· ·throughout his report of selectively looking at particular
    ·9· ·states and then coming to conclusions, and it's just
    10· ·impossible.· Even internally you can't, or I can't
    11· ·necessarily, define what he is actually doing in terms of
    12· ·his classification scheme.· And because I can't define it,
    13· ·I can't look at, well, since he has excluded some states,
    14· ·what happens when I add these other states in.· I can't
    15· ·even do that.
    16· · · · · · So that's -- this is, I guess, the section of my
    17· ·report where I became very frustrated seeing this multiple
    18· ·times through his report that he was not providing the
    19· ·information I needed in order to fairly critique his
    20· ·report.
    21· · · ·Q.· ·Well, I find it useful just because it seemed
    22· ·like -- and I think it sounds like you agree, it seems like
    23· ·this was an overall frustration that you had with his
    24· ·entire report, which is why I asked the question.
    25· · · · · · So we just have -- I only have a couple more


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    ·1· ·questions here.· If you go to page 17, Section 10,
    ·2· ·Electioneering Provisions, and you --
    ·3· · · ·A.· ·Yes, I'm there.
    ·4· · · ·Q.· ·Okay.· So the third sentence in the first
    ·5· ·paragraph says, "Missing from his analysis is Senate Bill
    ·6· ·90's restriction on line warming activities by
    ·7· ·organizations and individuals to provide assistance," and
    ·8· ·then you go on to say, "by providing seating or water in a
    ·9· ·nonpartisan matter."
    10· · · · · · Do you see that?
    11· · · ·A.· ·Yes, I do.
    12· · · ·Q.· ·And then in the next sentence -- on the next page,
    13· ·and for some reason, at least my copy of the PDF, maybe
    14· ·because it was the signature page, it came out different.
    15· ·But, yeah, if you go to --
    16· · · ·A.· ·That's the reason why.
    17· · · ·Q.· ·-- one, two, three, if you go to the third full
    18· ·sentence -- I'm sorry.· The third sentence you start off by
    19· ·saying, "The examples he cites from these different states
    20· ·all prohibit promoting or influencing voters," and then you
    21· ·say, "but are not nearly as onerous as the Florida
    22· ·restrictions which also bars nonpartisan line warming
    23· ·activities intended to encourage voters to stay on line to
    24· ·vote such as providing water, food, chairs, umbrellas."
    25· · · · · · Do you see that?


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    ·1· · · ·A.· ·Yes, I do.
    ·2· · · ·Q.· ·Now, both of those sentences that I read to you, I
    ·3· ·have read Senate Bill 90, and I don't see where it
    ·4· ·explicitly bans things like providing water, food, chairs,
    ·5· ·or umbrellas.· Have you seen those -- that language within
    ·6· ·the text of Senate Bill 90?
    ·7· · · ·A.· ·Can we bring it up?
    ·8· · · ·Q.· ·I think I probably have a copy of it somewhere.
    ·9· ·Give me 30 seconds.· This is always dangerous when you ask
    10· ·me on the cuff to do something like this.· Let me see if I
    11· ·can find it.· Hold on.
    12· · · · · · It might be.· Give me another 30 seconds here.
    13· ·I'm going to go ahead and use this copy, and you guys can
    14· ·tell me if you --
    15· · · · · · MR. KARPATKIN:· Are you sharing it on your screen?
    16· · · · · · MR. ZACHERL:· I'm going to put it in the chat.
    17· · · · I'm going to put it in the chat.· I find that's easier
    18· · · · for everyone because you can scroll on it yourself
    19· · · · when I do that.· Let me put it up there.· Senate
    20· · · · Bill 90.
    21· ·BY MR. ZACHERL:
    22· · · ·Q.· ·Tell me if you can open that.· Again, where I'm
    23· ·going with this, both for counsel and the witness, is I'm
    24· ·trying to see if there is specific language in Senate
    25· ·Bill 90 that I missed on these, you know, handing out water


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    ·1· ·and food and those sorts of things we are talking about.
    ·2· ·Take your time reading it, there is no rush, but that's
    ·3· ·what I want to know.
    ·4· · · ·A.· ·Is there a particular portion that you want me to
    ·5· ·look at?
    ·6· · · ·Q.· ·No, because my perspective -- I looked at the
    ·7· ·whole thing, and I didn't see anything in there that was
    ·8· ·specific to handing out water or handing out food or
    ·9· ·anything like that.· You have said that it was an explicit
    10· ·section.· That's why I'm asking.
    11· · · · · · MR. KARPATKIN:· I am going to object.· Couple
    12· · · · things here.· First, I don't know what document you
    13· · · · just shared.· It's entitled SB 90 Challenge
    14· · · · Provisions, so we need a little bit more foundation
    15· · · · before we are going to accept this as an exhibit.
    16· · · · · · MR. ZACHERL:· Well, just so you know, this is my
    17· · · · copy.· Okay?· So I called it Challenge Provisions and
    18· · · · I highlighted in the document some of the provisions.
    19· · · · I can tell you that -- you can see it's printed right
    20· · · · out of the laws of Florida, and it is the entirety of
    21· · · · Senate Bill 90.
    22· · · · · · MR. KARPATKIN:· Okay.
    23· · · · · · MR. ZACHERL:· So, you know, that's why that says
    24· · · · that.· It's just me.
    25


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    ·1· ·BY MR. ZACHERL:
    ·2· · · ·Q.· ·But, again, my question is, and it may be it's not
    ·3· ·in there, but my question is, is there anywhere in Senate
    ·4· ·Bill 90 where, as you have said, you know, they were -- the
    ·5· ·legislature was explicit in, you know, prohibiting these
    ·6· ·activities such as water -- providing water, food, chairs,
    ·7· ·or umbrellas?· That's where I'm challenged.
    ·8· · · · · · MR. KARPATKIN:· I just want to object on one
    ·9· · · · point.· I don't believe that Professor McDonald
    10· · · · anywhere in his report uses the word "explicit" in
    11· · · · reference to this section.· That was your word, not
    12· · · · his.
    13· · · · · · MR. ZACHERL:· Let me look.· Hold on.· You may be
    14· · · · right.
    15· · · · · · You are right, he doesn't use the word "explicit."
    16· · · · What he says, "that are not nearly as onerous as the
    17· · · · Florida restrictions which also bars even nonpartisan
    18· · · · line warming activities intended to encourage voters
    19· · · · to stay on line such as providing water, food, chairs,
    20· · · · umbrellas."
    21· · · · · · You are right, he doesn't use the word "explicit."
    22· ·BY MR. ZACHERL:
    23· · · ·Q.· ·My question is, does the text of Senate Bill 90
    24· ·actually say that it bars these specific activities,
    25· ·because I didn't see it in there.· Like I said, maybe I


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    ·1· ·missed it.· That's why I'm asking the question.
    ·2· · · ·A.· ·(Witness reviewing document.)
    ·3· · · · · · My understanding of the plaintiffs' challenge
    ·4· ·here, so it's just my understanding, is that the phrase in
    ·5· ·SB 90 which I have cited -- so, fortunately, we actually
    ·6· ·have the citation -- Section 102.031.· So if we can go to
    ·7· ·the -- I don't know if you can find it faster than I can.
    ·8· ·I'm scanning through to try to get to that.· I'm at 97.
    ·9· · · ·Q.· ·Let me see if I can find it.· Hold on.· 102.031.
    10· ·It's actually highlighted in the exhibit.· It's on page 24.
    11· · · ·A.· ·Twenty-four.· Okay.· Great.· Thank you.
    12· · · · · · (Witness reviewing document.)
    13· · · · · · It says Section B, "For the purpose of this
    14· ·subsection, the terms 'solicit' or 'solicitation' shall
    15· ·include, but not be limited to, seeking or attempting to
    16· ·seek any vote, fact, opinion, or contribution; distributing
    17· ·or attempting to distribute any political or campaign
    18· ·material, leaflet, or handout; conducting a poll except as
    19· ·specified in this paragraph; seeking or attempting to seek
    20· ·a signature on any petition; selling or attempting to sell
    21· ·any item; and engaging in any activity with the intent to
    22· ·influence or effect of influencing a voter."
    23· · · · · · As I understand -- I'm not a lawyer.
    24· · · ·Q.· ·Right.· Right.
    25· · · ·A.· ·So this is, you know, my understanding is that the


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    ·1· ·effects may be construed that any interaction that a
    ·2· ·volunteer may have with someone who is standing in line
    ·3· ·could influence a voter.· So it's that even though there
    ·4· ·was no intent, there was an intent to provide a bottle of
    ·5· ·water to keep somebody in line, that it may have the effect
    ·6· ·of keeping them in line, and, thus, may affect -- it may
    ·7· ·make organizations reticent to participate in these sorts
    ·8· ·of what I have called line-warming activities.
    ·9· · · ·Q.· ·Okay.· I got it.· I'm going to be an old, you
    10· ·know, get off my lawn man and say that, you know, your use
    11· ·of the word "reticent" there is -- everyone is using it
    12· ·that way now.· As an English major, the word is
    13· ·"reluctant."
    14· · · ·A.· ·Reluctant.
    15· · · ·Q.· ·People use it all the time that way, and it's just
    16· ·funny.· It's a new way of using the word there, and they
    17· ·have to change it.
    18· · · · · · MR. ZACHERL:· I don't have any other questions,
    19· · · · Dr. McDonald.· It's very nice to meet you by Zoom.             I
    20· · · · appreciate all the time you put in and your indulging
    21· · · · my awkward questioning and phrasing.
    22· · · · · · I don't know that we are finished, though.· We
    23· · · · might have other folks on the line that might want to
    24· · · · ask you questions, so I will leave it to the group at
    25· · · · that point.


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    ·1· · · ·THE STENOGRAPHER:· Before we continue, did you
    ·2· ·want to mark SB 90 as Exhibit 5 or were you using it
    ·3· ·as demonstrative only?
    ·4· · · ·MR. ZACHERL:· We will mark this.· That's fine.
    ·5· · · · · · (Document marked as Exhibit 5
    ·6· · · · · · · · For identification.)
    ·7· · · ·MR. ZACHERL:· Let me poll, does anybody on the
    ·8· ·line have any questions?· Or Mr. Karpatkin, do you
    ·9· ·have any questions?
    10· · · ·MR. KARPATKIN:· I wanted to first see if anyone on
    11· ·the defendants' side has a question, then I would ask
    12· ·for a quick break to review whether or not we have any
    13· ·questions on redirect.
    14· · · ·MR. ZACHERL:· Okay.
    15· · · ·THE WITNESS:· I have bored everyone to death.
    16· · · ·MR. ZACHERL:· You have been so complete with your
    17· ·answers.
    18· · · ·THE WITNESS:· This is like my students, you know,
    19· ·you ask and they never respond when you ask a question
    20· ·to the audience.
    21· · · ·MR. KARPATKIN:· If there are no other questions
    22· ·from defendants, can I suggest we go off the record
    23· ·for ten minutes and reconvene?
    24· · · ·MR. ZACHERL:· Sure.· It's 12:12.· How about if we
    25· ·come back at 12:20.· Is that okay?


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    ·1· · · · · · MR. KARPATKIN:· That's fine.
    ·2· · · · · · MR. ZACHERL:· We will see you at 12:20.· Thank
    ·3· · · · you.
    ·4· · · · · · (Recessed at 12:12 p.m.)
    ·5· · · · · · (Resumed at 12:21 p.m.)
    ·6· · · · · · MR. KARPATKIN:· Professor McDonald, I just wanted
    ·7· · · · to cover one or two things, and then I think we can be
    ·8· · · · done.
    ·9· · · · · · · · · · · ·CROSS-EXAMINATION
    10· ·BY MR. KARPATKIN:
    11· · · ·Q.· ·Can I direct you to paragraph 10 of Professor
    12· ·Kidd's report?
    13· · · · · · MR. ZACHERL:· You are talking about the original
    14· · · · report, Jeremy?
    15· · · · · · MR. KARPATKIN:· Yes, the original report,
    16· · · · paragraph 10.· It's on page 6 and 7.
    17· · · · · · MR. ZACHERL:· Okay.
    18· · · ·A.· ·I am there.
    19· ·BY MR. KARPATKIN:
    20· · · ·Q.· ·Can you look at the last sentence of paragraph 10
    21· ·that starts on page 6 and goes into page 7?
    22· · · ·A.· ·I am there.
    23· · · ·Q.· ·Okay.· Can you read that sentence, please?
    24· · · ·A.· ·"In short, when you consider that a majority of
    25· ·27 states and the District of Columbia explicitly prohibit


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    ·1· ·the use of drop boxes, Florida stands among a small group
    ·2· ·of states that require them to be widely available."
    ·3· · · ·Q.· ·Based on your review of Dr. Kidd's report and his
    ·4· ·supplemental report, did you believe that Dr. Kidd
    ·5· ·adequately justifies or supports that statement?
    ·6· · · ·A.· ·No, I do not.
    ·7· · · ·Q.· ·Okay.· I want to now go to your report, page 12.
    ·8· · · ·A.· ·Yes, I'm there.
    ·9· · · ·Q.· ·In the middle paragraph, in the first sentence,
    10· ·you describe Dr. Kidd's report as, "inconsistent with
    11· ·standard methods used by political scientists and social
    12· ·scientists when conducting a comparative analysis of laws
    13· ·and rules across time and states regarding the
    14· ·administration of elections."
    15· · · · · · After reviewing Dr. Kidd's report and his
    16· ·supplemental report, do you continue to agree with that
    17· ·statement?
    18· · · ·A.· ·Yes, that continues to be my opinion.
    19· · · · · · MR. KARPATKIN:· I have nothing further.· I want to
    20· · · · ask my co-counsel if they have anything further.
    21· · · · · · MR. NASSERI:· Nothing for me.
    22· · · · · · MS. KANTER COHEN:· I don't have anything.· Thank
    23· · · · you.
    24· · · · · · MR. KARPATKIN:· Nothing further from plaintiffs.
    25· · · · · · MR. ZACHERL:· Okay.· So I just have one follow-up,


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    ·1· · · · Jeremy.
    ·2· · · · · · · · · · · REDIRECT EXAMINATION
    ·3· ·BY MR. ZACHERL:
    ·4· · · ·Q.· ·Dr. McDonald, the sentence that was just read to
    ·5· ·you that his classification and measurement scheme is
    ·6· ·inconsistent with these standard methods in your field,
    ·7· ·when he -- when I asked you earlier about his methodology,
    ·8· ·you said that there is nothing wrong with using
    ·9· ·methodologies of process tracing and typology.· Your issue
    10· ·was with how he went about undertaking those methodologies.
    11· ·Do you recall that?
    12· · · ·A.· ·Yes.
    13· · · ·Q.· ·Okay.· And so I'm just trying to understand this
    14· ·sentence.· I'm actually glad your counsel pointed it out.
    15· · · · · · When you say his opaque classification and
    16· ·measurement scheme, are you referring to the way in which
    17· ·he attempts to do the process tracing and typology
    18· ·analysis?
    19· · · ·A.· ·Yes, it's his approach.· It's not that those
    20· ·aren't valid approaches, it's the inability for me to
    21· ·replicate the work that he did.· That's my -- that is not a
    22· ·standard method.· It is important to be able to replicate
    23· ·work in any field, not just the social sciences.
    24· · · ·Q.· ·Understood.
    25· · · · · · MR. ZACHERL:· I don't have any further questions,


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    ·1· ·sir.· Thank you again for all the time today.
    ·2· · · ·Jeremy, will he be a read?
    ·3· · · ·MR. KARPATKIN:· I'm sorry?
    ·4· · · ·MR. ZACHERL:· Will he read the transcript or will
    ·5· ·he waive reading?
    ·6· · · ·MR. KARPATKIN:· No, he is going to read.· He is
    ·7· ·going to read the transcript.
    ·8· · · ·MR. ZACHERL:· That's what I thought.
    ·9· · · ·I will order it, Tamra.· Just standard, I guess
    10· ·whatever your standard is.
    11· · · ·THE STENOGRAPHER:· Ten business days.
    12· · · ·MR. ZACHERL:· Great.· If we need something sooner,
    13· ·I will let you know by email.
    14· · · ·MR. KARPATKIN:· We would like a rough.
    15· · · ·THE STENOGRAPHER:· You want a rough, correct?                   I
    16· ·will have it to you by tomorrow morning.
    17· · · ·MR. ZACHERL:· If you are going to send that out,
    18· ·if you can copy me as well.
    19· · · ·THE STENOGRAPHER:· Of course.
    20· · · ·MR. ZACHERL:· Thank you.· Have a good weekend.
    21· · · ·MR. KARPATKIN:· Thank you.
    22· · · (Thereupon, the proceedings were concluded
    23· · · · · · · · · · at 12:26 p.m.)
    24
    25


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    ·1· · · · · · · · · · · ·CERTIFICATE OF OATH

    ·2

    ·3· ·STATE OF FLORIDA· · · )

    ·4· ·COUNTY OF BROWARD· · ·)

    ·5

    ·6

    ·7· · · · · · I, Tamra K. Piderit, FPR, RPR, RMR, RDR, CRR,

    ·8· ·Notary Public, State of Florida, certify that Michael

    ·9· ·McDonald, Ph.D. remotely appeared before me on the 29th day

    10· ·of October, 2021, and was duly sworn.

    11

    12· · · · · · WITNESS my hand and official seal this 4th day of

    13· ·November, 2021.

    14

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    17·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·________________________________
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·Tamra K. Piderit
    18·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Florida Professional Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Registered Professional Reporter
    19·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Registered Merit Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Registered Diplomate Reporter
    20·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Certified Realtime Reporter
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·Notary Public, State of Florida
    21·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·My Commission #GG 915608
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    ·2

    ·3· ·STATE OF FLORIDA· · · )

    ·4· ·COUNTY OF BROWARD· · ·)

    ·5

    ·6· · · · · · · · I, Tamra K. Piderit, FPR, RPR, RMR, RDR, CRR,

    ·7· ·do hereby certify that I was authorized to and did

    ·8· ·stenographically report the foregoing Web deposition of

    ·9· ·Michael McDonald, Ph.D., that a review of the transcript,

    10· ·pages 1 through 91 was requested; and that the transcript

    11· ·is a true record of my stenographic notes.

    12· · · · · · · · I further certify that I am not a relative,

    13· ·employee, attorney or counsel of any of the parties, nor am

    14· ·I a relative or employee of any of the parties' attorneys

    15· ·or counsel connected with the action, nor am I financially

    16· ·interested in the action.

    17· · · · · · · · DATED this 4th day of November, 2021.

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    · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·________________________________
    21·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   · · · · ·Tamra K. Piderit
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    ·4·   ·   ·   ·   ·   ·   ·   ·   ·   · · · · · · ·v.
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   · · Laurel Lee, et al.
    ·5·   ·   ·   ·   ·   ·   ·   ·   ·   · · ·4:21-cv-186-MW-MAF
    · ·   ·   ·   ·   ·   ·   ·   ·   ·   · Michael McDonald, Ph.D.
    ·6·   ·   ·   ·   ·   ·   ·   ·   ·   · · · October 29, 2021

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    · · ·Under penalties of perjury, I declare that I have read the
    21· ·foregoing document and that the facts stated in it are
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    ·2· ·November 4, 2021

    ·3· ·Michael McDonald, Ph.D.
    · · ·c/o Jeremy Karpatkin, Esquire
    ·4· ·Arnold & Porter Kaye Scholer

    ·5· ·VIA EMAIL:· Jeremy.karpatkin@arnoldporter.com

    ·6· ·RE:· League of Women Voters v. Laurel Lee, et al.

    ·7· ·Please take notice that on the 29th day of October, 2021,
    · · ·you gave your deposition in the above cause.· At that time
    ·8· ·you did not waive your signature.

    ·9·   ·The above-addressed attorney has ordered a copy of this
    · ·   ·transcript and will make arrangements with you to read
    10·   ·their copy.· Please execute the Errata Sheet, which can be
    · ·   ·found at the back of the transcript, and have it returned
    11·   ·to us for distribution to all parties.

    12·   ·If you do not read and sign the deposition within thirty
    · ·   ·(30) days, the original, which has already been forwarded
    13·   ·to the ordering attorney, may be filed with the Clerk of
    · ·   ·the Court.
    14
    · ·   ·If you wish to waive your signature now, please sign your
    15·   ·name to the blank at the bottom of this letter and return
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    · ·   ·Sincerely
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    18

    19·   ·Tamra K. Piderit, FPR, RPR, RMR, RDR, CRR
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    · ·   ·West Palm Beach, FL 33401
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                      TALLAHASSEE DIVISION



FLORIDA RISING TOGETHER,                    Case No. 4:21-cv-201-MW-MJF
FAITH IN FLORIDA, UNIDOSUS,
EQUAL GROUND EDUCATION
FUND, HISPANIC FEDERATION,
PODER LATINX, HAITIAN
NEIGHBORHOOD CENTER SANT
LA, and MI FAMILIA VOTA
EDUCATION FUND,

FLORIDA STATE CONFERENCE OF                 Case No. 4:21-cv-187-AW-MAF
BRANCHES AND YOUTH UNITS OF
THE NAACP, DISABILITY RIGHTS
FLORIDA, and COMMON CAUSE,

HARRIET TUBMAN FREEDOM                      Case No. 4:21-cv-242-MW-MJF
FIGHTERS, CORP. et al.,



             Plaintiffs,

v.

LAUREL M. LEE, in her official
capacity as the Secretary of State of
Florida, et al.

             Defendants.




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                 DECLARATION OF MICHAEL MCDONALD

I am Dr. Michael P. McDonald, Professor of Political Science at the University of
Florida. I have a Ph.D. in Political Science from University of California, San
Diego and a B.S. in Economics from California Institute of Technology.

I have consulted with numerous governments and media organizations. In the
course of my election work, I consulted for the United States Election Assistance
Commission, the Department of Defense’s Federal Voting Assistance Program, the
Colorado Secretary of State, the Virginia Division of Elections, the Arizona
Independent Redistricting Commission, the New Jersey State Legislative
Redistricting Commission, the New Jersey Congressional Redistricting
Commission, Virginia Governor McDonnell’s Independent Bipartisan Advisory
Redistricting Commission, the California Assembly, the media’s National Exit Poll
organization, the Associated Press, ABC News, and NBC News.

I have an extensive publishing record regarding elections. I am widely known for
producing what are considered the authoritative United States turnout rates for
those eligible to vote.1 Within the sphere of election administration, I recently
devised a methodology to audit the assignment of registered voters to districts,
which is the subject of my consulting work for the Colorado Secretary of State and
the Virginia Division of Elections. I serve on an advisory board for the National
States Geographic Information Council to assist other state governments with
similar audits.2 I recently published a study of the reliability of information found
in Florida’s voter registration database,3 which builds upon earlier work I




1
  Michael P. McDonald and Samuel Popkin. 2001. “The Myth of the Vanishing
Voter.” American Political Science Review 95(4): 963-74. I continue to
disseminate turnout rates on www.electproject.org.
2
  Brian Amos and Michael P. McDonald. 2020. “A Method to Audit the
Assignment of Voters to Districts.” Political Analysis 28(3): 356-71.
3
  Enrijeta Shino, Michael Martinez, Michael P. McDonald, and Daniel Smith.
2020. “Verifying Voter Registration Records: Part of Special Symposium on
Election Sciences.” American Politics Research 48(6): 677-81.

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conducted on the reliability of voter file data4 and the matching of voter
registration records.5
I have been involved as an expert witness in numerous election related cases.
Within the past four years, I provided deposition and trial testimony for plaintiffs
in an ongoing case challenging Georgia’s voter registration matching procedures6
and a case challenging Georgia’s voter registration purging practices.7
Please see my curriculum vitae (attached) for more information.
I am receiving $450 per hour for my work in this matter. My compensation is not
contingent upon the contents of this report.

     1. Summary
I have been asked by plaintiffs’ counsel to review and respond to a declaration
from Dr. Quentin Kidd submitted on behalf of the Florida Secretary of State and
the Florida Attorney General, in which he renders several opinions related to
Senate Bill 90 (hereafter SB 90).
A summary of my responses are as follows:
     1. Throughout his report, Dr. Kidd inconsistently chooses elements of the
        Florida election code to analyze. At times, he analyzes aspects of Florida’s
        election administration that are not a component of SB 90. For example, Dr.
        Kidd provides a recent history of in-person early voting, which is not
        challenged in this case. In another example, Dr. Kidd compares Florida’s

4
  Michael P. McDonald. 2007. “The True Electorate: A Cross-Validation of Voter
File and Election Poll Demographics.” Public Opinion Quarterly 71(4): 588-602.
5
  Michael P. McDonald and Justin Levitt. 2008. “Seeing Double Voting: An
Extension of the Birthday Problem.” Election Law Journal 7(2): 111-22.
6
  Georgia Coalition for the Peoples’ Agenda, Inc. et al. v. Brad Raffensperger.
Case No. 1:18-cv-04727-ELR (N.D. Ga.) (I testified or provided testimony three
times in this ongoing litigation. Some challenged elements involving Georgia’s
exact match policy were resolved by a settlement with the Secretary of State’s
office and revised statutes enacted by Georgia’s state government.)
7
  Fair Fight Action, Inc. et al. v. Brad Raffensperger. No. 1:18-CV-5391-SCJ
(N.D. Ga.) (An element of this case was resolved by the Georgia Secretary of State
restoring approximately 22,000 registered voters.)

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          third-party registration rules to other states on a number of facets, but among
          those he reviews, plaintiffs are only challenging Florida’s disclaimer
          requirement and delivery restrictions. Dr. Kidd provides no rationale as to
          how these extraneous provisions are relevant to inform his opinions on the
          issues at stake in this litigation challenging SB 90.
     2.   Dr. Kidd at times omits elements of SB 90 from his comparative analyses.
          For example, Dr. Kidd does not review state laws on drop boxes to assess
          whether any states impose a comparable $25,000 penalty on Supervisors of
          Elections who seek to use drop boxes outside of the restrictions imposed by
          SB 90.8
     3.   Dr. Kidd omits recent history, including the passage of SB 90, entirely from
          his narrative of historical changes to Florida’s mail balloting and in-person
          voting laws since 1995. This omission is significant, and implicitly means
          Dr. Kidd does not opine on any future effect that SB 90 may have.
     4.   Dr. Kidd’s narrative of recent historical changes to Florida’s mail balloting
          and in-person voting laws fails to mention any negative effects that may
          burden Florida voters, or any changes in Florida law that were not
          undertaken voluntarily but that were the result of litigation.
     5.   Dr. Kidd cites no authority supporting his classification of states’ voting
          laws with respect to drop box usage, third-party ballot collection rules, third-
          party voter registration rules, absentee ballot application verification rules,
          no excuse absentee voting rules, and electioneering provisions. By
          repeatedly employing opaque classification and measurement schemes, Dr.
          Kidd does not follow “standard methods used by political scientists and
          social scientists when conducting a comparative analysis of laws and rules
          across time and states regarding the administration of elections” (Kidd, p. 5).
          As a consequence, he does not permit me to fairly evaluate and critique his
          methods. Since he provides no description of his methodology, I am unable
          to reanalyze his work to ascertain if I can reproduce his results.
     6.   To the extent that I can externally test the validity of Dr. Kidd’s
          classifications of states, I find them inaccurate and otherwise wanting. For
          example, he misclassifies nineteen states as not offering mail ballot return
          drop boxes, when in fact those states did provide drop boxes in the 2020
          presidential election.


8
    SB 90 Section 28; F.S. §101.69(3).
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     7. Dr. Kidd employs inconsistent classification schemes to the favor of the
        defendants. For example, when categorizing states on their drop box usage,
        he distinguishes states that require drop boxes from those that allow
        localities the discretion to provide them. When categorizing states with voter
        registration notification laws, he does not distinguish Florida’s mandatory
        disclaimer from states with permissive guidelines for third-party
        organizations.

     2. Inconsistent Scope of Analysis
Generally, Dr. Kidd’s analysis is two-pronged.
     1. In the first prong of his declaration, Dr. Kidd analyzes changes to Florida’s
        in-person early voting and mail balloting laws since 1995.
     2. In the second prong, Dr. Kidd compares current Florida election laws with
        other states’ laws, with respect to the use of mail ballot return drop boxes,
        mail ballot voter assistance, third-party registration activities, mail ballot
        verification, mail ballot requests, and polling place electioneering activities.
Dr. Kidd inconsistently selects elements of Florida’s election administration for his
analysis of Florida’s recent history of election laws. He assesses only in-person
early voting and mail ballot laws in recent decades. In-person early voting is not a
subject of plaintiffs’ challenge to SB 90. Dr. Kidd offers no explanation as to why
he chose to examine this facet of Florida’s voting laws over others.
Dr. Kidd provides no similar recent historical analysis of legal changes in other
states. It is thus impossible to assess from Dr. Kidd’s analysis whether or not
Florida is a leader or laggard in modernization of election administration in the two
areas he chooses to analyze.
A complete analysis of Florida’s voting laws, if included in Dr. Kidd’s analysis,
might cast the defendants in a less favorable light. For example, Dr. Kidd provides
no historical analysis of Florida’s voter registration laws. Florida’s voter
registration deadline of 28 days prior to an election ranks Florida’s among the least
convenient of pre-election voter registration deadlines in the country.9


9
 For a compilation of states’ voter registration deadlines by the National
Conference of State Legislatures, see: https://www.ncsl.org/research/elections-and-
campaigns/voter-registration-deadlines.aspx
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Dr. Kidd’s Table 1 (p. 10) and Table 2 (p. 14) are titled “Changes to
Florida’s…Voting Rules Since 1995.” However, an analysis of SB 90 is missing
from these sections of his report.
Moreover, Dr. Kidd provides no similar recent historical analysis of all SB 90
provisions that are later subjects of his report, namely Florida’s mail ballot
collection rules, third-party registration activities, absentee ballot application
verification rules, and polling place electioneering activities.

     3. Lack of a Balanced Historical Analysis
Dr. Kidd approvingly notes that Florida’s rules for mail balloting evolved “from a
very restrictive process to a much less restrictive process” (Kidd p. 9). Similarly,
he notes how in-person early voting evolved “from a relatively supervised process
for voters who were unable to vote on election day to one oriented around
convenience for voters” (Kidd p. 13).
Dr. Kidd’s selective historical narratives of Florida’s in-person early voting and
mail balloting laws are framed only in positive terms to describe how Florida’s
government has enacted new laws with respect to in-person early voting and mail
balloting. A balanced analysis would include policy changes that had a negative
effect on minority and student communities or that courts imposed upon Florida.10
These omissions are important in light of the fact that Dr. Kidd’s selective
historical analysis does not continue to the present, stopping short of the enactment
of SB 90. He renders no opinion as to whether SB 90 enhances or impairs the
participation for Florida’s voters in the electoral process.
     A. Mail Balloting
In Dr. Kidd’s chronology of Florida’s “Absentee Voting Rules” (Table 1, p. 10),
Dr. Kidd omits from Table 1 a 2019 law11 that codified a 2018 preliminary
injunction requiring the state to allow voters to cure a mismatched signature on an




10
   See, e.g., Florida v. United States, 885 F. Supp. 2d 299 (D.D.C. 2012) (regarding
changes to early voting that disproportionately impacted minority voters).
11
   2019 Fla. Sess. Law 2019-162 (codified at F.S. 101.68(4)(b), (2021)).

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absentee ballot return envelope. In his preliminary injunction order on this matter,
a district federal court ruled:12
       The precise issue in this case is whether Florida's law that allows
       county election officials to reject vote-by-mail and provisional ballots
       for mismatched signatures—with no standards, an illusory process to
       cure, and no process to challenge the rejection—passes constitutional
       muster. The answer is simple. It does not.
By omitting a law that was passed in response to a federal court injunction,
Dr. Kidd fails to consider evolution of Florida’s election laws that may not
have otherwise been adopted absent a federal court order.
     B. In-Person Early Voting
Dr. Kidd’s analysis of in-person early voting – which is not a subject of plaintiffs’
challenges – provides an anodyne narrative of some changes to mask adverse
effects on minority and youth communities.
In 2011, Florida reduced the number of in-person early voting days permitted from
up to 14 days to 8 days, while changing the number of hours offered from 8 to 12
hours. Dr. Kidd (p. 15) approvingly notes how, “[t]his change in the early voting
hours requirement amounted to an increase in the available time for early voting on
weekends.”
Dr. Kidd fails to acknowledge that the state’s policy specifically discontinued in-
person early voting on the Sunday before the election. He does so by framing his
discussion of the allowed in-person early voting days relative to the number of
days before an election, without addressing the specific days of the week impacted
(Kidd pp. 14-15).13



12
   Democratic Executive Committee of Florida v. Detzner, 347 F.Supp.3d 1017
(2018) at 6.
13
   Dr. Kidd’s Table 2 (p.14) notes, “…but supervisor of elections has discretion to
offer it on the 15th, 14th, 13th, 12th, 11th, or 2nd day before election.” Likewise in
the body of his report Dr. Kidd (p. 15) notes, “…stipulated an early voting period
from the 15th day before an election to the 2nd day before an election (fourteen
days of early voting).”

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The Sunday prior to Election Day is when African-American communities
typically conduct “Souls to Polls” voter mobilization drives. A recent article by
Drs. Herron and Smith demonstrates that Florida’s 2011 change had the following
effects:14
      [R]acial/ethnic minorities, registered Democrats, and those without
      party affiliation had significant early voting participation drops and
      that voters who cast ballots on the final Sunday in 2008 were
      disproportionately unlikely to cast a valid ballot in 2012. Florida’s
      decision to truncate early voting may have diminished participation
      rates of those already least likely to vote.
Florida in a 2013 law reinstated local Florida Supervisors of Elections’ discretion
to offer in-person early voting on the Sunday prior to the election and other days,
as Dr. Kidd (pp. 15-16) obliquely notes. He provides no analysis of to what extent
Supervisors of Elections exercised their discretion. Did any Supervisor of Elections
offer in-person early voting on the Sunday prior to an election? If so, how many?
Dr. Kidd fails to analyze administrative rulemaking by the Florida government
which implemented the state’s in-person early voting rules. For example, in 2018,
the Florida League of Women Voters challenged a 2014 Florida administrative rule
that found college facilities did not meet the definition of a “government-owned
community center.”15 A federal district court overturned this interpretation of
Florida’s law, noting that “[t]hrowing up roadblocks in front of younger voters
does not remotely serve the public interest.”16
A balanced reading of Florida’s in-person early voting laws is that while the state
has expanded in-person early voting options, Florida has at times – legislatively or
administratively – adopted measures that disproportionately impacted certain
groups, such as communities of color or college students.


14
   Michael C. Herron and Daniel A. Smith. 2014. “Race, Party, and the
Consequences of Restricting Early Voting in Florida in the 2012 General
Election.” Political Research Quarterly 67(3): 646-665.
15
   Florida Department of State, Division of Elections. 2017. ‘‘Voting Activity by
Ballot Type for 2016 General Election.’’
16
   See: League of Women Voters of Florida, Inc., et al. v. Detzner,
314 F. Supp. 3d 1205, (N.D. Fla. 2018), available at:
www.leagle.com/decision/infdco20180725987.
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     4. Dr. Kidd’s Comparative Analysis is Inconsistent and Biased in
        Favor of the State
Dr. Kidd inconsistently classifies Florida’s laws and compares them to other states’
laws and policies in a manner that makes Florida appear more favorable than
warranted.
For example, when analyzing drop boxes, Dr. Kidd (Table 3, p. 19) uses as his
analytic framework a comparison between whether a state requires a voting
method or merely allows a voting method. Dr. Kidd classifies Florida as one of ten
states that require election officials to provide drop boxes for voters to return mail
ballots. Dr. Kidd classifies fourteen states where election officials are allowed, at
their discretion, to provide drop boxes.
By contrast, in analyzing disclaimers that third-party voter registration efforts are
required to provide voters, Dr. Kidd (Table 5, p. 26) changes his methodology. He
lumps together all states with any rules in any way related to disclaimers, without
distinguishing between states that require disclaimers and states that do not. Dr.
Kidd classifies Florida as one of eight states with “some notice/disclaimer rules.”
For example, Dr. Kidd’s placement of Virginia and Florida in the same
classification is deceptive, as Virginia’s law is not a mandate for third-party
organizations to provide similar disclaimers as Florida to people they interact with.
Rather, Virginia’s law applies to government officials instructing individuals or
groups they provide voter registration applications to.17 With respect to
information provided to applicants, Virginia’s training guide clearly describes only
best practices for third-party groups conducting voter registration drives, not
requirements that may place individuals or groups into legal jeopardy for failing to
provide information.18
Thus, when Dr. Kidd analyzes drop boxes, he chooses to differentiate between
required and discretionary practices, to opine “If the use of drop boxes is



17
   Va. Code. § 24.2-416.6.
https://law.lis.virginia.gov/vacode/title24.2/chapter4/section24.2-416.6/
18
   See: https://www.elections.virginia.gov/media/formswarehouse/veris-voter-
registration/voterregistrationdrives/2021-Guidelines-for-Voter-Registration-
Drives-[Final]-(1).pdf (Note, Dr. Kidd’s report provides a defunct link).
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considered an expansion of voting rights, then Florida is among the minority of
states (10 of 51, or about 20%)” (Kidd p. 20).
In contrast, when Dr. Kidd analyzes third-party voter registration notice
requirements, he does not differentiate between required and discretionary policies,
and thereby opines, “disclaimer requirements are not unique among states that
require them and certainly not as proscriptive as several of them” (Kidd p. 29). Dr.
Kidd’s analysis is therefore unpersuasive and unreliable.

     5. Drop Box Classification Errors from an Unknown Data Source
At places in his report, Dr. Kidd provides precise citations to state laws and
policies he discusses. However, Dr. Kidd provides no citation as to the authority he
used to classify states’ mail ballot drop box return laws and the table of
comparative state laws found in his report. A reader must take as a matter of faith
that Dr. Kidd correctly classifies each state’s laws and policies.
Dr. Kidd’s classification of states’ mail ballot return drop boxes is wanting. Mail
ballot drop boxes were a high-profile issue in the 2020 election, with extensive
court action regarding their usage. For example, Dr. Kidd classifies Ohio as
prohibiting drop boxes; however, all Ohio election offices had drop boxes in the
2020 general election, and there was a legal battle over expanding their use.19 Dr.
Kidd classifies Texas as prohibiting drop boxes, yet there was extensive court
action that eventually allowed drop boxes, but restricted them to election offices.20
Dr. Kidd cites Virginia as a state comparable to Florida, but neglects to mention
that Virginia does not have a $25,000 penalty imposed on local election officials
who seek to provide drop boxes beyond the limitations imposed by SB 90.21

19
   Julie Carr Smyth. “Dispute over Ohio drop box limit ends as advocates drop
suit.” Associated Press. Oct. 23, 2020. Available at:
https://apnews.com/article/election-2020-donald-trump-columbus-cincinnati-
lawsuits-e2bcbb042c0704a94dd7c95f8b26b932
20
   Jolie McCullough. “Texas counties will be allowed only one drop-off location
for mail-in ballots, state Supreme Court rules.” Texas Tribune. Oct. 27, 2020.
Available at: https://www.texastribune.org/2020/10/27/texas-voting-elections-
mail-in-drop-off/
21
   See SB 90, Section 28; F.S. §101.69(3) (2021); compare to Va. Code Ann.
§24.2-707.1 (no penalty provisions).

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Dr. Kidd can easily discover which states use mail ballot return drop boxes.
FiveThirtyEight and other news and advocacy organizations provided
informational websites listing mail ballot policies for all the states, including if
drop boxes are permitted and including links to states’ lookup tools for voters to
find their nearest drop box location.22 In all, based on the information collected by
FiveThirtyEight, Dr. Kidd misclassifies the following nineteen states as prohibiting
drop boxes, when in at least some – if not all –local election officials in these states
provided them: Alaska, Connecticut, Delaware, District of Columbia, Idaho,
Kansas, Louisiana, Maine, Nevada, New Hampshire, New York, North Carolina,
North Dakota, Ohio, Rhode Island, South Dakota, Texas, Wisconsin, and
Wyoming.
Dr. Kidd’s classification of states’ drop box laws is fatally flawed and his analysis
is therefore unreliable.

     6. Third-party Ballot Collection Rules
Dr. Kidd provides no authority for the classifications set forth in his Table 4,
“Third-Party Ballot Collection Rules” (p.22). Table 4 appears to be largely
consistent with information provided by the National Conference of State
Legislatures.23 Dr. Kidd’s analysis concludes, “However, among those forty-one
states that impose some regulation, Florida is less restrictive than over half” (Kidd,
p. 23).

There are two problems with Dr. Kidd’s analysis.

First, Dr. Kidd performs a sleight of hand by restricting his opinion to only those
states that “impose some regulation” and thereby omits from his analysis the most
permissive states that impose no regulation.

Second, Dr. Kidd does not provide a measure of how to score the restrictiveness of
states’ third-party ballot collection rules. He notes two elements that might
reasonably be inferred to inform his measurement of restrictiveness: who may

22
  See: https://projects.fivethirtyeight.com/how-to-vote-2020/
23
  See: https://www.ncsl.org/research/elections-and-campaigns/vopp-table-10-who-
can-collect-and-return-an-absentee-ballot-other-than-the-voter.aspx

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return a mail ballot and the number that they may return.24 Dr. Kidd does not
explain how he weighs these two elements against each other, or how he quantifies
who is allowed to return a ballot. For example, Dr. Kidd codes Montana’s
exception for an “acquaintance” as a “limit” on par with other states that restrict
ballot return to immediate family members (Kidd Table 4, p. 22).25 Dr. Kidd does
not explain how he accounts for the fact that his scoring of his measurement for
Montana allows a voter to return up to six ballots, provided they are from another
voter in an exempt category (e.g., family member, member of same household or
acquaintance),26 but Florida allows anyone to return up to two ballots in addition to
those of a family member.27 These nuanced differences among state laws
demonstrate the unreliability of Dr. Kidd’s simplistic analysis in Table 4.
Moreover, Dr. Kidd does not address the specific change in Florida law
implemented by SB 90: expanding the scope of the restriction on returning ballots
from prohibitions on returning a ballot for “pecuniary gain” to restrictions on
returning ballots, generally. Thus, Dr. Kidd provides no insight as to how Florida
compares to other states on a specific issue at stake in this litigation.

Dr. Kidd’s opaque classification and measurement scheme is inconsistent with
“standard methods used by political scientists and social scientists when
conducting a comparative analysis of laws and rules across time and states
regarding the administration of elections” (Kidd, p. 5). He does not permit me to
fairly evaluate and critique his methods. He does not permit me to reanalyze or
reproduce his work by including all states in a similar analysis, rather than
focusing only on those that impose some restriction.

Dr. Kidd also provides no analysis of the disparate burdens Florida’s third-party
mail ballot collection laws may impose upon certain communities. For example, he
provides no analyses of how SB 90 may affect how home-bound or disabled
people will participate in elections.

24
   For example, Dr. Kidd writes (p.21), “By comparison, SB 90’s ballot collection
provision allows anyone to return up to two completed absentee ballots in addition
to their own. The law also allows a person to collect and return any number of their
immediate family member’s ballots, and expands the definition of immediate
family member to include a grandchild.”
25
   See: Mont. Code Ann. §13-35-703; for the latter, see, for example,
Massachusetts M.C.L.A. 168.764a, which limits ballot return to family members or
persons residing in a household.
26
   See Mont. Code Ann. §13-35-703
27
   F.S. § 104.0616(2)
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     7. Third-Party Voter Registration Rules
Dr. Kidd’s analysis of third-party ballot collection rules encapsulated in his Table 5
(p. 26) does not address plaintiffs’ challenges to SB 90 as to where or when third-
parties must return voter registrations and any fines they may incur for delivering
registration forms elsewhere. Dr. Kidd’s Table 5 does include one aspect of
plaintiffs’ challenge: the disclaimer third-party organizations are legally required to
provide to people they interact with.

Dr. Kidd’s analysis includes several third-party registration rules that plaintiffs are
not challenging, such as if third-party volunteers must be officially recognized
(deputized) by the state, if they must be trained, reporting requirements, return
deadlines, and pay allowed. Dr. Kidd does not explain how these rules inform his
opinion of the third-party voter registration rules in SB 90 that plaintiffs are
challenging.

The one SB 90 rule that plaintiffs are challenging and that Dr. Kidd addresses in
(Table 5, p. 26) is “some notice/disclaimer rules.”
Dr. Kidd’s classification employs a deceptive usage of the word “some.” As Dr.
Kidd acknowledges in his report, the notifications prescribed by other states are in
many cases guidelines, not mandates. Virginia’s instructions to voter registration
groups cited by Kidd are “best practices” for individuals and groups conducting
voter registration drives,28 and not statutory mandates.29 Even these best practices
do not include anything like the mandatory disclaimer found in SB 90. For
Alabama the “guidelines” cited by Kidd describe the duties of voter registration
officials and not third-party organizations;30 and for Arkansas, Kidd cites to
“recommendations”, but does not identify any statutory requirements for notice or


28
   See: https://www.elections.virginia.gov/media/formswarehouse/veris-voter-
registration/voterregistrationdrives/2021-Guidelines-for-Voter-Registration-
Drives-[Final]-(1).pdf
29
   Virginia law does not require a disclaimer of any kind, and only requires third-
party registrants to provide a receipt to the registrant with the name of the
organization, the date it received the application, and the phone number of the
registration official to confirm the registration. See Va. Code Ann. 24.2-418.1(A).
30
   See: https://www.sos.alabama.gov/sites/default/files/voter-
pdfs/VoterDriveGuidelines.pdf

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disclaimer to voters by third-party organizations. Dr. Kidd completely
misrepresents Iowa’s law, which references mail ballot request forms, not voter
registration applications.31 In any case, Iowa law contains no requirement for
disclaimers.32 For California, Kidd also cites guidelines, glossing over the fact that
the only disclaimer required under California law is to inform voters that they may
be entitled to “confidential voter status.”33
Dr. Kidd in his report neglects an analysis of two states listed as having some
notice/disclaimer rules: Colorado and Georgia. For completeness, I include them
here.
Colorado has mandatory training for voter registration drive organizers, but only
requires a specific notice to voters for registrations collected 22 days or fewer prior
to an election. Colorado does not permit persons registering by a third-party
organization within 22 days of an election to vote in that election. Colorado’s
notice thus provides prospective registrants voters with guidance on how to avail
themselves of same-day and online registration options that will permit them to
vote.34
Georgia is the only state, other than Florida, that requires voter registration
organizations and individuals to provide specific information to persons they
interact with (beyond a receipt for the registration). A distinction between Georgia
and Florida is that Georgia does not require disclaimer language similar to the
language in SB 90 (warning prospective registrants that “the organization might
not deliver the application…in less than 14 days or before registration closes”).35
This language may reasonably cause a prospective registrant concern and thereby
deter them from interacting further with a voter registration effort. In contrast,
Georgia only requires organizations to inform registrants that they are not
registered to vote until they receive notice from their county election official, and




31
   See: https://sos.iowa.gov/elections/pdf/absenteeballotapprec.pdf
32
   See Iowa Code § 48A.22.
33
   See Cal. Elec. Code § 2157(4).
34
   CO Rev Stat § 1-2-701 & 1-2-702 (2016).
35
   FL. Statutes § 97.0575 (3)(a) (2021).

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that if they do not receive such notice in two weeks they should check with their
county officials.36
Thus, Florida and Georgia are differentiated from other states in that they are the
only two that require third-party voter registration notices/disclaimers to all
prospective registrants, and Florida is the only state that requires an organization or
individual to affirmatively assert to a prospective registrant that the organization or
individual may fail to deliver their registration on time.

     8. Absentee Ballot Application Verification
With respect to SB 90’s requirement to provide identification in applying for an
absentee ballot, Dr. Kidd again provides no authority for his classification and is
opaque about the classification and measurement scheme he uses in Table 6 of his
report. As a result, I am unable to fairly evaluate and critique his methods. He does
not permit me to reanalyze his work or reproduce his results by including all states
in a similar analysis, rather than focusing only on those that impose some
restriction.

Dr. Kidd brushes away any number of classification choices. For example, what
does it mean for a state to have “minimal” requirements? How do states check a
ballot request against a voter registration record? What degree of discretion do
local election officials have in curing deficiencies they identify when verifying
information on a voter registration record? What does Dr. Kidd mean when he
categorizes states as “[i]nformation and eligibility checked against voter
registration records” (Table 6, p. 31)?

Some of Dr. Kidd’s classifications are clearly incorrect. For example, he says that
Vermont voters must request a ballot each election, but the state adopted all-mail
ballot elections. 37




36
   Ga Comp. R. & Regs. r. 183-1-6-.02(6). Georgia also provides a template
written handout to assist organizations with compliance, whereas Florida is vague
as to the specific language and method in which organizations need to provide the
disclaimer/disclosure. See:
http://sos.ga.gov/admin/files/Required_Voter_Registration_Notices_Handout.pdf
37
   See: https://vtdigger.org/2021/06/07/scott-signs-bill-expanding-vote-by-mail-in-
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Even a cursory review demonstrates further flaws in Dr. Kidd’s grouping of states.
Dr. Kidd identifies Florida, along with 14 other states (Kansas, Maine, Maryland,
Minnesota, Nebraska, Nevada, New Mexico, North Carolina, Ohio, Oklahoma,
South Dakota, Virginia, Wisconsin and Wyoming) as states with “Information and
eligibility checked against voter registration records” (Table 6). Dr. Kidd offers no
insights as to what these criteria are, or how the criteria used by other states
compare to Florida. For example, Kansas, Maine, Nebraska, Nevada, Ohio,
Oklahoma, South Dakota, Virginia and Wisconsin all allow voters multiple
alternative ways to confirm their identity beyond the limited forms necessary under
SB 90.38 Maryland and New Mexico’s identification requirements apply only to
persons accessing online portals, not paper applications.39 Even Minnesota, which
requires that the identification information be verified, does not require that the
information provided by the voter match the information the voter used to register
to vote.40 It appears that Florida may be the only state requiring this “two-key”
authentication method.

Furthermore, Dr. Kidd provides no analysis of the disparate burdens Florida’s mail
ballot application verification laws may impose upon certain individuals, for
example, those without a state drivers’ license or state issued ID number, or those
whose voter records do not include such a number.

It is thus impossible for me, using Kidd’s classification and measurement scheme,
to determine to what degree, “[i]n terms of burden, Florida’s requirements are
largely average” (p. 32, emphasis added). Moreover, it is impossible to determine

38
   See https://www.vote.org/voter-id-laws/#kansas (Kansas); Me. Rev. Stat. Ann.
Tit. 21-A; §753-A (Maine); Neb. Rev. Stat. § 32-939(1), see also:
https://sos.nebraska.gov/elections/voter-forms (Nebraska, which includes absentee
ballots as a form of early voting); Nevada Rev. Stat. §293.2725(1)-2(b) (Nevada);
Ohio Rev. Code §3509.03(B)(5) (Ohio);
https://oklahoma.gov/content/dam/ok/en/elections/absentee-ballots/absentee-ballot-
application-012020.pdf (Oklahoma); S.D. Codified Laws §§ 12-18-6.1 & 12-18-
6.2 (South Dakota); Va. Code Ann. §24.2-701(C) (Virginia); Wis Stat. § 6.87, see
also https://greenbaywi.gov/DocumentCenter/View/1670/Absentee-Application-
PDF?bidId= (Wisconsin); Wyo. Stat. Ann. §22-9-104 (Wyoming).
39
   See Md. Code Ann. Elec. Law § 9-305 (Maryland – ID requirements apply to
absentee ballot on-line requests only); and N.M. Stat. §1-6-4(B-C), see also:
https://www.bernco.gov/clerk/wp-content/uploads/sites/46/2021/08/Absentee-
Voting-Application-2021.pdf (New Mexico).
40
   Minn. Stat. § 203B.04(a).
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how Dr. Kidd reaches that conclusion, since his report is bereft of any specific
analysis of burden. Dr. Kidd devises no number that allows me to compute the
average “burden” to voters across states, much less how Florida deviates from it
for all Florida voters or specific Florida communities.

   9. No Excuse absentee voting rules
Dr. Kidd again moves the goalposts in Florida’s favor when analyzing states’
absentee ballot request rules, by explicitly removing states “short of no-excuse
permanent absentee or all-mail voting” (p. 35) from his analysis.

Plaintiffs are challenging only SB 90’s change to the duration of a mail ballot
request, not who may request a mail ballot (which is unaffected by SB 90). Dr.
Kidd does not explain his justification as to why he considers who may request a
mail ballot to be relevant to his analysis. Moreover, Dr. Kidd also does not analyze
how the frequency of requesting an absentee ballot interacts with verification
procedures. A voter who must repeatedly request a mail ballot will be repeatedly
subjected to verification procedures, thus imposing further administrative obstacles
to voting.

Because Dr. Kidd evaluates simultaneously two different aspects of Florida’s
absentee voting laws, I cannot fairly evaluate the correctness of Dr. Kidd’s opinion
that Florida is “…the most lenient among the thirty-eight states that impose some
restrictions on who can request an absentee ballot and for how long” (p. 33,
emphasis added).

Here, as elsewhere in his report, if Dr. Kidd wishes to evaluate aspects of SB 90
that are not among plaintiffs’ allegations, it is incumbent upon him to explain
clearly the relevance of these facets.

   10.       Electioneering Provisions
In Section XI and Table 8 of his report, Dr. Kidd provides an anodyne description
of states’ laws regarding electioneering outside of polling locations. The sole basis
of his comparison is how far outside a polling location electioneering is prohibited.
Missing from his analysis is SB 90’s restriction on line-warming activities by
organizations and individuals to provide assistance to persons – such as disabled
and the elderly – standing in line by providing seating or water in a nonpartisan
manner, free of electioneering.


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SB 90 extended the pre-existing ban on activities near to polling places to also
prohibit "engaging in any activity with the intent to influence or effect of
influencing a voter."41 None of the examples of other states' regulation of voting
line activity cited by Dr. Kidd are as broad as Florida's. The examples he cites
from Arizona, Maine, Massachusetts, Michigan and Montana all prohibit
promoting or influencing a voter to vote for a particular candidate, party, or ballot
question,42 but are not nearly as onerous as the Florida restriction which also bars
even non-partisan line-warming activities intended to encourage voters ·to stay on
line to vote, such as providing water, food, chairs or umbrellas. Even the
Wisconsin law cited by Kidd is limited to activity "intended to influence voting",43
and does not reach to activity that has ''the effect of influencing a voter" even
without such intent.




I declare that the foregoing is true and correct. Executed this 13th day of October,
2021, in Alachua County, Florida.



                                Michael McDonald




41
   SB 90, Section 29; F.S. § 102.031(4)(b).
42
   See Ariz Rev. Stat. Ann. §16-515(A) (Arizona); Maine Rev. Stat. Ann. Tit.21-A
§682(2) (Maine); Mass. Gen. Laws ch. 54 §65 (Massachusetts); Mich. Comp.
Laws §168.744 (Michigan); and Mont. Code Ann. §13-35-211 (Montana).
43
   Wis. Stat. § 12.03.
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                      Dr. Michael P. McDonald
Professor, University of Florida
Department of Political Science
222 Anderson Hall
P.O. Box 117325
Gainesville, FL 32611

Office:        352-273-2371
Fax:           352-392-8127
Email:         michael.mcdonald@ufl.edu

Education
Post-Doctoral Fellow. Harvard University. August 1998 – August 1999.
Ph.D. Political Science. University of California, San Diego. February, 1999.
BS Economics. California Institute of Technology. June, 1989.

Awards
University of Florida Term Professorship. 2019-2020.

Brown Democracy Medal, McCourtney Institute for Democracy at Penn State University. 2018.
  Positive impact on democracy for the Public Mapping Project.

Tides Pizzigati Prize. 2013. Public interest software for DistrictBuilder.

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  Hill (book review).” Political Science Quarterly 121(3): 516-7.

Michael P. McDonald. 2006. "Rocking the House: Competition and Turnout in the 2006
  Midterm Election." The Forum 4(3).

Micah Altman and Michael P. McDonald. 2006. "How to Set a Random Clock (Remarks on
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Michael P. McDonald. 2004. "Up, Up, and Away! Turnout in the 2004 Presidential
  Election." The Forum 2(4).

Michael P. McDonald. 2004. "Drawing the Line on the 2004 Congressional
  Elections." Legislative Studies Section Newsletter (Fall): 14-18.

Michael P. McDonald. 2004. "2001: A Redistricting Odyssey." State Politics and Policy
  Quarterly 4(4): 369-370.

Micah Altman and Michael P. McDonald. 1999. "Resources for Testing and Enhancement of
  Statistical Software" in The Political Methodologist 9(1).

Michael P. McDonald. 1999. "Representational Theories of the Polarization of the House of
  Representatives" in Legislative Studies Section Newsletter, Extension of Remarks 22(2): 8-10.

Michael P. McDonald. 2003. "California Recall Voting: Nuggets of California Gold for Political
  Behavior." The Forum 1(4).

Reports

Michael P. McDonald. 2009. "Voter Preregistration Programs." Fairfax, VA: George Mason
  University.

Michael P. McDonald. 2009. Midwest Mapping Project. Fairfax, VA: George Mason University.

Michael P. McDonald and Matthew Thornburg. 2008. "The 2008 Virginia Election
  Administration Survey." Fairfax, VA: George Mason University.

Kimball Brace and Michael P. McDonald. 2005. "Report to the Election Assistance Commission
  on the Election Day Survey." Sept. 27, 2005.

Opinion Editorials

Michael P. McDonald. 2020. “Trump and polarization drove record turnout. So did mail voting,
  which should be universal.” USA Today. Online: Nov. 4, 2020. Print: Nov. 6, 2020, p. 7A.

Michael P. McDonald. 2020. “Record-setting early votes helped Democrats pinpoint others
  likely to support Biden.” Washington Post. Nov. 3, 2020.


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Michael P. McDonald. 2020. “Trump Will Drive Extraordinary Voter Turnout in 2020—If States
  Can Get It Together.” Newsweek. May 20, 2020.

Michael P. McDonald. 2019. “Let 16-year-olds vote for L.A. school board.” Los Angeles Times.
  May 8, 2019.

Michael P. McDonald. 2018. “I agree with Donald Trump, we should have voter ID. Here's how
  and why.” USA Today. Jan. 15, 2018.

Michael P. McDonald. 2017. “The Russians are hacking. Luckily the Trump voter fraud
  commission isn't in charge.” USA Today. Sept. 23, 2017.

Michael P. McDonald. 2016. “Better Hope the Election is Not Close.” USA Today. Nov. 2, 2016.

Michael P. McDonald. 2016. “Blame Government for Voting Crisis.” USA Today. March 24,
  2016.

Michael P. McDonald, Peter Licari and Lia Merivaki. 2015. "The Big Cost of Using Big Data in
  Elections." The Washington Post. Oct. 18, 2015.

Michael P. McDonald 2013. "Truths and Uncertainties that Surround the 2014 Midterms." The
  Hill. November 5, 2013.

Michael P. McDonald. 2011. “The Shape of Things to Come: New Software May Help the
  Public Have a Crucial Redrawing of Voting Districts.” Sojouners. April 2011: 11-12.

Micah Altman and Michael P. McDonald. 2011. "Computers: Redistricting Super Hero or Evil
  Mastermind?" Campaigns and Elections Magazine. January 2011.

Michael P. McDonald. 2010. "Who Voted in 2010, and Why It Matters for 2012." AOL News.
  Nov. 4, 2010.

Michael P. McDonald and Seth McKee. "The Revenge of the Moderates." The Politico. Oct. 10,
  2010.

Michael P. McDonald and Micah Altman. 2010. "Pulling Back the Curtain on Redistricting."
  The Washington Post. July 9, 2010.

Michael P. McDonald. 2008. "This May Be the Election of the Century." The Politico. Sept. 9,
  2008.

Michael P. McDonald. 2008. "Super Tuesday Turned into a Super Flop." Roll Call. Feb. 11,
  2008.

Michael P. McDonald. 2006. "5 Myths About Turning Out the Vote." The Washington
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Michael P. McDonald. 2006. "Supreme Court Lets the Politicians Run Wild." Roll Call. June
  29, 2006.

Michael P. McDonald. 2006. "Re-Redistricting Redux." The American Prospect. March 6, 2006.

Michael P. McDonald and Kimball Brace. "EAC Survey Sheds Light on Election
  Administration." Roll Call. Oct. 27, 2005.

Michael P. McDonald. 2004. “The Numbers Prove that 2004 May Signal More Voter
  Interest.” Milwaukee Journal Sentinel. Milwaukee, WI.

Michael P. McDonald. 2004. "Democracy in America?" La Vanguardia. Barcelona, Spain.

Michael P. McDonald. 2003. "Enhancing Democracy in Virginia." Connection Newspapers.
  March 24.

Michael P. McDonald. 2001. "Piecing Together the Illinois Redistricting Puzzle." Illinois
  Issues. March, 2001.

Samuel Popkin and Michael P. McDonald. 2000. "Turnout's Not as Bad as You Think." The
  Washington Post. Nov. 5: B-1.

Samuel Popkin and Michael P. McDonald. 1998. "Who Votes? A Comparison of NES, CPS, and
  VNS Polls." Democratic Leadership Council Bluebook. Sept., 1998.

Software Packages

Micah Altman, Michael P. McDonald, and Azavea. 2012. “DistrictBuilder.” Open source
  software to enable public participation in redistricting. Source code available at Github.
  Project website, http://www.districtbuilder.org.

Micah Altman and Michael P. McDonald. 2007. "BARD: Better Automated Redistricting." R
  package available through CRAN. Source code available at Sourceforge.

Micah Altman, Jeff Gill, and Michael P. McDonald. 2004. "Accuracy: Tools for testing and
  improving accuracy of statistical results." R package available through CRAN.

Grants and Contracts
Rejected Mail Ballots. ($4,720). Andrew Goodman Foundation. Analysis of rejected mail ballots
  within selected states during the 2020 general election.

Election Data Administrative Data Research Facility. ($843,000) Alfred P. Sloan Foundation
   grant to collect precinct election results and boundary data and to upgrade DistrictBuilder
   software.



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Virginia Election Data. ($6,500) Produced election data for The Washington Post’s 2019
   Virginia state elections coverage.

Audit of Assignment of Virginia Registered Voters to Districts. ($154,000). Work for the
  Virginia Department of Elections to audit the assignment of registered voters to districts.

National Voter File. ($125,000) Alfred P. Sloan Foundation grant to pilot the collection of a
  national voter file for academic and non-partisan purposes.

Pilot Study for Election Data Administrative Data Research Facility. ($125,000) Alfred P. Sloan
   Foundation grant to collect precinct election results and boundary data and to upgrade
   DistrictBuilder software.

Improving Integrity of Voter File Addresses. ($20,000) Colorado Secretary of State support to
  develop methods to improve voter file addresses.

Fabricating Precinct Boundaries. ($17,000). MIT Election Science and Data Lab support to
  explore fabricating precinct boundaries from geocoded voter files.

UF Informatics Post-Doc Top-Off Award. 2017. ($16,000). Funding from the UF Informatics
  Institute to provide additional post-doc funding in support of Hewlett Foundation grant.

U.S. Election Project. 2016. ($50,000). Hewlett Foundation support for U.S. Election Project
  Activities.

UF Informatics Institute Seed Fund Award. 2016. ($48,000). Project funded by the UF
  Informatics Institute to explore the reliability of Florida’s voter registration file.

Election Forum. 2016. ($20,000). Project funded by the Pew Charitable Trusts for an election
   forum held at the University of Florida.

Survey of Voter File Accessibility. 2016. ($1,650). Contract from the Institute for Money in
  State Politics to survey costs and accessibility of states’ voter files.

Florida Election Reform. 2015. ($13,000). Project funded by Democracy Fund for an election
   reform forum held in Tallahassee, FL. Pew Charitable Trusts independently provided travel
   support for some speakers.

New York Redistricting. 2011. ($379,000). Project funded by the Sloan Foundation to provide
  for public redistricting in New York and continued software development.

Citizen Redistricting Education, Software Supplemental. 2011. ($50,000). Project funded by
   Joyce Foundation to provide continued redistricting software development for use by
   advocacy groups in six Midwestern states.




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National Redistricting Reform Coordination. 2009-10. ($100,000). With Thomas Mann and
  Norman Ornstein. Project funded by Joyce Foundation to support coordination of national
  redistricting reform efforts by the Brookings Institution and the American Enterprise Institute.

Citizen Mapping Project. 2009-10. ($124,000 & $98,000). With Micah Altman, Thomas Mann,
   and Norman Ornstein. Project funded by the Alfred P. Sloan Foundation. An award to George
   Mason University enables development of software that, essentially, permits on-line
   redistricting through commonly used internet mapping programs. A second award to the
   Brookings Institution and American Enterprise Institute provides organizational support,
   including the convening of an advisory board.

Citizen Redistricting Education. 2010. ($104,000). Project funded by the Joyce Foundation.
   Provides for redistricting education forums in five Midwestern state capitals in 2010 and other
   continuing education efforts.

Pre-Registration Programs. 2008-9. ($86,000). Project funded by the Pew Charitable Trusts'
   Make Voting Work Initiative to examine pre-registration programs (voter registration for
   persons under age 18) in Florida and Hawaii.

Sound Redistricting Reform. 2006-9. ($405,000). Project funded by the Joyce Foundation,
  conducted jointly with the Brennan Center for Justice at NYU to investigate impacts of
  redistricting reform in Midwestern states.

Electoral Competition Project. 2005-6. ($200,000) Project funded by The Armstrong
   Foundation, the Carnegie Corporation of New York, the JEHT Foundation, The Joyce
   Foundation, The Kerr Foundation, Inc., and anonymous donors. Jointly conducted by the
   Brookings Institution and Cato Institute to investigate the state of electoral competition in the
   United States.

George Mason University Provost Summer Research Grant. 2004. ($5,000).

ICPSR Data Document Initiative. 1999. Awarded beta test grant. Member, advisory committee
  on creation of electronic codebook standards.

Academic Experience
Courses Taught: Election Data Science (graduate and undergraduate), Election Law, Public
  Opinion and Voting Behavior, Parties and Campaigns (graduate and undergraduate),
  Comparative Electoral Institutions, Introduction to American Politics, American Politics
  Graduate Field Seminar, Congress, Legislative Politics, Research Methods (undergraduate),
  Advanced Research Methods (graduate), Freshman Seminar: Topics in Race and Gender
  Policies, and Legislative Staff Internship Program.

University of Florida


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      Professor. June 2020 – Present.
      Associate Professor. August 2014 – June 2020.

George Mason University

      Associate Professor. May 2007 – May, 2014.
      Assistant Professor. Aug 2002 – May, 2007.

The Brookings Institution

      Non-Resident Senior Fellow. January 2006 – June 2016.
      Visiting Fellow. June 2004 – December 2006.

University of Illinois, Springfield. Assistant Professor. Aug 2000 – June 2002.
  Joint appointment in Political Studies Department and Legislative Studies Center.

Vanderbilt University. Assistant Professor. Aug 1999 – Aug 2000.

Harvard-MIT Data Center. Post-Doctoral Research Fellow. Sept. 1998 – Aug 1999.
  Developed Virtual Data Center, a web-based data sharing system for academics. Maintained
  Record of American Democracy (U.S. precinct-level election data).

University of California-San Diego

      Assistant to the Director for University of California, Washington DC program. Sept
       1997 – June 1998.
      Instructor for research methods seminar for UCSD Washington interns.
      Visiting Assistant Professor. Spring Quarter 1997.
      Visiting Assistant Professor. Summer Session, Aug 1996 and Aug 1997.
      Teaching Assistant/Grader. Aug 1991 – March 1997.

Professional Service
National Academy of Sciences, Member, Program Committee for “Workshop on 2020 Census
Data Products: Data Needs and Privacy Considerations.” 2019-present.
Non-Profit Voter Engagement Network, Member, Advisory Board. 2007 – present.
National States Geographic Information Council - Geo-Enabled Elections, Member, Circle of
Advisors. 2018 – present.
Election Sciences Conference-in-a-conference at the 207 Southern Political Science Association
Conference. Organizer. 2016.
Overseas Vote Foundation, Member, Advisory Board. 2005 – 2013.
National Capital Area Political Science Association, Member, Council, 2010 – 2012.
State Politics and Policy Quarterly, Editorial Board Member 2004-2011.
Virginia Public Access Project, Member, Board of Directors. 2004 – 2006.
Fairfax County School Board Adult and Community Education Advisory Committee,

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Member. 2004 – 2005.
State Politics and Policy Quarterly, Guest Editor. Dec 2004 issue.

Related Professional Experience
Media Consultant

      Edison Media Research/Mitofsky International. Nov. 2020; Nov. 2018; Nov. 2004; Nov.
       2006; Feb. 2008; Nov. 2008. Worked national exit polling organization's Decision Desk.
      Associated Press. Nov. 2016 and Nov. 2010. Worked Decision Desk.
      ABC News. Nov. 2002. Worked Decision Desk.
      NBC News. Aug 1996. Analyzed polls during the Republican National Convention.

Redistricting/Elections Consultant.

      Expert Witness. 2018-2021. Georgia Coalition for the Peoples’ Agenda, Inc. et. al v.
       Kemp. No. 1:18-cv-04727-ELR (N.D. Ga.).
      Expert Witness. League of Women Voters of South Carolina v. Marci Andino. Case No.
       2:20-cv-03537-JMC (South Carolina).
      Expert Witness. 2020. Georgia Association of Latino Elected Officials v. Gwinnett
       County Board of Registration and Elections. No. 1:20-cv-1587-WMR (N.D. Ga.).
      Expert Witness. 2019. Fair Fight Action, Inc. et al. v. Brad Raffensperger No. 1:18-CV-
       5391-SCJ (N.D. Ga.).
      Consultant. 2019. Virginia Division of Elections. Audited the assignment of registered
       voters to districts.
      Expert Witness. 2018. Martin v. Kemp. Civil Action No. 1:18-cv-04776-LMM.
      Expert Witness. 2018. Georgia Coalition for the Peoples’ Agenda, Inc. v. Kemp. Civil
       Action No. 1:18-cv-04727-ELR.
      Expert Witness. 2018. Common Cause Indiana v. Lawson. Case No. 1:17-cv-3936-TWP-
       MPB (Indiana).
      Expert Witness. 2017-18. Benisek v. Lamone. Case No. 13-cv-3233 (Maryland).
      Expert Witness. 2016-2017. Vesilind v. Virginia State Board of Elections. Case No.
       CL15003886 (Virginia).
      Expert Witness. 2016-2017. Fish v. Kobach. Case No. 2:16-cv-02105 (Kansas).
      Expert Witness. 2016. Arizona Libertarian Party v. Reagan. Case No.: 2:16-cv-01019-
       DGC (Arizona).
      Expert Witness. 2016. Georgia State Conf. of the NAACP, et al. v. Brian Kemp. Case No.
       2:16-cv-00219-WCO (Georgia).
      Consultant. Federal Voting Assistance Program. 2014-2015. Analyzed voting experience
       of military and overseas voters.
      Expert Witness. 2013-2014. Page v. Virginia State Board of Elections. No. 3:13-cv-678
       (E.D.VA).
      Expert Witness. 2013-2014. Delgado v. Galvin. (D. MA).
      Beaumont Independent School District. 2013. Prepared response to DOJ data request.

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      Federal Voting Assistance Program. 2012-13. Analyzed voting experience of military and
       overseas voters.
      Gerson Lehrman Group. 2012. Provided election analysis to corporate clients.
      Expert Witness. 2011-2012. Backus v. South Carolina. No. 3:11-cv-03120 (D.S.C.).
      Expert Witness. 2012. Wilson v. Kasich. No. 2012-0019 (Ohio Sup. Ct.).
      Consulting Expert. 2011-2012. Bondurant, Mixson, and Elmore, LLP. (Review of
       Georgia's state legislative and congressional redistricting Section 5 submission).
      Consultant. 2012. New Jersey Congressional Redistricting Commission.
      Expert Witness. 2011. Perez v. Texas. No. 5:11-cv-00360 (W.D. Tex.).
      Expert Witness. 2011. Wilson v. Fallin. No. O-109652 (Okla. Sup. Ct.).
      Consultant. 2011. United States Federal Voting Assistance Program.
      Consultant. 2011. Virginia Governor’s Independent Bipartisan Advisory Redistricting
       Commission.
      Consultant. 2011. New Jersey State Legislative Redistricting Commission.
      Expert Witness. 2010. Healey v. State, et al. C.A. No. 10-316--S (USDC-RI).
      Research Triangle Institute. 2008-2009. Consultant for Election Assistance Commission,
       2008 Election Day Survey.
      U.S. State Department. 2008. Briefed visiting foreign nationals on U.S. elections.
      Expert Witness. 2008. League of Women Voters of Florida v. Browning (08-21243-CV-
       ALTONAGA/BROWN)
      Pew Center for the States. 2007. Consultant for Trends to Watch project.
      Expert Witness. 2007. Washington Association of Churches v. Reed (CV06-0726).
      Electoral Assistance Commission. 2005. Analyzed election administration surveys.
      Arizona Independent Redistricting Commission. 2001-2003. Consultant.
      Expert Witness. 2003. Minority Coalition for Fair Redistricting, et al. v. Arizona
       Independent Redistricting Commission CV2002-004380 (2003).
      Expert Witness. 2003. Rodriguez v. Pataki 308 F. Supp. 2d 346 (S.D.N.Y 2004).
      Consulting Expert. 2002. O'Lear v. Miller No. 222 F. Supp. 2d 850 (E.D. Mich.).
      Expert Witness. 2001-2002. In Re 2001 Redistricting Cases (Case No. S-10504).
      Expert Witness. 2001. United States v. Upper San Gabriel Valley Municipal Water
       District (C.D. Cal. 2000).
      California State Assembly. 1991. Consultant.
      Pactech Data and Research. Research Associate. Aug 1989 - June 1991.

Campaign/Political Consultant.

      Ron Christian for Virginia State Senate. June – November, 2003.
      Theresa Martinez for Virginia House of Delegates. May, 2003.
      Senior Consultant. California State Assembly. Nov. – Dec 1998.
      California Assembly Democrats. June – November 1998.
      Susan Davis & Howard Wayne for CA State Assembly ‘96. 1996.
      Intern. June – Sept 1995. UC-San Diego, Science and Technology Policy and Projects.

Polling Consultant.

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    Hickman-Brown. July, 2000. Analyzed national and state level exit and CPS polls for
     use in various campaigns. Analyzed surveys for congressional, state, and local political
     campaigns.
    Decision Research. Aug 1994 – Dec 1994. Conducted and analyzes surveys for
     congressional and statewide campaigns.
    Speaker Jose de Venecia of the Philippines. Feb, 1997.
    Joong-Ang Ilbo/RAND. Oct, 1996. Analyzed survey of Korean attitudes on national
     security issues.
    UCSD. Nov. 1991. Conducted and analyzed survey of student attitudes.




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                        DECLARATION OF QUENTIN KIDD, PH.D.



I. INTRODUCTION



       Pursuant to 28 U.S.C. § 1746, I, Dr. Quentin Kidd, declare under penalty of perjury that

the following declaration is true and correct:



1.     My name is Quentin Kidd, and I am a tenured professor of political science and dean of

the college of social sciences at Christopher Newport University in Newport News, Virginia. I

also serve as the Academic Director of the Wason Center for Public Policy. I have been a faculty

member at Christopher Newport for 24 years. I have a Ph.D. in Political Science from Texas

Tech University and a MA and BA from the University of Arkansas.



2.     I am an expert in American politics, specifically in the areas of political behavior, voting

behavior, electoral politics, racial politics, Southern politics, and Virginia politics, having

published academic research in all subject areas. I have authored, co-authored or edited five books

and over 30 peer reviewed studies and book chapters, and funded research reports, including

several on political participation across the south in the context of changes in voting laws and

election administration. My scholarship, detailed in a copy of my cv which is attached hereto, has

been published by the top university presses and top disciplinary peer-reviewed journals and has

been widely cited by scholars across multiple disciplines. I have also conducted nearly 100 survey

research projects focusing on public policy and public opinion in Virginia, Georgia, Florida, Texas,



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and nationally. I teach courses in American politics, political behavior, political campaigns and

elections, and research methods and quantitative analysis.



3.     I have written many op-eds in newspapers and magazines ranging from the New York

Times and Washington Post to the Los Angeles Times. I have provided expert analysis and opinion

regarding local, state, and national politics, elections, and public policy to newspapers, magazines,

websites, radio, and television programs and outlets in the United States, the United Kingdom,

Canada, Ireland, France, Germany, Holland, Italy, Columbia, Turkey, and Qatar, Saudi Arabia.



4.     I serve or have served on numerous public boards and commissions including the (Virginia)

Governor’s Commission on National and Community Service, the Hampton Roads Center for

Civic Engagement, the (Virginia) Independent Bipartisan Advisory Commission on Redistricting,

the 2019 Commemorative Steering Committee (Virginia), and the Governance/Funding Working

Group of Hampton Roads Transit.



5.     In the last four years, I have provided prior expert testimony in Holloway v. City of

Virginia Beach, No. 2:18-cv-00069, Jabbour v. Merrill, No. 1:20-cv-00034-JB-N, People First

of Alabama v. Merrill, No 2:20-cv-00619-AKK, Clark v. Edward, No 20-cv-308-SDD-RLB and

Power Coalition v. Edward, No. 20-cv-283-SDD-RLB, Harding v. Edwards, No 3:20-cv-00495-

SDD-RLB, and Thompson v. Merrill, No 2:15-cv-783-ECM-SMD. The State of Florida has

engaged me to provide expert analysis on several issues related to League of Women Voters of

Florida, Inc. et al. v. Lee et al., case number 4:21-CV-186 and consolidated cases 4:21-CV-242,

4:21-CV-187 and 4:21-CV-201. I am receiving $350 per hour for work assisting the State of




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Florida in these matters. My compensation is not contingent on either the results of my analysis

nor the contents of this report.




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II. SYNOPSIS



6.   I have been asked by counsel for the State of Florida to conduct analysis and form expert

opinions on several issues related to Senate Bill 90 (SB90 from here forward). Specifically, I

have examined the following questions:

       A.      How have Florida’s early voting and vote-by-mail (specifically the excuse and

notary/witness requirement) rules changed since the 1980s and what would be the impact of

these changes on the ease of voting.

       B. How does Florida’s use of drop boxes compare to use of drop boxes by states across

the country, and are the rules governing the use of drop boxes in Florida as spelled out in SB90

Section 29 comparable to the rules of other states that use drop boxes.

       C. How do Florida’s rules related to ballot collection spelled out in SB90 Section 32

compare to other states related to who is able to assist a voter by collecting and returning their

ballot and how many voters a third party can assist.

       D. How do Florida’s rules related to third party voter registration spelled out in SB90

Section 7 compare to other states related to compensation, deadlines for returning forms,

oversight of organizations conducting registration drives, training, and official volunteer

systems.

       E. How do Florida’s rules related to absentee ballot application verification spelled out in

SB90 Section 24 compare to other states related to voter identification verification requirements.

       F. How do Florida’s rules related to the frequency with which a voter must register for an

absentee ballot spelled out SB90 Section 24 compare to other states’ rules.




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       G. How do Florida’s rules related to ‘electioneering’ activities around the physical

location of polling places while voters are casting ballots spelled out in SB90 Section 29

compare to other states’ rules.



7.     In this report I employ standard methods used by political scientists and social scientists

when conducting a comparative analysis of laws and rules across time and states regarding the

administration of elections. I state clearly the issues being examined in each section. I rely on

primary sources where possible (mostly the laws of the particular states) and where needed on

secondary sources to analyze the questions. My focus in this report is analyzing changes in

Florida’s rules as it relates to early voting and vote by mail, and comparing the rules of the fifty

states and the District of Columbia as it relates to the several questions outlined above. My goal

is to consider changes in Florida’s rules and place these changes into a national context.




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III. SUMMARY OF FINDINGS

8.     This analysis shows that when it comes to early voting and vote by mail rules the net

impact of changes in law over time has been to make voting easier and more accessible. In the

context of the six areas of comparative analysis, Florida is at worst consistent with the average

restriction or regulation across the country or at best a leader in terms of providing access to

voting opportunities.



9.     When it comes to changes in early voting and vote by mail rules in Florida since the

1980s, the net impact of the changes has been to make voting easier. Florida law has changed

over time from restrictions related to needing an excuse to vote early and needing a notary or

witness to no excuse and no witness requirements. Early voting has gone from non-existent to up

to two-weeks since it was first instituted in 1998.



10.    When it comes to the new rules in SB90 governing the placement and supervision of

secure drop boxes for the return of vote-by-mail ballots, Florida is among only ten states that

require drop boxes to be available to voters. If you exclude three of the ten states that conduct

all of their elections early and by mail (Colorado, Oregon, and Washington), Florida is among

only seven states that, while they have no-excuse early voting, still orient their elections in a

traditional election-day voting fashion and require the wide-spread availability of drop boxes. If

you further exclude Nebraska, which limits the availability of drop boxes to rural counties with

populations of 10,000 or less, Florida stands as only one of six states to require the wide-spread

availability of drop boxes that doesn’t already conduct elections exclusively by mail over a

period of multiple weeks. In short, when you consider that a majority of twenty-seven states and



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the District of Columbia explicitly prohibit the use of drop boxes, Florida stands among a small

group of states that requires them to be widely available.



11.    When it comes third-party ballot collection rules in SB90, Florida stands among the

vast majority of states that impose some regulations and restrictions on the number of ballots that

an individual can collect and return (ten states have minimal or no restrictions). Among the forty-

one states and the District of Columbia that impose some regulations, Florida is less restrictive

than over half, by imposing a limit on unrelated individuals to collect and return up to two ballots

and allowing immediate family to collect and return an unlimited number of ballots (while also

expanding the definition of immediate family to include a grandchild).



12.    When it comes to third-party voter registration rules in SB90, Florida’s rules are

generally consistent with the vast majority of states that impose requirements on third party voter

registration organizations. Florida’s deadlines, penalties, and other requirements related to pay

are the norm. Florida’s fourteen-day deadline for returning completed registration forms is

longer than the average (which is ten-days), and Florida’s notice and disclaimer requirements are

not unique among states that require them and certainly not as proscriptive as several of them.



13.    When it comes to absentee ballot application verification rules in SB90, Florida’s

requirements are largely average. The burden to qualify to vote absentee (as is the case in sixteen

states) is certainly greater than Florida’s no excuse requirement. The burden of having to provide

a witness signature (as is the case in two states) is certainly greater than Florida’s requirement

that does not include a witness signature. The burden of requiring a copy of a photo




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identification (as is the case in four states) is certainly greater than Florida’s requirement that

does not include submitting a copy of a photo identification. In fact, Florida stands in a group of

states that simply require that information and eligibility be checked against voter registration

records. Only four states (other than the states that conduct all or mostly all-mail elections) have

verification checks that are less strenuous.



14.    When it comes to the frequency of requesting an absentee ballot rules in SB90, the

two-year no-excuse absentee voting rule makes Florida the most lenient state among the thirty-

eight states that regulate absentee voting in some way short of no-excuse permanent absentee or

all-mail voting.



15.    When it comes to the electioneering (voter solicitation) rules in SB90, Florida’s

regulations and restrictions mirror the vast majority of state rules across the country in

prohibiting electioneering with the purpose of influencing voters within a certain space or zone

around the polling location.



16.    In sum, in none of the six areas of SB90 examined in this report comparing Florida with

the other states of the Union is Florida outside of the norm at worst, and in several of the areas

examined here Florida’s rules and regulations place the state among the more accessible from a

comparative perspective when it comes to voting and access to voting resources. And in the

context of early voting and vote by mail, changes in Florida law over the last several decades

have made voting fundamentally easier.




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IV. CHANGES IN FLORIDA’S ABSENTEE VOTING RULES HAVE MADE
VOTING USING THIS METHOD EASIER IN THE LAST SEVERAL
DECADES

17.        The rules around absentee voting (or vote by mail) in Florida have changed substantially

since the mid-1990s. The rules have evolved, as Table 1 shows, from a very restrictive process to

a much less restrictive process. Prior to 1996 a voter casting an absentee ballot had to qualify

under a specific list of excuses and have the envelope containing their ballot notarized or

witnessed by two people. Today no qualification excuse is required to cast an absentee ballot,

and a voter simply certifies they are registered to vote in Florida and will not vote more than

once.



18.        In order to vote an absentee ballot in Florida prior to 1996, a voter had to qualify with

one of the following excuses: 1) be unable to vote without assistance; 2) not physically be home

in the precinct during the hours of voting; 3) be an election official working at a precinct other

than their own; 4) have a religious reason for being unable to attend the polling location on the

day of the election; 5) have changed residence to another location in Florida but not in time to

change the location of their registration; or 6) have changed residence to another state but not in

time to change the location of their registration. In addition to qualifying with one of the six

excuses, voters had to sign the security envelope in the presence of a notary or two witnesses

eighteen years or older.1




1
    Florida Statutes Title IX Section 101.64(1), 1995.


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19.        The 1996 statute dropped the qualification requirements, asking voters to swear or affirm

that they were qualified electors and were unable to attend the polls on election day (no specific

reason was required to be listed) and would not vote more than once. The witness requirement

was reduced to one witness eighteen years or older who provided their signature and address.2



Table 1: Changes to Florida’s Absentee Voting Rules Since 1995

                                          Voter certified they are unable to attend the polls on election
                                          day under 1 of 6 excuses. Envelope requires voter signature
    Rule in 1995 and prior
                                          and witness by a notary or two witnesses eighteen years or
                                          older.


                                          Voter certified they are unable to attend the polls on election
    Rule changed in 1996                  day (for any reason). Envelope requires voter signature and one
                                          witness eighteen years or older.


                                          Voter certified they are unable to attend the polls on election
                                          day under 1 of 7 excuses. Envelope requires voter signature,
    Rule changed in 1998                  last four of voter’s SSN, and witness by a notary or another
                                          registered voter (limit five witnesses by any single registered
                                          voter).


                                          Voter certified they are qualified and registered to vote in
    Rule changed in 2001                  Florida and will vote only once. Envelope requires voter
                                          signature and one witness eighteen years or older.


                                          Voter certified they are qualified and registered to vote in
    Rule changed in 2004                  Florida and will vote only once. Envelope requires voters
                                          signature only.




2
    Florida Statutes Title IX Section 101.64(1), 1996.


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Following a high-profile voter fraud case in Miami, much of it involving absentee ballots, the

legislature attempted to tighten the rules around absentee voting.3 Statutes from 1998 to 2000

required voters to qualify with one of seven excuses, the six prior excuses and a seventh that

allowed anyone unable to attend the polls on election day for any reason to vote absentee

(essentially, combining the pre-1996 qualification rules and the 1996 any-reason rule). In

addition to qualifying with one of the seven excuses, voters had to sign the security envelope in

the presence of a notary or one witness who was a registered voter in Florida. No one registered

voter could witness more than five ballots for the same election.4



20.      The tightened rules around absentee voting from 1998 to 2000 were struck down by the

U.S. Justice Department, and so the Florida Legislature revised them in 2001. The 2001 statute

dropped any requirement to qualify to vote absentee (no excuse required), and only required

voters to certify that they were a qualified and registered voter in Florida and that they would not

vote more than one ballot in that election, signed in the presence of one witness who was

eighteen years or older who provided their signature and address.5



21.      In 2004 Florida dropped the witness requirement and required voters to certify (by

signing and dating the outer envelope) that they were a qualified and registered voter in Florida

and that they would not vote more than one ballot in a given election.6




3
  Scott Hiaasen, “Absentee ballots: easy to cast, open to fraud,” Miami Herald, Oct. 12, 2002, P. A1.
4
  Florida Statutes Title IX Section 101.64(1), 1998-2000.
5
  Florida Statutes Title IX Section 101.64(1), 2001.
6
  Florida Statutes Title IX Section 101.64(1), 2004.


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22.        In 2019 the statute changed in a minor way in that the voter’s certificate asked for an

email address, home telephone number, and mobile telephone number in addition to the

signature requirement and date.7



23.        The net effect of the changes to the rules around absentee voting (or vote by mail) in

Florida since the mid-1990s has been an easing of the burden in two important ways. First, the

rules have evolved from a relatively restrictive process whereby a voter had to qualify under a

specific and bounded list of excuses. Second, the rules have evolved away from having the outer

envelope which contained the voter’s ballot notarized or witness by two people to one whereby a

voter certifies they are registered to vote in Florida and will not vote more than once. The current

policy under SB90 retains the ease and accessibility of absentee voting.




7
    Florida Statutes Title IX Section 101.64(1), 2019.


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V. CHANGES IN FLORIDA’S EARLY VOTING RULES HAVE MADE
VOTING USING THIS METHOD EASIER IN THE LAST SEVERAL
DECADES


24.     The option to vote early in-person did not exist in Florida in a codified way prior to

1998.8 The rules around early voting have evolved, as Table 2 shows, from a relatively

supervised process for voters who were unable to vote on election day to one oriented around

convenience for voters while giving elections administrators the flexibility to expand the number

of days as needed.



25.     What we now call early voting in Florida was first statutorily created in 1998, and called

‘Voting absentee ballots in person’ rather than early voting.9 The statute read in part: “…any

qualified and registered elector who is unable to attend the polls on election day may pick up and

vote an absentee ballot in person at the office of, and under the supervision of, the supervisor of

elections.”10 The 1998 statute essentially codified what had been an informal practice on the part

of some county elections supervisors.



26.     In 2004 the legislature standardized the rules around what was now called ‘early voting’,

by requiring elections supervisors to allow voters to vote early in the main or branch office of the

supervisor. The law also allowed supervisors to designate other sites such as city hall or a public

library as early voting sites so long as they were geographically located such that all voters had



8
  Leon County Supervisor of Elections Ion Sancho reportedly first brought early voting to any locality in Florida
informally in 1994. See Jennifer Portman, “Elections Bill Heads to Gov. Scott for Signature,” Tallahassee Democrat,
May 4, 2013, P. A1.
9
  Florida Statutes Title IX Section 101.657, 1998.
10
   Id.


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equal opportunity to use them. An early voting period was also stipulated, from the 15th day

before an election and ending on the day before an election. The law required early voting sites

be open eight hours per weekday and an aggregate of eight hours per weekend.11


Table 2: Changes to Florida’s Early Voting Rules Since 1995

                                          At discretion of supervisor of election of locality, voter who is
                                          unable to attend polls on election day allowed to pick up and
 Rule created in 1998                     vote an absentee ballot under supervision. Proof of
                                          identification required. No dates or window of voting
                                          specified, and no hours of voting specified.

                                          Process of early voting standardized and mandated. Allows
                                          voters to vote early at designated full-service facility of
                                          supervisor of elections in locality. Mandated 15-day early
 Rule changed in 2004
                                          voting window (from 15th day before election to day before
                                          election). Mandated early voting be provided for 8-hours per
                                          week day and an aggregate of 8-hours on each weekend.

                                          Mandated 14-day early voting window (window goes from 15th
                                          day before election to 2nd day before election). Added
 Rule changed in 2005
                                          requirement that early voting sites be open no sooner than 7
                                          a.m. and close no later than 7 p.m.

                                          Mandated 8-day early voting window (window goes from 10th
                                          day before election to 3rd day before election), and expanded
 Rule changed in 2011
                                          the hours of early voting to no less than 6 and no more than 12
                                          each day at every voting site.

                                          Mandated 8-day early voting window (window goes from 10th
                                          day before election to 3rd day before election), but supervisor
 Rule changed in 2013
                                          of elections has discretion to offer it on the 15th, 14th, 13th, 12th,
                                          11th, or 2nd day before election.



27.        The next year in 2005 the legislature revised the early voting law in mostly minor yet

important ways designed to ensure equity in access. The law required early voting locations to be


11
     Florida Statutes Title IX Section 101.657, 2004.


                                                                                                               14
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declared no later than 30 days prior to an election, required that all early voting locations be

opened the same days and same hours, and stipulated an early voting period from the 15th day

before an election to the 2nd day before an election (fourteen days of early voting). The law

required early voting sites be open no earlier than 7 a.m. and close no later than 7 p.m. The law

also gave guidance for elections other than general elections (such as municipal elections and

special district elections). Finally, the law stipulated that elections supervisors had to make

available the number of early votes cast on a daily basis. Incidentally, the first sentence of the

statute changed as well, beginning with “As a convenience to the voter…”.12



28.        In 2011 the number of early voting days was changed to eight days, beginning on the 10th

day before an election that contained state or federal offices and ending on the 3rd day before the

election. The number of early voting hours required was changed to between six and twelve each

day (including weekends) at each early voting site. This change in the early voting hours

requirement amounted to an increase in the available time for early voting on weekends.13



29.        In 2013, the most recent year in which the rules have changed, the mandated eight day

early voting window from the 10th day to the 3rd day before the election was retained, but

additional early voting days were allowed at the discretion of elections supervisors. The statute

reads, in part:

           “Early voting shall begin on the 10th day before an election that contains state or federal
           races and end on the 3rd day before the election, and shall be provided for no less than 8
           hours and no more than 12 hours per day at each site during the applicable period. In
           addition, early voting may be offered at the discretion of the supervisor of elections on



12
     Florida Statutes Title IX Section 101.657, 2005.
13
     Florida Statutes Title IX Section 101.657, 2011.


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           the 15th, 14th, 13th, 12th, 11th, or 2nd day before an election that contains state or
           federal races for at least 8 hours per day, but not more than 12 hours per day.”14


30.        The net effect of the changes to the rules around early voting in Florida since the early

1980s has been an increased convenience and thus an easing of the burden because the process

has been codified and regulated such that it is predictable and standardized across the state. Prior

to 1998, some elections administrators allowed early voting and many did not. In 2004 early

voting was mandated, and as of 2013 the rules include a mandatory eight days with an additional

six days at the discretion of elections supervisors.




14
     Florida Statutes Title IX Section 101.657, 2013.


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VI. SB90 MANDATES THE USE OF DROP BOXES, MAKING FLORIDA
AMONG A SMALL MINORITY OF STATES TO REQUIRE THEM

31.        The rules around the use of drop boxes vary from state-to-state, but generally orient

around three questions: does a state allow them, does a state mandate them, and does a state

prohibit them. The standardized and mandatory process of early voting by Florida is the result of

legislation that took effect in 2004.15 That legislation did not, however, include provisions for the

use of drop boxes. In 2019 Florida enacted limited use of drop boxes, which were first used in

the 2020 election cycle. The law required secure drop boxes to be placed at the main offices of

the supervisor and at each early voting location. The law also allowed for secure drop boxes to

be placed at other locations that served as early voting sites so long as the sites were staffed

during the early voting hours by an employee or law enforcement officer.16



32.        The 2019 law establishing the use of drop boxes did not define the term ‘secure’, but in

describing where drop boxes were required to be located (main office of the supervisor, each

branch office of the supervisor, and at early voting sites) and where they could optionally be

placed (any other site that would otherwise qualify as an early voting site under S.101.657(1) so

long as this other location was staffed), it is clear that the legislature considered the presence of

staff or security personnel to be an integral element of security.



33.        Senate Bill 90’s drop box provisions essentially tighten and clarify the rules around the

use of drop boxes by more clearly defining and describing what the legislature meant by

‘secure’. For instance, while SB90 requires drop boxes to be geographically located to ensure


15
     The Florida Senate Interim Report 2011-118.
16
     Chpt. 2019-162, Laws of Fla. (2019).


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that all voters have an equal opportunity to cast a ballot, it also requires their locations to be set

at least 30 days before an election and only allows those locations to be changed to comply with

the law.17 The law requires that drop boxes be continuously monitored by an election worker

during normal early voting hours.18 The law also requires that drop boxes be emptied each day

and the ballots collected secured.19 Finally, the law imposes a civil penalty of $25,000 on

election supervisors for non-compliance.20 These security concerns were very real, driven in part

by reports of voter drop boxes being vandalized during the 2020 presidential election.21



34.      A fundamental question related to these drop box rules is whether the security provisions

are outside of the norm nationally. By any objective measure from a comparative perspective

Florida’s drop box provisions make it one of a minority of states on the progressive end of the

voter-access continuum.



35.      Senate Bill 90 makes Florida one of only ten states to require the use of drop boxes.22

Senate Bill 90 says “The supervisor shall allow an elector who has received a vote-by-mail ballot

to physically return a vote-by-mail ballot to the supervisor by placing the return mail envelope

containing his or her marked ballot in a secure drop box.”23 As Table 3 shows, the other nine



17
   Chpt. 2021-11, Laws of Florida at 23 (2021).
18
   Id.
19
   Id.
20
   Id.
21
   See for example: https://www.usatoday.com/story/news/nation/2020/10/20/ballot-drop-box-set-fire-california-
100-ballots-damaged/5992101002/, https://www.washingtonpost.com/local/va-politics/mailboxes-broken-into-in-
central-virginia-sparking-worries-about-missing-absentee-ballots/2020/10/05/39b3ded8-0744-11eb-a166-
dc429b380d10_story.html, https://foxbaltimore.com/news/local/election-security-concerns-after-week-of-
reported-issues, https://www.newsbreak.com/news/2351137285828/voting-drop-box-vandalized-in-ontario,
22
   Nebraska requires counties with populations of less than 10,000 to maintain at least one secure drop box
starting at least 10 days before the election.
23
   Chpt. 2021-11, Laws of Florida at 23 (2021).


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states (excluding Nebraska) that require the use of drop boxes are: Washington, Oregon,

Colorado, Nebraska, New Jersey, Maryland, Kentucky, Georgia, and Virginia.



Table 3: Use of Drop Boxes Across the United States

       Required                     Allowed                       Prohibited

       Washington**                 California                    Alabama
       Oregon**                     Montana                       Alaska
       Colorado**                   Utah                          Arkansas
       New Jersey                   Arizona                       Connecticut
       Maryland                     New Mexico                    Delaware
       Kentucky                     Minnesota                     Idaho
       Georgia                      Iowa                          Kansas
       Virginia                     Illinois                      Louisiana
       Florida                      Michigan                      Maine
       Nebraska*                    Indiana                       Mississippi
                                    Pennsylvania                  Missouri
                                    Vermont                       Nevada
                                    Massachusetts                 New Hampshire
                                    Hawaii                        New York
                                                                  North Carolina
                                                                  North Dakota
                                                                  Ohio
                                                                  Oklahoma
                                                                  Rhode Island
                                                                  South Carolina
                                                                  South Dakota
                                                                  Tennessee
                                                                  Texas
                                                                  District of Columbia
                                                                  Wisconsin
                                                                  Wyoming
                                                                  West Virginia

* Required only in counties with population of 10,000 or fewer.
** All elections are mail-only, with no in-person voting.




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36.      A comparison with Virginia’s law related to drop boxes is instructive here because both

Florida’s and Virginia’s legislatures passed laws related to the administration of elections in

2021, including requiring the use of drop boxes. A June 8, 2021 article in the New York Times

described Virginia as becoming a “voting rights bastion” as a result of its new law.24 The new

Virginia law requires drop boxes for the first time in the state’s history. Drop boxes are required

to be located at the general registrar’s office and at satellite offices in operation for an election.

The law requires drop boxes to be accessible, secured, and ballots to be collected daily.25



37.      While the Florida and Virginia provisions related to drop boxes are not mirror images of

one another, they are largely similar, and given that both states have moved in the direction of

expanding a voter’s ability to deliver their ballots via drop boxes since 2019 (or 2021), both

could arguably be described as progressive reforms.



38.      As Table 1 shows, fourteen states allow ballot drop boxes but do not require them, which

means voters in those states do not have the same codified access to drop boxes as voters do in

Florida. In fact, in many of these states drop boxes are used in jurisdictions at the discretion of

elected officials or election administrators. Over half of all states and the District of Columbia

(twenty-seven) prohibit the use of drop boxes. If the use of drop boxes is considered an

expansion of voting rights, then Florida is among the minority of states (10 of 51, or about 20%)

that guarantees access to drop boxes.




24
   “Virginia, The Old Confederacy’s Heart, Becomes a Voting Rights Bastion”, New York Times April 2, 2021
(updated June 8, 2021) at https://www.nytimes.com/2021/04/02/us/politics/virginia-voting-rights-northam.html
25
   Chpt. 522, Laws of Virginia (2021).


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VII. SB90’s THIRD PARTY BALLOT COLLECTION RULES MAKE
FLORIDA ONE AMONG THE VAST MAJORITY OF STATES THAT IMPOSE
SOME REGULATION, BUT LESS RESTRICTIVE THAN OVER HALF OF
STATES THAT HAVE RESTRICTIONS


39.      The rules around ballot collection vary from state-to-state, but generally are oriented

around two areas: defining who can assist a voter by collecting and returning their ballot and

defining how many voters a third party can assist. The baseline acceptable limits that may be

placed upon the practice of ballot collecting was established by the United States Supreme

Court’s July 2021 decision in Brnovich v. Democratic National Committee, which upheld

Arizona’s law limiting the practice to only someone in a close relationship with the voter

(family, caregiver, etc.) who is able to return the ballot.26



40.      By comparison, SB90s ballot collection provision allows anyone to return up to two

completed absentee ballots in addition to their own.27 The law also allows a person to collect and

return any number of their immediate family member’s ballots, and expands the definition of

immediate family member to include a grandchild.28



41.      As Table 4 shows, Florida is among forty-one states and the District of Columbia that

imposes some regulations or restrictions on ballot collection, and certainly does not rank among

the most restrictive of this group. For instance, four states (Alabama, Oklahoma, Pennsylvania,

and Tennessee) only allow voters themselves to return ballots.29 Seventeen states emphasize the



26
   See https://www.supremecourt.gov/opinions/20pdf/19-1257diff_khlo.pdf.
27
   Chpt. 2021-11, Laws of Florida at 27 (2021).
28
   Id.
29
   Oklahoma does exempt spouses from any restrictions (26 Okl. Stat. Ann. § 14-108, 108.1).


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Table 4: Third-Party Ballot Collection Rules Across the United States

                         Emphasis on voter
Only voters              with some exceptions              Third parties may        No restrictions
may return               for family, officials, or         collect / return         specified / minimal
ballots                  defined associate (limits)        ballots (limits)         restrictions

Alabama                  Alaska                            Arkansas (2)             Hawaii
Oklahoma1                Arizona                           California               Idaho
Pennsylvania             Connecticut                       Colorado (10)            Mississippi
Tennessee                District of Columbia              Delaware                 New York
                         Georgia (10)                      Florida (2)              Rhode Island
                         Indiana                           Illinois                 Utah
                         Massachusetts                     Iowa                     Vermont
                         Michigan                          Kansas                   Washington
                         Missouri                          Kentucky                 Wisconsin
                         Montana (6)                       Louisiana (1)            Wyoming
                         Nevada                            Maine (5)
                         New Hampshire                     Maryland
                         New Mexico                        Minnesota (3)
                         North Carolina                    Nebraska (2)
                         Ohio                              New Jersey (3)
                         Texas                             North Dakota
                         Virginia                          Oregon
                                                           South Carolina
                                                           South Dakota
                                                           West Virginia (2)

1
    Spouses may also return ballots



responsibility of the voter in returning their own ballot, but allow for limited ballot collection by

close family (the definition of close family varies), government officials, or defined associates

(such as caregivers or someone living in the same household as the voter).30 In addition to

family, Indiana also allows the voter’s attorney to qualify.31 Two states that impose familial or

defined associate limits also impose a limit on the total number of ballots that any one individual



30
   Arizona, Georgia, Louisiana, Massachusetts, Michigan, Missouri, Nevada, New Hampshire, New Mexico, North
Carolina, Ohio, and Texas.
31
   See Ind. Code 3-11-10-1.


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may return. Georgia limits the total number of ballots any individual may return to ten, and

Montana limits the number to six.



42.      Florida is among a group of twenty states that allow third parties to collect and return

ballots, and impose varying conditions on those third parties. For instance, nine of those states

impose limits on the number of ballots that can be collected ranging from one (Louisiana) to ten

(Colorado).32 The remaining eleven states of this group of twenty that allow third parties to

collect and return ballots impose few if any limits on the number of ballots that can be collected

but to varying degrees impose other minimal regulations and restrictions. Finally, ten states have

no codified regulations or restrictions on who can collect and return absentee ballots other than

the voters themselves.



43.      Florida under SB90 is among the vast majority of states that impose some regulations and

restrictions on the number of ballots that an individual can collect and return. However, among

those forty-one states that impose some regulation, Florida is less restrictive than over half.

Florida’s limit is two in addition to the voter’s own, but there is no limit placed on the number of

additional ballots that an individual can return from immediate family members. Additionally,

SB90 expanded the definition of immediate family to include a grandchild.33




32
   Maine limits the number of absentee ballots that can be issued to a third party until at least one of these ballots
(21-A M.R.S.A § 753-B). South Dakota requires the third party to notify election officials if they are acting as an
agent for more than one voter (S.D. Codified Laws § 12-19-2.2).
33
   Chpt. 2021-11, Laws of Florida at 27 (2021).


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VIII. SB90’s THIRD PARTY VOTER REGISTRATION RULES ARE
GENERALLY CONSISTENT WITH THE VAST MAJORITY OF STATES
THAT IMPOSE REQUIREMENTS ON THIRD PARTY VOTER
REGISTRATION ORGANIZATIONS

44.      Rules governing third party registration efforts vary across the United States, but

generally address issues such as compensation for volunteers participating in registration drives,

deadlines for returning registration forms, registration organizations conducting drives, training

for volunteers and organization, and whether or not a state has an official volunteer system in

place.34



45.      Table 5 summarizes the third-party registration rules across the United States. Florida is

among twelve states to require third party voter registration organizations to register with the

state, although the individuals who are volunteering with the organization are not deputized as

volunteer registrars by Florida as they are in some other states (such as Texas).



46.      The majority of states, including Florida, do not require training either for the

organization or the individuals conducting voter registration drives. The most stringent state

regarding training is Colorado, which requires voter registration drive organizers to complete

training and take a test, and to also train all of their volunteers.35 Illinois requires training for

volunteers who want to become deputy registrars, while Delaware requires training for

volunteers who wish to register voters using the Delaware state registration form but not the

federal form.36


34
   See https://nationalvoterregistrationday.org for an overview of each state’s rules.
35
   See https://www.sos.state.co.us/pubs/rule_making/CurrentRules/8CCR1505-1/Rule14.pdf.
36
   See https://nationalvoterregistrationday.org/toolkit-for-individuals/rules-for-voter-registration-drives/.


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47.      While every state and the District of Columbia allows third party registration drives to

pay volunteers, none allow payment to be tied to the number of registrations collected. The vast

majority of states (36) have a return deadline for voter registration by third party registration

drives other than the normal registration deadline, including Florida. These non-standardized

return deadlines are triggered by the moment a voter registration is collected by a third party,

ranging from “immediate” (Connecticut) to up to thirty-days (Louisiana and Hawaii). Florida’s

fourteen-day return deadline is longer than the average return deadline among states that have

them, which is ten-days.



48.      At least seven states have a notice or disclaimer requirement or recommendation either

codified or in the rules for how third-party organizations are allowed to conduct registration

drives. Under SB90, Florida requires a third-party voter registration organization to inform the

applicant that they may not deliver the application sooner than the 14-day return deadline

(mentioned above), and to inform the applicant of their options to either return their application

in-person sooner or to register online.37 It is important to note, SB90 does not mandate a precise

script but rather requires a basic set of factual information be provided. This approach is

consistent with the practice of other states that have such rules, but is also less stringent than

some. For example, Georgia requires third party organizations to display a poster at registration

sites or hand voters a form with information about their rights and expectations regarding

registering to vote, including that they can register in alternative ways.38



37
  Chpt. 2021-11, Law of Fla. At 8 (2021).
38
  See required handout at:
https://sos.ga.gov/admin/uploads/Required_Voter_Registration_Notices_Handout.pdf.


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Table 5: Third Party Voter Registration Rules Across the United States

                       Yes      No       Notes
                                         * New Hampshire and Wyoming do not allow third party registration; North Dakota
                                         does not have voter registration requirements.
 Has official                            * Delaware requires registration for the Delaware application but not the federal
 volunteer (deputy      8       40*      application.
 registrar) system                       * Registration is required in Florida, but volunteers are not deputized registrars.

                                         * Registration for deputized registrars is available but not required in Illinois.


                       Yes      No       Notes
                                         * New Hampshire and Wyoming do not allow third party registration; North Dakota
                                         does not have voter registration requirements.
                                         * Delaware requires training for the Delaware application but not the federal
 Requires training      9       39*      application.

                                         * Illinois requires training for volunteers who wish to be deputized registrars.

                                         * Colorado requires volunteers to be trained and pass a test.


                       Yes      No       Notes
 Organizational                          * New Hampshire and Wyoming do not allow third party registration; North Dakota
                                         does not have voter registration requirements.
 registration or
                       12*      36       * Kansas requires reporting for groups requesting more than 25 registration forms.
 reporting
 required                                * Missouri requires registration for paid registration solicitors.


                       Yes      No       Notes
 Return deadline                         * New Hampshire and Wyoming do not allow third party registration; North Dakota
                                         does not have voter registration requirements.
 other than
                                         * Average return deadline for states that have one is 10-days.
 normal                36*      12
 registration
 deadline                                * Connecticut’s return deadline is "immediately" upon completion of application.


                       Yes      No       Notes
                                         * New Hampshire and Wyoming do not allow third party registration; North Dakota
                                         does not have voter registration requirements.

 Pay allowed           48*       0       * Delaware allows for paid registration solicitors of the federal application but not
                                         for the Delaware application.

                                         * No state allows payment based upon the number of applications collected.


 States with some
 notice/disclaimer           Alabama, Arkansas, California, Colorado, Georgia, Florida, Iowa, Virginia
 rules
* Denotes which group Florida is in for each topic.
Note: Wisconsin third-party registration rules require registrants to provide a proof-of-residence
document to the volunteer registering them. This requirement makes any third-party registrations
efforts nearly impossible as few people carry photo copies of required documents.




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49.      In its 2021 Guidelines for Conducting Voter Registration Drives, the Virginia

Department of Elections tells third party organizations and representatives under the section

titled ‘Rules of the Road: Best Practices Overview’: “When approaching individuals, introduce

yourself and the organization you represent, explain your purpose, the qualifications to vote in

Virginia, and whether or not you will deliver the completed application for the applicant. You

should inform voters that Virginia has online voter registration and address update available on

the ELECT website for those with a Virginia driver’s license or DMV ID card. This information

will be helpful to an applicant who wishes to ensure their application is delivered in real time

directly to their local voter registration office.”39



50.      The state of California guidelines requires third party organizations and individuals to

acknowledge they understand the rules, among them that if they mail a voter registration card to

someone unsolicited that they must also include a letter telling the recipient that they can

disregard the card.40



51.      Under the ‘Frequent Questions’ section of its Voter Drive Guide, Alabama provides the

following information is for applicants: “Just because the citizen turned in a voter registration

application does not necessarily mean he/she is registered to vote. Once the application has been

processed by the citizen’s local Board of Registrars, he/she should receive an acknowledgement

from the Registrars indicating the status of his/her application. This acknowledgement will

usually be a voter information card confirming that he/she is registered to vote. However, if the



39
   https://www.elections.virginia.gov/media/formswarehouse/veris-voter-
registration/voterregistrationdrives/2021-Guidelines-for-Voter-Registration-Drives-[Final]-(1).pdf.
40
   https://elections.cdn.sos.ca.gov/guides/guide-to-vr-drives.pdf.


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application was incomplete, the citizen may receive a letter requesting additional information to

complete his/her application. If the citizen is unsure about the status of his/her application, the

citizen should call his/her local Board of Registrars or visit alabamavotes.gov.”41



52.      In its guide Conducting a Voter Registration Drive, Arkansas recommends third party

organizations should “Thank individuals for applying and advise them that they are not fully

registered until their applications are processed by the county clerk. Applicants should call the

county clerk’s office if they have not received certification of registration in two weeks (same

info on back of voter application).”42



53.      Iowa requires individuals and groups collecting absentee ballot request forms to use an

official (proscribed by the Secretary of State) absentee ballot request form with receipt. The

receipt portion of the form must be given to the applicant upon completion of the form, and it

contains a notice to the applicant about the potential partisan activities of the organizer and what

the requirements are for turning in their application.43



54.      In sum, Florida’s rules under SB90 regarding third party registration are generally

consistent with the vast majority of states that impose requirements on third party voter

registration organizations. Florida’s deadlines, penalties, and other requirements related to pay

are the norm. Florida’s fourteen-day deadline for returning completed registration forms is




41
   https://www.sos.alabama.gov/sites/default/files/voter-pdfs/VoterDriveGuidelines.pdf.
42
   https://www.sos.arkansas.gov/uploads/elections/voter_drive.pdf.
43
   https://sos.iowa.gov/elections/pdf/absenteeballotapprec.pdf.


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longer than the average, and Florida’s notice and disclaimer requirements are not unique among

states that require them and certainly not as proscriptive as several of them.




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IX. SB90’s REQUIRMENTS REGARDING ABSENTEE BALLOT
APPLICATION VERIFICATION PLACES NO MORE THAN AN AVERAGE
BURDEN ON VOTERS

55.    The absentee ballot application verification rules vary from state-to-state, ranging from

no verification because the state does not require it to states that require voters to qualify to vote

absentee and further provide copies of photo identification and/or notarization to accompany the

application.



56.    As Table 6 shows, Florida is one among twenty-six states that check a voters information

against voter registration records to determine eligibility to vote absentee. Nine states either have

no requirements because they conduct all-mail elections or minimal verification requirements.

Seventeen states require voters to qualify to vote absentee with an acceptable excuse.



57.    Of the twenty-six states that check a voter’s information against voter registration

records, eleven require voters to sign the application and then verify the signature against the

signature on the registration record. The other fifteen states, including Florida, predominantly

rely on other information in the application to verify eligibility, including driver’s license

numbers or other identification numbers.



58.    Two of the twenty-five states that check voter information against registration records

require applicants to include a copy of a photo identification (South Dakota and Wisconsin).

Four of the twenty-five states, including Florida, require applicants to include on their

applications either their state driver’s license number, state-issued identification number, or last

four of their social security number (Minnesota, Georgia, and Montana in addition to Florida).


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Table 6: Absentee Ballot Application Verification Rules Across the United
States

 No absentee ballot application
                                         Colorado, Hawaii, Oregon, Utah, Washington
 required (all-mail elections)



 Minimal verification                    Alaska, District of Columbia, North Dakota, Vermont



                                         Florida*, Kansas, Maine, Maryland, Minnesota,
 Information and eligibility
                                         Nebraska, Nevada, New Mexico, North Carolina, Ohio,
 checked against voter registration
                                         Oklahoma, South Dakota**, Virginia, Wisconsin**,
 records
                                         Wyoming



 Signature verification in addition
                                         Arizona, California, Georgia, Idaho, Iowa, Illinois,
 to checking information and
                                         Michigan, Montana, New Jersey, Pennsylvania, Rhode
 eligibility against voter
                                         Island
 registration card




                                         Alabama**, Arkansas, Connecticut, Delaware,
 Voters must 'qualify' to vote
                                         Indiana*, Kentucky, Louisiana, Massachusetts,
 absentee with an acceptable
                                         Mississippi, Missouri, New Hampshire, New York,
 excuse
                                         South Carolina*, Tennessee, Texas, West Virginia


* Requires voter to provide driver’s license number, state issued ID number, or last four of
social security number.
** Requires copy of photo identification and/or notarization accompany application.


59.    Of the sixteen states that require voters to qualify to vote absentee, Indiana also requires

the applicant to include either their driver’s license number, state-issued identification number,

or last four of their social security number. Alabama requires applicants to include a copy of

photo identification and a signature of a notary or witness.




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60.    In terms of burden, Florida’s requirements are largely average. The burden to qualify to

vote absentee (as is the case in sixteen states) is certainly greater than Florida’s no excuse

requirement. The burden of having to provide a witness signature (as is the case in two states) is

certainly greater than Florida’s requirement that does not include a witness signature. The burden

of requiring a copy of a photo identification (as is the case in four states) is certainly greater than

Florida’s requirement that does not include submitting a copy of a photo identification. In fact,

Florida stands in a group of states that simply require that information and eligibility be checked

against voter registration records. Only four states (other than the states that conduct all or

mostly all-mail elections) have verification checks that are less strenuous.




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X. SB90’s NO-EXCUSE ABSENTEE VOTING RULE MAKES FLORIDA THE
MOST LENIENT STATE AMONG THOSE WHO REGULATE ABSENTEE
VOTING

61.      Rules related to how often voters must request an absentee ballot vary across the country

ranging from no-excuse permanent absentee voting to voters being required to qualify and

request an absentee ballot each election. Florida has no-excuse absentee voting, and its rule

under SB90 that voters have to request an absentee ballot only once for all elections through the

end of the calendar year of the next regularly scheduled general election makes it the most

lenient among the thirty-eight states that impose some restrictions on who can request an

absentee ballot and for how long.44



62.      As Table 7 shows, thirteen states and the District of Columbia have some form of no-

excuse permanent absentee voting, which means voters have to request an absentee ballot only

once or all voters are automatically mailed a ballot each election.45 Four states have no-excuse

time-limited absentee voting, with Florida’s time-limit being the longest of those. In addition to

its 1-year time-limit, Alaska allows voters who are deemed to live in remote areas where they do

not have reasonable access to a polling location to be placed on a permanent absentee voter list.

Eleven states allow citizens with permanent disabilities or seniors above a certain age to be

placed on permanent absentee voting lists, and four other states have time-limited absentee

voting lists for citizens who are permanently disabled, sick, absent from the state for a certain

period of time that includes the election, or seniors above certain ages.




44
  Chpt. 2021-11, Laws of Fla. at 18-21 (2021).
45
  An up-to-date summary of every state’s rules can be found at:
https://tracker.votingrightslab.org/issues/21AbsenteeVtg#Q.


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Finally, nineteen states have rules that require voters to request an absentee ballot for each

election in which they wish to vote absentee. In several of these states, voters also have to

qualify to vote absentee with an acceptable excuse. In five of these states (Massachusetts,

Michigan, Minnesota, Missouri, and Pennsylvania) voters can be placed on a permanent list to

receive the application to vote absentee, but not the ballot itself.



Table 7: Absentee Ballot Requesting Rules Across the United States

                                       Arizona, California, Colorado, District of Columbia,
 No excuse permanent absentee
                                       Hawaii, Illinois (2022), Maryland, Montana, New Jersey,
 voting or all-mail elections
                                       Nevada, Oregon, Utah, Washington


 No excuse time-limited                Alaska (1-year)**, Florida (up to nearly 2-years), South
 absentee voting                       Dakota (1-year), Virginia (1-year)


                                       Alabama, Connecticut, Delaware, Kansas, Louisiana,
 Permanent absentee voting for
                                       Mississippi, New York, Rhode Island, Tennessee, West
 disability / seniors only
                                       Virginia, Wisconsin



                                       Georgia (election cycle - disabled or elderly), North
 Time-limited absentee voting
                                       Carolina (1-year - sick or disabled), Oklahoma (1-year -
 for disability / seniors only
                                       absent or disabled), Texas (1-year, elderly or disabled)


                                       Arkansas, Idaho, Indiana, Iowa, Kentucky, Maine,
 No provision / must request           Massachusetts*, Michigan*, Minnesota*, Missouri*,
 each election                         Nebraska, New Hampshire, New Mexico, North Dakota,
                                       Ohio, Pennsylvania*, South Carolina, Vermont, Wyoming,

* Voters can be placed on a permanent list to receive the application for an absentee ballot, but
not the ballot itself.
** Alaska allows voters who are deemed to live in remote areas where they do not have
reasonable access to a polling place to be placed on a permanent absentee voter list.



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63.    The no-excuse absentee voting rule under SB90 makes Florida the most lenient state

among the thirty-eight states that regulate absentee voting in some way short of no-excuse

permanent absentee or all-mail voting.




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XI. SB90’s ELECTIONEERING PROVISIONS MIRROR THE VAST
MAJORITY OF STATE RULES THAT PROHIBIT ELECTIONEERING THAT
IS AIMED AT INFLUENCING VOTERS WITHIN A DEFINED SPACE
AROUND A POLLING LOCATION

64.        Every state regulates political activities around the physical location of polling places

while voters are casting ballots, otherwise known as electioneering. These rules generally

regulate what activities are or are not allowed within a certain space or zone around the polling

location. Florida’s regulations defined in SB90 are consistent with the vast majority of state’s

rules.



65.        As Table 8 shows, the electioneering-free zones mandated by the various states range

from within the physical space of the building in which voting is taking place to as wide as 300

yards (the equivalent of two football fields) away from the building. Florida’s zone of 150 feet

places it among the majority of states (twenty-seven) that impose electioneering-free zones of

between 100-150 feet.



66.        Prior to the enactment of SB90, Florida prohibited among other things seeking votes,

and/or contributions, distributing political or campaign materials, conducting polls, seeking

signatures on petitions, or attempting to sell anything.46 Restrictions of these sorts, while they

may vary in their specificity and detail, are almost universal across states. Florida added to these

prohibitions in SB90 “and engaging in any activity with the intent to influence or effect of

influencing a voter.”47



46
     Chpt. 2021-11, Laws of Florida at 24-25 (2021).
47
     Id., at 25.


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Table 8: Electioneering Rules Across the United States


 Prohibited within building          New Hampshire, Vermont, Washington




                                     Alabama, Arizona, Connecticut, Delaware, Indiana, Missouri,
 Prohibited between 10-75
                                     North Carolina, Pennsylvania, Rhode Island, Virginia,
 feet of building
                                     Washington, D.C.


                                     Arkansas, California, Colorado, Florida, Georgia, Idaho,
                                     Illinois, Kentucky, Maryland, Massachusetts, Michigan,
 Prohibited between 100-
                                     Minnesota, Mississippi, Montana, Nevada, New Jersey, New
 150 feet of building
                                     Mexico, New York, North Dakota, Ohio, Oregon, South
                                     Dakota, Tennessee, Texas, Utah, West Virginia, Wisconsin


 Prohibited between 200-
                                     Alaska, Hawaii, Kansas, Maine, Nebraska, South Carolina
 250 feet of building




 Prohibited 300 feet or
                                     Iowa, Louisiana (300 yards), Oklahoma, Wyoming
 greater from building




67.        This broader language is also not uncommon, and is included in almost every state’s rules

governing electioneering. For instance:

           •   Wisconsin’s law says in part: “’Electioneering’ is defined as any activity which is

               intended to influence voting at an election.”48

           •   Arizona’s law says in part: “’Electioneering’ occurs when a person knowingly,

               intentionally, and verbally expresses support for, or opposition to, a candidate or



48
     Wis. Stat. § 12.03 (2013)


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             ballot measure on the ballot in that election, or a political party with one or more

             candidates who appear on the ballot in that election, in order to induce or compel

             another person to vote in a particular manner or to refrain from voting.”49

         •   Maine’s law says in part: “On public property within 250 feet of the entrance to

             the voting place as well as within the voting place itself, a person may not

             influence another person's decision regarding a candidate or question that is on

             the ballot for the election that day; or attempt to influence another person's

             decision regarding a candidate or question that is on the ballot for the election

             that day.”50

         •   Massachusetts’ law says in part: “no person shall solicit votes for or against, or

             otherwise promote or oppose, any person or political party or position on a ballot

             question, to be voted on at the current election. No campaign material intended

             to influence the vote of a voter in the ongoing election, including campaign

             literature, buttons, signs, and ballot stickers, may be posted, exhibited,

             circulated, or distributed in the polling place, in the building where it is located,

             on the building walls, on the premises where the building stands, or within 150

             feet of an entrance door to the building.”51

         •   Michigan’s law says in part: “A person shall not persuade or endeavor to persuade a

             person to vote for or against any particular candidate or party ticket or for or against

             any ballot question that is being voted on at the election.”52




49
   Ariz. Rev. Stat. § 16-515 (2021).
50
   Me. Stat. tit. 21-A, §682 (2019).
51
   Mass. Gen. Laws ch. 54, § 65 (2021).
52
   Mich. Comp. Laws §§ 168.744, 168.744a (2021).


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           •   Montana’s law says, in part: “A person may not aid or promote the success or defeat

               of any candidate or ballot issue to be voted upon at the election.”53



68.        In sum, Florida’s electioneering provisions in SB90 mirror the vast majority of state rules

that prohibit electioneering that is attempting to influence voters within a certain space or zone

around the polling location.




53
     Mont. Code Ann. § 13-35-211 (2021).


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XII. CONCLUSION

69.    The simple conclusion of this analysis is the following: early voting and absentee voting

in Florida has become easier and more convenient over time. Additionally, the rules in SB90

governing drop boxes, third-party ballot collection, third-party voter registration, absentee ballot

application verification, frequency of requesting an absentee ballot, and voter solicitation at the

polling location when compared with the other states’ and the District of Columbia’s rules show

in none of the six areas is Florida outside of the norm. In several of the areas Florida’s rules and

regulations place the state among the more accessible from a comparative perspective when it

comes to voting and access to voting resources.



70.    Specially, to reiterate the findings of this analysis:

       •   The net impact of changes in early voting and vote by mail rules in Florida since the

           1980s has been to make voting easier. Florida law has changed over time from

           restrictions related to needing an excuse to vote early and needing a notary or witness

           to no excuse and no witness requirements. Early voting has gone from non-existent to

           up to two-weeks since it was first instituted in 1998.

       •   Florida stands among a small group of states that require drop boxes to be widely

           available to voters.

       •   When it comes third-party ballot collection, Florida stands among the vast majority

           of states that impose some regulations and restrictions on the number of ballots that

           an individual can collect and return, but is less restrictive than over half.




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       •   Florida’s third-party voter registration rules are generally consistent with the vast

           majority of states that impose requirements on third party voter registration

           organizations.

       •   Florida’s absentee ballot application verification requirements are largely average.

       •   Florida’s two-year no-excuse absentee voting rule related to the frequency of

           requesting an absentee ballot makes it the most lenient state among the thirty-eight

           states that regulate absentee voting in some way short of no-excuse permanent

           absentee or all-mail voting.

       •   Florida’s electioneering (voter solicitation) regulations and restrictions mirror the

           vast majority of state rules across the country in prohibiting electioneering that is

           attempting to influence voters with a certain space or zone around the polling

           location.




I reserve the right to supplement this report in light of additional facts, testimony, and/or

materials that may come to my attention.




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I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct to the best of my knowledge.



Executed this 29th day of September, 2021.




______________________________
Quentin Kidd, Ph.D.




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                                     QUENTIN KIDD
                                  CURRICULUM VITAE
                                         CURRENT:
Dean of the College of Social Sciences and Founding Director of the Judy Ford Wason Center
for Public Policy at Christopher Newport University.

                                   FORMAL EDUCATION:
Ph.D.          Political Science, Texas Tech University, 1998.
M.A.           Political Science, University of Arkansas, 1993.
B.A.           Political Science, University of Arkansas, 1991.

                               CONTINUING EDUCATION:
Management & Leadership in Education, Harvard University, 2018.
Council of Colleges of Arts and Sciences New Deans Workshop, 2016.

                                ACADEMIC APPOINTMENTS:
Professor of Political Science, Christopher Newport University, 2012-present
Associate Professor of Political Science, Christopher Newport University, 2003-2012
Assistant Professor of Political Science, Christopher Newport University, 1997-2003

               ADMINISTRATIVE MANAGEMENT AND LEADERSHIP:
Dean of College of Social Sciences, 2017-present

Leadership Responsibilities: Responsible for the overall organization, administration, personnel
management, fiscal management and coordination of academic programs and instructional
activities of the College, comprising half of all graduates, nearly 80 full-time faculty, around 35
part-time faculty, 9 staff, and a budget of approximately $8.5 million.

Accomplishments:
   • Fundraising: Negotiated and secured $1,000,000 matching endowed gift ($2,000,000
     total) to support scholarships for students in the College.
   • Strategic Planning: Oversaw the first strategic plan in the College’s history.
   • Fundraising: Played a central role in the fundraising and establishment of an endowed
     professorship ($500,000+) in Jewish studies.
   • Research: Initiated the first of what is planned to be an annual national survey on
     leadership values and attitudes. The study is designed to be a highlight study for the
     Department of Leadership and American Studies (annual budget of $35,000).
   • Fundraising for Research: Raised initial $50,000 research startup funds from private
     industry to established the Center for Education Policy and Research within the College.
   • Administrative Work: Successfully completed the first outside chair search in the history
     of the College in the Department of Economics.
   • Faculty Life: Initiated a junior faculty (pre-tenure) research incubator as a format to
     encourage and support junior faculty research.




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   •   Faculty Life: Began a series of faculty socials (three per semester) as a way to bring
       faculty together in a social and non-working setting.
   •   Research: Initiated discussion with faculty in Sociology, Psychology, Communication,
       and Political Science about establishing an interdisciplinary research program in health-
       related fields.
   •   Curricular: Initiated a discussion with department chairs on the “just right major”, and
       whether our curriculum in the social sciences includes enough courses that teach
       analytics skills (such as programming or data analytics) that students will need on the job
       market.
   •   Facilities: Initiated the redesign and construction of facilities in the College to allow for
       better utilization of space.

Vice Provost for Undergraduate Education, 2014-2017

Leadership Responsibilities: As senior vice provost, served as a member of the senior academic
leadership team responsible for working collaboratively with other senior administrators and
faculty on strategic academic planning and implementation of the University’s academic vision
and mission.

Accomplishments:
   • Worked closely with University provost to develop the academic affairs budget (just
     above $50 million)
   • Conducted provost-level interviews of candidates for faculty positions and negotiated
     offers when Provost was unavailable.
   • Provided management and oversight of annual evaluation calendar and process for all
     285 University faculty.
   • Provided management and oversight of faculty tenure and review process.
   • Served as administrative coordinator for the various faculty curriculum review and
     oversight committees.
   • Collaborated with other University leadership on compliance with Commission on
     Colleges of the Southern Association of Colleges and Schools (SACCOC) requirements.
   • Worked with Faculty Senate on University initiatives and University Handbook changes.
   • Responsible for policy and administrative oversight of the following units: Honors
     Program, Center for Community Engagement, Center for Effective Teaching, and Study
     Abroad and International Programs.
         o Oversaw implementation of new Christopher Newport study center at the
             University of Glasgow and exchange program with Beijing Normal University.
         o Negotiated exchange programs between Christopher Newport and Tsinghua
             University and Shanghai University of Political Science and Law in China, and
             Kozminski University in Poland.
         o Oversaw expansion of Study Abroad office staff and doubling of number of
             students studying abroad from approximately 200 to 400 per year.
   • Served as Christopher Newport’s liaison to State Council of Higher Education for
     Virginia (SCHEV) Provost-level Academic Affairs and Planning committee.
   • Served as University Ombudsman.
   • Served on Christopher Newport’s SACSCOC reaccreditation leadership team.


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   •   Participated in fundraising activities in support of University’s comprehensive campaign
       “Defining Significance” (raised $67 million).

Chair, Department of Government and Public Affairs, 2008-2014

Leadership Responsibilities: Responsible for the overall organization, administration, fiscal
management and coordination of academic programs and instructional activities of the
department of 400 majors, 13 full-time, 10 part-time faculty, 1 staff and a budget of just over
$50,000.

Accomplishments:
   • Hired 7 new faculty (5 tenure track and 2 lecturers) in the Department, including
     dramatically broadening the diversity profile of faculty.
   • Evaluated faculty for pre-tenure, tenure, post-tenure, and promotion review.
   • Conducted annual reviews of all full-time faculty for merit purposes.
   • Regularly evaluated teaching performance of part-time and adjunct faculty.
   • Led Department through major curriculum evaluation and program redesign.
   • Initiated Departmental and academic major program evaluation.
   • Developed schedule of classes and dynamically adjusted schedule during enrollment to
     eliminate student-scheduling problems.

Founding Director, Judy Ford Wason Center for Public Policy, 2007-Present

Leadership Responsibilities: Initiated the original concept of and fundraising for the
establishment of the Wason Center for Public Policy. To date have raised ≈$2.2 million in
private donations, including ≈$600,000 in endowments, to support the Wason Center.

Accomplishments:
   • Grew the Wason Center from a one-person operation to a 3-staff and 100-student
     operation.
   • Opened a 24-station fully-operational survey research laboratory on campus.
   • Awarded ≈$400,000 in grants and contracts to conduct research on public policy topics
     ranging from quality of life and transportation to fish and wildlife surveys.


                                FUNDRAISING AND GRANTS:
   •   Actively participated in many aspects of advancement as part of Christopher Newport’s
       first comprehensive campaign, Defining Significance (total of $67 million raised),
       including initiating the fundraising for an endowed Professorship in Jewish Studies
       ($500,000+) and participated in direct fundraising for gifts and endowed scholarships for
       study abroad and other programs and scholarships.
   •   Secured a $1,000,000 matching endowed gift ($2,000,000 total) to support scholarships
       in the College of Social Sciences.
   •   Participated in the fundraising discussions that resulted in the lead gift to establish the
       Reiff Center for the Study of Human Rights and Conflict Resolution (to date Center
       endowed at ≈$1 million).


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   •   Lead the fundraising ($50,000) to establish the Center for Education Research and Policy
       in the College of Social Sciences.
   •   Lead all fundraising, and grant and contract awards, related to the Wason Center for
       Public Policy (to date ≈$2.6 million).

                              AREAS OF RESEARCH INTEREST:
Civic Participation, Political Behavior, and Political Change.

                                       PUBLICATIONS:
Books (5):
2012 The Rational Southerner: Black Mobilization, Republican Growth and the Partisan
       Transformation of the American South. Oxford University Press. (co-authored with MV
       Hood III and Irwin L. Morris).
       • Nominated for the V.O. Key Award for outstanding book on Southern Politics, the
           Ralph Bunch Award for best scholarly work exploring the phenomenon of ethnic
           and cultural pluralism, and the Leon D. Epstein Award for research on political
           organizations and parties.
       • Soft cover edition 2014
2012 A Simple Guide to SPSS® for Political Science. Belmont, CA: Wadsworth (textbook co-
       authored with Lee Kirkpatrick)
2011 Civic Participation in America. New York: Palgrave Macmillan
       • Soft cover edition 2013
2000 American Government: Readings from Across Society. New York: Longman. (Editor)
1999 Government and Politics in Virginia: The Old Dominion at the 21st Century. Needham
       Heights, MA: Simon & Schuster. (Editor)

Refereed Journal Articles and Book Chapters (22):
       Double-blind Reviewed Articles on Politics (12):
2020 “Switching Sides but Still Fighting the Civil War in Southern Politics,” in Politics, Groups,
       and Identities (Summer 2020 publication), (Christopher A. Cooper, M.V. Hood III, Scott
       Huffmon, H. Gibbs Knotts, and Seth C. McKee, co-authors).
2019 “Ready for Hillary: Sexism in the Evaluations of the 2016 Presidential Candidates,” in The
       Forum 17(2): 295-313, (Rachel Bitecofer and Michelle Barnello, co-authors).
2015 “Tea Leaves and Southern Politics: Explaining Tea Party Support Among Southern
       Republicans” in Social Science Quarterly 96: 96-112, (M.V. Hood III and Irwin L.
       Morris, co-authors).
2015 “Race and the Tea Party in the Old Dominion: Split-Ticket Voting in the 2013
       Virginia Elections” in PS: Political Science and Politics 48: 107-114, (M.V. Hood III and
       Irwin L. Morris, co-authors).
2008 “Two Sides of the Same Coin? Employing Granger Causality Tests in a Time
       Series Cross-Section Framework” in Political Analysis 16:324-344, (M.V. Hood III and
       Irwin L. Morris, co-authors).
2008 “The Real (lack of) Difference Between Republicans and Democrats: A Computer Word
       Score Analysis of Party Platforms, 1996-2004” in PS: Political Science and Politics
       41:519-525.
2007 “Black Voters, Black Candidates, and Social Issues: Does Party Identification Matter?”


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        Social Science Quarterly, 88: 165-176, (Herman Diggs, Mehreen Farooq, and Megan
       Murray, three student co-authors).
2003 “A Report on the Reintroduction of the Elephas maximus in the Southern United States:
       Explaining the Rise of Republican State Parties, 1960-2000.” American Politics Research
       31: 1-34, (M.V. Hood III and Irwin L. Morris, co-authors).
2001 “The Key Issue: Constituency Effects and Senatorial Roll Call Voting on Civil Rights."
       Legislative Studies Quarterly 26: 599-621, (M.V. Hood III and Irwin L. Morris, co
       -authors).
1999 “Of Byrd[s] and Bumpers: Using Democratic Senators to Analyze Political Change in the
       South, 1960-1995." American Journal of Political Science 43: 465-487, (M.V. Hood III
       and Irwin L. Morris, co-authors).
1997 “More on Postmaterial Values and the Environment." Social Science Quarterly 78: 36-43,
       (Aie-Rie Lee, co-author).
1997 "Postmaterial Values and the Environment: A Critique and Reappraisal." Social Science
       Quarterly 78: 1-15 (Aie-Rie Lee, co-author).

       Double-blind Reviewed Articles on the Discipline and the Scholarship of Teaching (3):
2006 “Civic and Political Leadership Education.” Academic Exchange Quarterly, 10: 77-81, (R.
        Marc Johnson, Sean O’Brien, and Thomas Shields, co-authors).
1999 “Texas Graduate Programs in Political Science: A Research Note." Texas Journal of
       Political Studies 21: 65-71, (Nelson C. Dometrius, M.V. Hood III, and Kurt A. Shirkey,
       co-authors).
1998 “Bugs in the NRC’s Doctoral Program Evaluation Data: From Mites to Hissing
       Cockroaches." PS: Political Science & Politics 31:829-835, (Nelson C. Dometrius, M.V.
       Hood III, and Kurt A Shirkey, co-authors).

       Peer Reviewed Book Chapters (7):
2012 “Partisan Change in the American South: From Radical Fringe to
       Conservative Mainstream.” In Oxford Handbook of Southern Politics, Charles S.
       Bullock, III and Mark J. Rozell, editors. New York: Oxford University Press. (M.V.
       Hood III and Irwin Morris, co-authors).
2011 “The Rintroduction of Elephas Maximus to the Southern United States: The Rise of
       Republican State Parties (Updated).” In Controversies in Voting Behavior, 5th ed. Richard
       Niemi, Herbert Weisberg and David Kimball, eds. Washington, DC: Congressional
       Quarterly. (M.V. Hood III and Irwin Morris, co-authors).
2004 How It Happened! The 2004 Race for the White House as Reported by The New York
        Times. New York: Longman. (A supplement with commentary bound in all 2004
       editions of Longman’s American Government: Continuity and Change.)
1999 "Virginia's Governor: Curator of the Political Museum Piece." In Quentin Kidd, ed.,
       Government and Politics in Virginia: The Old Dominion at the 21st Century. Needham
       Heights, MA: Simon & Schuster (Laura Van Assendelft, co-author).
1999 "The General Assembly: Coping with Change and Tradition." In Quentin Kidd, ed.
       Government and Politics in Virginia: The Old Dominion at the 21st Century. Needham
       Heights, MA: Simon & Schuster (Connie Jorgensen, co-author).
1997 "Environmental Policy in Texas: Opportunities and Challenges for the 21st Century." In
       Mark Somma, ed., Texas Policy and Politics. Needham Heights, MA: Simon & Schuster



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       (Evan J. Ringquist, co-author).
1997 "Black Gold and Texas Tea: The Energy Industry in Texas." In Mark Somma, Ed., Texas
       Policy and Politics. Needham Heights, MA: Simon & Schuster (Evan J. Ringquist, co-
       author).

Research Reports (14)                                                           * Grant Funded
2019, “Feasibility Study of Retirement Savings Programs for Virginia.” Wason Center for Public
       Policy, Christopher Newport University, Newport News, Virginia.*
2018, “Understanding Hampton Roads: A Snapshot of What We Care About.” Wason Center for
       Public Policy, Christopher Newport University, Newport News, Virginia.*
2017, “Public Opinion & Environmental Policy in the Commonwealth.” Wason Center for
       Public Policy, Christopher Newport University, Newport News, Virginia, with Rachel
       Bitecofer & Katelyn Hoisington.*
2016, “The Cost of Retiring in Virginia.” Wason Center for Public Policy, Christopher Newport
       University, Newport News, Virginia, with Jia Yu.*
2015, “Virginia Millennials Come of Age.” Wason Center for Public Policy, Christopher
       Newport University, Newport News, Virginia, with Tom Kramer & Sarah Miller.
2015, “Commonwealth of Contrasts: A Political Typology of the Virginia Electorate.” Wason
       Center for Public Policy, Christopher Newport University, Newport News, Virginia, with
       Tom Kramer and Sarah Miller.
2014, “Envision Hampton Roads.” Wason Center for Public Policy, Christopher Newport
       University, Newport News, Virginia, with Chris Bonney.*
2014, “Results of the 2013-2014 Virginia Hunter Survey.” Wason Center for Public Policy,
       Christopher Newport University, Newport News, Virginia.*
2014, “Results of the 2013-2014 Virginia Trapper Harvest Survey.” Wason Center for Public
       Policy, Christopher Newport University, Newport News, Virginia.*
2014, “Results of the 2013-2014 Virginia Waterfowl Hunter Survey.” Wason Center for Public
       Policy, Christopher Newport University, Newport News, Virginia.*
2014, “South Hampton Roads Midtown and Downtown Tunnels Tolls Survey.” Wason Center
       for Public Policy, Christopher Newport University, Newport News, Virginia.*
2013, “Offshore Wind Energy: Regulations and Market Distortions in the EU and US.”
       Christopher Newport University, Newport News Virginia, with Thomas Hall.*
2013, “A Report on the Views of Newport News Residents of the Virginia Living Museum and
       the City’s Arts and Cultural Attractions.” Wason Center for Public Policy, Christopher
       Newport University, Newport News, Virginia.*
2010, “The Present and Future of Transportation in Hampton Roads.” Wason Center for Public
       Policy, Christopher Newport University, Newport News, Virginia.*

Invited, Commissioned, and other Non-refereed Essays and Chapters (14):
2017, “How to win elections under Trump? Democrats may have figured it out.” November 10.
        The Washington Post, B1, with Rachel Bitecofer.
2016, “Students Are Inconsistent Voters for a Reason.” New York Times. March 22, 2016.
        http://www.nytimes.com/roomfordebate/2016/03/22/do-college-students-votes-really-
        matter-in-an-election.
2015, “Afterword.” In Mark Warner the Dealmaker: From Business Success to the Business of
         Governing, Will Payne, Mt. Pleasant, SC: The History Press.



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2014, “Virginia’s Ethics Rules for Public Officials: The Need for Reform” The Virginia News
       Letter Vol. 90 (1), with Meyrem Baer.
2014, “Bob and Maureen McDonnell: Middle Class in the Governor’s Mansion.” January 23.
       The Washington Post, B1.
2012, “Accessible Redistricting,” Virginia Issues & Answers 17 (Winter): 10-11.
2010, “Civic Engagement: A Topic as Old as Jefferson and as New as Today,” Choice 47(May).
2008, “The Purpling of Virginia.” Richmond Times-Dispatch, E-1
2007, “Mitt Romney.“ San Diego Union-Tribune, G1.
2007 “Love Lost? Byrd-era Values and Suburban Virginia Voters.” New Dominion 1(3): 67-71.
2004 “The Virginia GOP’s Responsibility Gap.” April 4. The Washington Post, B1.
2003 “What We Don’t Hear May Be Bad For Our Democracy.” October 12. Newport News
       Daily Press, K1.
2003 “The Failed Transportation Tax: A Simple Message From Voters?” The Virginia News
       Letter Vol. 79 (1).
1996 “Verification/Replication: A Graduate Student's Perspective.” PS: Political Science &
       Politics 29(3):415.

Encyclopedic Entrees (8):
1996 “The Cold War” in George Kurian, ed., Encyclopedia of the Democratic Party. Armonk,
       NY: M.E. Sharpe, Inc.
1996 “Carl B. Albert” in George Kurian, ed., Encyclopedia of the Democratic Party. Armonk,
       NY: M.E. Sharpe, Inc.
1996 “Thomas S. Foley” in George Kurian, ed., Encyclopedia of the Democratic Party. Armonk,
       NY: M.E. Sharpe, Inc.
1996 “Franklin Pierce” in George Kurian, ed., Encyclopedia of the Democratic Party. Armonk,
       NY: M.E. Sharpe, Inc.
1996 “Henry T. Rainey” in George Kurian, ed., Encyclopedia of the Democratic Party. Armonk,
       NY: M.E. Sharpe, Inc.
1996 “The Cold War” in George Kurian, ed., Encyclopedia of the Republican Party. Armonk,
       NY: M.E. Sharpe, Inc.
1996 “Frederick H. Gillett” in George Kurian, ed., Encyclopedia of the Republican Party.
       Armonk, NY: M.E. Sharpe, Inc.
1996 “Thomas B. Reed” in George Kurian, ed., Encyclopedia of the Republican Party. Armonk,
       NY: M.E. Sharpe, Inc.

Other Non-refereed publications (1):
2001 LongmanParticipate.com – content author for Simulation and Comparative sections.

Book Reviews (19):
2007 Devolution and Black State Legislators, by Tyson King-Meadows and Thomas F. Schaller.
       Perspectives on Politics 5(4): 829-830.
2007 A New Kind of Engagement?, by Cliff Zukin, et al. Choice 45 (March).
2007 Common Ground: Committee Politics in the U.S. House of Representatives, by John
       Baughman. Choice 45 (March).
2006 Politics in the New South, edited by Charles E. Menified and Stephen D. Shaffer. Choice
       44 (March).



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2005 Senate Procedures and Practices, by Martin B. Gold. Choice 43 (June).
2005 Counting Votes: Lessons From the 2000 Presidential Election in Florida, edited by Robert
       P. Watson. Choice 42 (January).
2003 Congress and Defense Spending: The Distributive Politics of Military Procurement, by
       Barry S. Rundquist and Thomas M. Carsey. Choice 41 (September).
2002 Change and Continuity in the 2000 Elections, by Paul R. Abramson, John H. Aldrich, and
       David W. Rohde. Choice 40 (September).
2002 Government and Politics in Tennessee, by William Lyons, John m. Scheb, and Billy Stair.
       Choice 39 (June), 2002.
2001 Partisan Linkages in Southern Politics: Elites, Voters, and Identifiers, by Michael A.
       Maggiotto and Gary D. Wekkin. Choice 38 (February).
2001 Realignment and Party Revival: Understanding American Electoral Politics at the Turn of
       the Twenty-first Century, by Arthur Paulson. Choice 38 (January).
2000 Before the Vote: Forecasting American National Elections, by James E. Campbell and
       James C. Garand, eds. Choice 37 (June).
2000 Methods and Models A Guide to the Empirical Analysis of Formal Models in Political
       Science, by Rebecca B. Morton. Choice 37 (March).
2000 Assessing the New Federalism State Database. Web Site. Choice 37 (January).
1999 Opensecrets. Web Site. Choice 36 (Special Supplement III) p. 182.
1999 Short of the Glory: The Fall and Redemption of Edward F. Prichard Jr., by Tracy
       Campbell. Choice 36 (March).
1999 Tennessee Government and Politics: Democracy in the Volunteer State, by John R. Vile
       and Mark Byrnes, eds. Choice 36 (February).
1999 Center for Responsive Politics. Web Site. Choice 36 (February).
1995 On The Make: The Rise of Bill Clinton, by Meredith L. Oakley. Texas Journal of Political
       Studies 17(Spring/Summer): 84.

                                    WORK IN PROGRESS:
“License to Drive” – in the early stages of a book-length study examining the evolution of the
      driver’s license from a sheet of paper giving permission to operate a modernized vehicle
      in the early 1900s to effectively a national identification card containing federally
      mandated biometric information today.


  PAPERS AND ACTIVITIES AT PROFESSIONAL MEETINGS (most recent 10 of 45):
“Polarized Politics and Evaluation Criteria for Supreme Court Nominees: Lessons from the Gorsuch
        Nomination.” (with Rachel Bitecofer and Rich Vining). Presented at the Annual Meeting of
        the American Political Science Association, August 2018.
“Polarized Politics and Evaluation Criteria for Supreme Court Nominees: Lessons from the Gorsuch
        Nomination.” (with Rachel Bitecofer and Rich Vining). Paper presented at the Annual
        Meeting of the Western Political Science Association, April 2018.
 “It’s Not the Message: Partisan Cues in a Polarized Era.” (with Rachel Bitecofer). Paper presented at
         the Annual Meeting of the Southern Political Science Association, January 2018.
 “Seeing is Believing: The Role of Geographic Proximity in Mitigating Partisan Attitudes Toward
        Environmental Issues.” (with Rachel Bitecofer and Andrew Kirkpatrick). Paper presented at
        the Annual Meeting of the Southern Political Science Association, January 2018.
 “Ready for Hillary: Sexism in the Evaluations of the 2016 Presidential Candidates.” (with Rachel


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        Bitecofer and Michelle Barnello). Paper presented at the Annual Midwest Political Science
        Association Conference, April 2017.
 “Electoral Implications of Racial Resentment in the South (and Beyond): The Case of Clinton v.
        Trump” (with M.V. Hood and Irwin L. Morris). Paper presented at the Annual Meeting of the
        American Political Science Association, Philadelphia, PA, September 1-4, 2016.
“Candidate Race and Perceptions of Candidate Ideology: The Tea Party, Racial Resentment, and the
        2014 Elections in the Palmetto State” (with M.V. Hood and Irwin L. Morris). Paper presented
        at the Citadel Symposium on Southern Politics. Charleston, SC, March 3-4, 2016.
“Racial Resentment and the Tea Party: Taking Regional Differences Seriously” (with M.V. Hood
        and Irwin L. Morris). Poster presented at the Annual Meeting of the American Political
        Science Association, Chicago, IL, September 2-5, 2015.
“Millennial Civic Engagement” (with students Sarah Miller and Dagney Palmer). Poster presented at
        the Annual Meeting of the Midwest Political Science Association, Chicago, IL, April 7-10,
        2015.
“Race and the Tea Party in the Palmetto State: Tim Scott, Nikki Haley, Bakari Sellers and the 2014
        Elections in South Carolina” (with M.V. Hood and Irwin L. Morris). Paper presented at the
        Annual Meeting of the Southern Political Science Association Meeting, New Orleans, LA,
        January 15-17, 2015.

                   SURVEY RESEARCH AND SURVEYS CONDUCTED:
Conducted nearly 100 regional, statewide, and national surveys focusing on politics and public
policy topics for public consumption, media organizations, and research.

                   DETAILS ON GRANTS FOR RESEARCH (≈$365,000):
Hampton Roads Transportation Planning Organization ($15,978) to conduct a survey of users of
       the Capital to Capital bike trail in Williamsburg, Virginia, 2019.
Hampton Roads Community Foundation ($25,000) to conduct a regional forward-looking quality
       of life survey in Hampton Roads, Virginia, 2018.
AARP Work and Save Study #CNT0009935 ($50,000) to conduct an economic analysis of the
       cost of establishing a work and save program in Virginia, 2018.
AARP Retirement Study #CNT0006626 ($8,000) to conduct an economic analysis of the
       projected cost to live in retirement in Virginia over the next 10 years, 2016.
Virginia Environmental Endowment Grant #16-15 ($13,500) to conduct a statewide survey
       of Virginia residents on environmental attitudes, 2016.
Hampton Roads Planning District Commission ($29,000) to conduct a region-wide survey
        focusing on public policy values and preferences, 2015.
Virginia Department of Game and Inland Fisheries ($79,000) to conduct surveys of hunters
       and trappers in Virginia, 2014.
Dominion Resources Renewable Portfolio Standards Research and Development Partnership
       ($50,000) for “Overview of Offshore Wind Energy in the United States and the European
       Union (Tom Hall, Co-Principle Investigator), 2012.
Hampton Roads Transportation Planning Organization ($40,000) to conduct focus groups in
       Hampton Roads on transportation, 2010.
Virginia Environmental Endowment Grant #08-11 ($40,000) to conduct the Virginia
       Environmental Attitudes Survey, 2009, 2010, and 2011.

Faculty Research Grant ($1, 945) from Christopher Newport University for “Words as


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       Data: Determining the Ideological Position of Political Parties from Convention
       Acceptance Speeches”, 2004.
Faculty Research Grant ($1,750) from Christopher Newport University for “Race as an
       Issue in Southern Gubernatorial Races: 1950-2000”, 2001.

                                     EXPERT WITNESS
Holloway v. City of Virginia Beach, No. 2:18-cv-00069 (2019)
Jabbour v. Merrill, No. 1:20-cv-00034-JB-N (2020)
People First of Alabama v. Merrill, No 2:20-cv-00619-AKK (2020)
Clark v. Edward, No 20-cv-308-SDD-RLB and Power Coalition v. Edward, No. 20-cv-283-
SDD-RLB (2020)
Harding v. Edwards, No 3:20-cv-00495-SDD-RLB (2020)
Thompson v. Merrill, No 2:15-cv-783-ECM-SMD (2020)

      TEACHING AREAS OF INTEREST/SPECIALIZATION (undergraduate):
American Politics: American Politics, Political Behavior, Virginia Politics, Political Parties,
                   Political Campaigns and Elections, and Virginia Government and Politics.
Methodology:       Methods of Social Science Research, Quantitative Analysis

                       TEACHING AND RELATED EXPERIENCE:
Courses Taught:
GOVT 100 Political Thought and Society, Christopher Newport University.
GOVT 101 Power and Politics in America, Christopher Newport University.
GOVT 202 State and Local Politics, Christopher Newport University.
GOVT 351 Methods and Tools of Social Science Research, Christopher Newport University.
GOVT 352 Research Methods and Quantitative Analysis, Christopher Newport University.
GOVT 363 Judicial Process, Christopher Newport University.
GOVT 354 Political Campaigns and Elections, Christopher Newport University.
GOVT 333 Legislative Politics, Christopher Newport University.
GOVT 344 The Presidency, Christopher Newport University.
GOVT 454 American Political Behavior, Christopher Newport University.
GOVT 552 Advanced Quantitative Analysis (graduate), Christopher Newport University.
HONR 490 Problems in the Modern World, Christopher Newport University.
HONR 335: The Good Society, CNU study abroad course at Harris Manchester College,
University of Oxford.
                              ACTIVITIES AND SERVICES:
To Community:
Board Member, United Jewish Community of the Virginia Peninsula, 2020 to present
        (Newport News, Virginia)
Board Member, Riverside Regional Health System Foundation, 2019 to present (Newport
       News, Virginia)
Committee member, 757 Recovery & Resilience Action Framework Committee, Hampton
       Roads Alliance, 2019 to present (Norfolk, Virginia)
Member, Governance/Funding Working Group of Hampton Roads Transit, 2019 to present
       (Norfolk, Virginia).
Board Member, Rodef Sholom Temple, 2019 to present (Newport News, Virginia).



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Committee member, Logistics Committee of the 2019 Commemoration Steering Committee,
        2016 to present (Virginia statewide).
Advisor, Independent Bipartisan Advisory Commission on Redistricting (appointed by
        Governor Bob McDonnell, the commission’s job was to propose new redistricting maps
        to the Governor and General Assembly), January 2011 to April 2011 (Virginia
        statewide).
Board Member, Hampton Roads Center for Civic Engagement (a non-partisan organization
        to promote greater citizen participation in politics and public policy in Hampton Roads,
        Virginia), 2007 to 2012 (Hampton Roads regional).
Board Member, Blogs United (a non-partisan organization to promote ethical behavior in the
        pursuit of citizen participation in the political process), 2008 to 2015 (Virginia statewide).
Appointed to (elect chair January 2005) the Governor’s Commission on National and
        Community Service, April 2002 (appointed by Governor Mark Warner and reappointed
        2003, 2004, and 2005) (statewide).
Faculty Chair, College Leaders Program of the Sorensen Institute at The University of Virginia,
        1999-2016.
Invited speaker, approximately four dozen invited talks per year, locally to statewide and
        Washington D.C.
Guest and/or quoted in various local, regional, national and international radio and television on
        topics related to elections, politics, and public policy.

To Department & University:
University Budget Advisory Committee, Christopher Newport, 2010-2014 & 2017 to present.
Chair, Luter School of Business Dean Search Committee, Christopher Newport University,
        2015.
Chair, Provost Search Committee, Christopher Newport, 2014.
Chair, Liberal Learning Core Curriculum Task Force, Christopher Newport, 2011-2012.
Chair, Department of Government, Christopher Newport, 2008-2014.
Member, American Studies Development Committee, Christopher Newport, 2005-2006.
Coordinator, Prestigious Scholarships Mentoring Program, Christopher Newport, 2003-present.
Co-Chair, Faculty Council on Liberal Learning, Christopher Newport, 2004-2006.
Senator, Faculty Senate of Christopher Newport, 2000-2006 (member of
        Executive Committee 2002-2003 and 2005-2006, Secretary 2003-2004 academic year).
Co-Chair, Task Force on Curriculum and Academic Life, Christopher Newport, 2002-2004.
Dean William Parks Colloquia, Christopher Newport, fall 2000-spring 2004 (Chair 2001-2004).
Member, Undergraduate Degrees Committee, Christopher Newport, 1998-2002.
Member, Committee for the Library of the 21st Century, Christopher Newport, 2001-2002.
Member, General Education Council, Christopher Newport, 1999-2002.
Member, Online Faculty Advisory Committee, Christopher Newport, 1999-2001.
Member, Student Assessment Committee, Christopher Newport, 1999-2000.
Member, International Studies Committee, Christopher Newport, 1998-2000.
Served as member of over three dozen search committees at Christopher Newport.

To Discipline:
Served on Executive Committee of the Undergraduate Education Division of the American
       Political Science Association, 2004-2013 [Treasurer, 2007-2013].



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Served on Annual Meetings Committee of the American Political Science Association,
       2006-2008.
Book Review Editor, Journal of Political Science Education, Fall 2005-2012.
Division Chair for the Undergraduate Education Division of the 2005 American Political Science
       Association Annual Meeting, Washington, D.C., September 1-4, 2005.
Grader, American Government Advanced Placement exam, Summers 2002 and 2004.
Book and web page reviewer for Choice, 1998-2011.
Manuscript reviewer for Legislative Studies Quarterly, Social Science Quarterly, American
       Journal of Political Science, American Politics Quarterly, and the Journal of Politics,
       October 1996 to present.

                       RECENT PROFESSIONAL MEMBERSHIPS:
Council of Colleges of Arts and Sciences, American Conference of Academic Deans, American,
Southern, Southwestern, and Midwestern Political Science Associations, American Association
of Public Opinion Researchers, Virginia Association of Political Scientists.

                                  AWARDS AND HONORS:
Outstanding Faculty Award, State Council of Higher Education for Virginia, 2014 (extremely
        competitive statewide)
Annual Faculty Award for Excellence in Scholarship, Christopher Newport University, 2013
       (given annually by the University Provost – nominated by faculty committee).
Dr. Wolfgang Pindur Award for Service in Academia and Practice, 2013 (given annually by the
       Hampton Roads chapter of the American Society of Public Administration).
Alumni Society Award for Excellence in Teaching and Mentoring, Christopher Newport
       University, 2008 (annually awarded to one member of the faculty – nominated by chair
       or dean and selected by panel of alumni).
Professor of the Year, Christopher Newport University, 2002-2003, 2003-2004, 2005-2006
       (annual award to one member of the faculty - nominated and selected by students).
Honored by the American Political Science Association at its annual meeting in 2002, 2003, and
       2006 for teaching.




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        Response and Supplemental Declaration of Quentin Kidd

1. This is a response to the supplemental and rebuttal expert reports to my original declaration

submitted on 29 September, 2021.



2. In this response and supplemental declaration I:

   •   Respond to the contention that I do not use standard methods of political science and

       social science. In particular I briefly describe the methods of process tracing and typology

       analysis;

   •   Briefly respond to the criticism that I did not include historical context, contemporary

       debate, effects, or motives in my analysis. I explain that my task was narrowly assigned

       and focused on those specific questions outlined, and it was to this task that I stayed

       narrowly focused;

   •   Briefly respond to the criticism that I did not categorize states accurately that had allowed

       the use of Dropboxes under temporary public health measures. I explain that my focus

       was on categorizing state’s Dropbox rules according to their permanent laws, not their

       temporary public health measures. I also note that the third category on Table 3 could be

       more accurately labeled ‘no enabling legislation’; and

   •   Briefly respond to the criticism that I did not include citations for all statutes used to

       develop typologies by providing those citations.




                                                                                             M. McDonald
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                                         Standard Methods

3. Plaintiff’s experts contend that I do not employ standard methods used by political scientists

and social scientists in my report. This is simply wrong.



4. In examining changes to Florida’s absentee voting rules and early voting rules, I employ a

very simple method of descriptive within-case process tracing.1 I focus very narrowly on these

two statutes and the evolution of their wording from the mid-1990s to present. Tracking status

changes of laws over time, whether focusing descriptively and narrowly on the text of the statute

(such as what I do in sections IV and V of my report) or also including analysis of the political

and social conditions is a common method in the social sciences. My narrow focus was driven by

the questions I was tasked with addressing.



5. In sections IV through XI of my report, where I compare parts of SB90 with the other fifty

states and the District of Columbia, I employ a well-established analytic tool in the social

sciences called Typologies. Typologies, commonly defined as organized systems of types, have a

long history in the social sciences. Among the best-known works, for instance, include Weber’s

(1978) distinction among traditional, charismatic, and rational authority and Carmines and

Stimpson’s (1980) distinctions among no-issue, easy-issue, hard-issue, and constrained-issue

voters.2



1
  See David Collier (2011) “Understanding Process Tracing,” PS: Political Science and Politics 44 (4): 823-830 for
a broad description of the method.
2
  See Max Weber (1978) Economy and Society, Berkeley: University of California Press and Edward G. Carmines
and James A. Stimson (1980) “The Two Faces of Issue Voting,” American Political Science Review 74:78-91.


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6. Simply put, process tracing and typologies are well-established methods of qualitative political

science and social science research.



                                                  Context

7. Plaintiff’s experts criticize my report for not providing historical context, contemporary

debate, effects, or motives. My task was narrowly assigned and focused on those specific

questions outlined in section II of my declaration, and it is on those questions that my report is

focused. I was not asked to, nor did I conduct, any analysis beyond those specific questions.



8. Additionally, plaintiff’s experts contend my analysis of Dropbox availability is wrong because

I did not consider states that implemented public health exceptions related to the COVID-19

pandemic in my analysis. Again, my task was to examine the permanent laws as they related to

Dropbox usage and not the temporary public health exceptions. I recognize that many states

provided temporary exceptions due to the COVID-19 pandemic. I also note that the third

category on Table 3 could be more accurately labeled ‘no enabling legislation’ rather than

‘prohibited’, as I’ve also noted in the citations below.



                                                 Citations

9. Plaintiff’s experts criticized the lack of individual source citations for every state’s code for

every table in the typology analysis. Thus, individual source citations to those individual code



Another very well-known study that relies on the method of typologies is Robert A. Dahl’s (1971) Polyarchy:
Participation and Opposition, New Haven: Yale University Press.


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sections analyzed in my original report are included below (embedded links should be available

for most of these):


Use of drop boxes (Table 3):

Required:
Colorado: Colo. Rev. Stat. § 1-5-102.9 (2020).
Florida: Fla. Stat. §101.69 (2020).
Georgia: SB 202 (2021),
Kentucky: https://apps.legislature.ky.gov/law/statutes/statute.aspx?id=51650. See also: HB 574
(2021).
Maryland: MD SB 683 (2021).
Nebraska: Neb. Rev. Stat. § 32-960 (2020).
New Jersey: N.J. Stat. Ann. § 19:63-16.1 (2021).
Oregon: Or. Rev. Stat. § 254.470 (2019).
Virginia: Ch. 522 of 2021 Laws (SB 1245).
Washington: Wash. Rev. Code § 29A.40.170 (2020).

Allowed:
Arizona: Ariz. Rev. Stat. §§ 16-548, 16-550, 16-579, 16-584 (2021). Also see: Arizona Secretary
of State, Elections Procedures Manual (2019).
California: Cal. Elec. Code §§ 3025, 20132, 20133, 20134, 20135, 20136, 20137 (2021).
Hawaii: Haw. Rev. Stat. § 11-109; § 11-1, § 11-B, § 11-I.
Illinois: 10 Ill. Comp. Stat. 5 / 1-1 (2020) (as amended by Public Act 102-0001).
Indiana: Ind. Code § 3-11-10-24. See also: SB 398 (2021).
Iowa: Iowa Code § 53.17 (2021). See also: IA SF 413 (2021).
Massachusetts: Election Advisory #20-01: Regarding Return of Ballots via Secured Drop Box
(Aug. 17, 2020).
Michigan: Mich. Comp. Laws § 168.761d (2020).
Minnesota: Minn. R. 8210.3000 Subp. 9 (2016).
Montana: Mont. Code Ann. § 13-19-307 (2011).
New Mexico: N. M. Stat. §1978, § 1-6-9 (2021).
Pennsylvania: Pennsylvania Department of State, Absentee and Mail-in Ballot Return Guidance.
Utah: Utah Code Ann. § 20A-3a-204 (2020).
Vermont: Vt. Stat. Ann. tit. 17, § 2506 (2021).

Prohibited (No Enabling Legislation):
Alabama: No enabling statute.
Alaska: No enabling statute.
Arkansas: No enabling statute.
Connecticut: No enabling statute.
Delaware: No enabling statute.
Idaho: No enabling statute – see:
https://legislature.idaho.gov/statutesrules/idstat/title34/t34ch10/sect34-


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1005/#:~:text=34%2D1005.,Return%20of%20absentee%20ballot.&text=He%20shall%20safely
%20keep%20and,central%20count%20ballot%20processing%20center.
Kansas: No enabling statute.
Louisiana: No enabling statute.
Maine: No enabling statute – see: https://www.mainelegislature.org/legis/statutes/21-a/title21-
Asec754-A.html.
Mississippi: No enabling statute.
Missouri: No enabling statute.
Nevada: Prohibited except when a state of emergency (affected election) is in effect – see:
https://www.leg.state.nv.us/nrs/nrs-293.html#NRS293Sec8861.
New Hampshire: No enabling statute.
New York: No enabling statute – see: https://www.nysenate.gov/legislation/laws/ELN/8-412.
North Carolina: No enabling statute.
North Dakota: No enabling statute.
Ohio: No enabling statute.
Oklahoma: No enabling statute.
Rhode Island: No enabling statute.
South Carolina: No enabling statute.
South Dakota: No enabling statute.
Tennessee: No enabling statute.
Texas: No enabling statute.
District of Columbia: No enabling statute.
Wisconsin: No enabling statute – see: https://docs.legis.wisconsin.gov/statutes/statutes/6/iv/855.
Wyoming: No enabling statute.
West Virginia: No enabling statute.

Third-Party Ballot Collection Rules (Table 4):
Only voters may return ballots:
Alabama: https://codes.findlaw.com/al/title-17-elections/al-code-sect-17-11-9.html.
Oklahoma: https://oksenate.gov/sites/default/files/2019-12/os26.pdf (at page 136).
Pennsylvania: https://codes.findlaw.com/pa/title-25-ps-elections-electoral-districts/pa-st-sect-25-
3146-6.html.
Tennessee: https://codes.findlaw.com/tn/title-2-elections/tn-code-sect-2-6-202.html.

Emphasis on voter with some exceptions for family, officials, or defined associates (limits):
Alaska: https://law.justia.com/codes/alaska/2011/title15/chapter15-20/sec-15-20-072/ and
https://law.justia.com/codes/alaska/2011/title15/chapter15-20/sec-15-20-081/.
Arizona: https://www.azleg.gov/ars/16/01005.htm.
Connecticut: https://cga.ct.gov/current/pub/chap_145.htm#sec_9-140b.
District of Columbia: https://casetext.com/regulation/district-of-columbia-administrative-
code/title-3-elections-and-ethics/chapter-3-7-election-procedures/rule-3-722-emergency-
absentee-ballots.
Georgia: https://codes.findlaw.com/ga/title-21-elections/ga-code-sect-21-2-385.html.
Indiana: https://codes.findlaw.com/in/title-3-elections/in-code-sect-3-11-10-1.html.




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Massachusetts:
https://malegislature.gov/Laws/GeneralLaws/PartI/TitleVIII/Chapter54/Section92.
Michigan:
http://www.legislature.mi.gov/(S(kcyssdemm33nf2gynuc4zayv))/mileg.aspx?page=GetMCLDoc
ument&objectname=mcl-168-764a.
Missouri: https://revisor.mo.gov/main/OneSection.aspx?section=115.291&bid=48335.
Montana: https://leg.mt.gov/bills/mca/title_0130/chapter_0350/part_0070/section_0030/0130-
0350-0070-0030.html.
Nevada: https://www.leg.state.nv.us/nrs/nrs-293.html#NRS293Sec353.
New Hampshire: http://www.gencourt.state.nh.us/rsa/html/LXIII/657/657-17.htm.
New Mexico: https://nmml.org/wp-content/uploads/2011/08/2019-Election-Code-Searchable-
PDF-by-NM-Clerks-v1.pdf (at page 80).
North Carolina: https://www.ncsbe.gov/voting/vote-mail/faq-voting-mail-2021#may-another-
person-return-my-absentee-ballot-for-me.
Ohio: https://codes.ohio.gov/ohio-revised-code/section-3509.05.
Texas: https://codes.findlaw.com/tx/election-code/elec-sect-86-006.html.
Virginia: https://law.lis.virginia.gov/vacode/title24.2/chapter7/section24.2-705/.

Third parties may collect/return ballots (limits):
Arkansas: https://codes.findlaw.com/ar/title-7-elections/ar-code-sect-7-5-403.html.
California: https://california.public.law/codes/ca_elec_code_section_3017.
Colorado: https://codes.findlaw.com/co/title-1-elections/co-rev-st-sect-1-7-5-107.html.
Delaware: https://law.justia.com/codes/delaware/2019/title-15/chapter-55/section-5507/.
Florida: Florida Statutes Title IX Section 101.051, 2021
Illinois: https://ilga.gov/legislation/ilcs/documents/001000050K19-5.htm and
https://ilga.gov/legislation/ilcs/documents/001000050K19-6.htm
Iowa: https://www.legis.iowa.gov/DOCS/IACODE/2001/53/17.html.
Kansas: https://codes.findlaw.com/ks/chapter-25-elections/ks-st-sect-25-1128.html.
Kentucky: https://apps.legislature.ky.gov/law/statutes/statute.aspx?id=51651.
Louisiana: https://law.justia.com/codes/louisiana/2016/code-revisedstatutes/title-18/rs-18-1308/.
Maine: https://www.mainelegislature.org/legis/statutes/21-A/title21-Asec753-B.html.
Maryland: https://codes.findlaw.com/md/election-law/md-code-elec-law-sect-9-307.html.
Minnesota: https://www.revisor.mn.gov/statutes/cite/203B.08.
Nebraska: https://nebraskalegislature.gov/laws/statutes.php?statute=32-943.
New Jersey: https://nj.gov/state/dos-statutes-elections-19-60-63.shtml#ele_19_63_9 and
https://nj.gov/state/dos-statutes-elections-19-60-63.shtml#ele_19_63_16.
North Dakota: https://www.legis.nd.gov/cencode/t16-1c07.pdf#nameddest=16p1-07-07.
Oregon: https://oregon.public.law/statutes/ors_254.470 and
https://oregon.public.law/statutes/ors_260.695.
South Carolina: https://www.scstatehouse.gov/code/t07c015.php (at 385)
South Dakota: https://sdlegislature.gov/Statutes/Codified_Laws/2040881 and
https://sdlegislature.gov/Statutes/Codified_Laws/2040894.
West Virginia: https://code.wvlegislature.gov/3-3-5/.

No restrictions specified / minimal restrictions
Hawaii: No restrictions in statutes.



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Idaho: No restrictions in statutes.
Mississippi: No restrictions in statutes.
New York: No restrictions in statutes.
Rhode Island: http://webserver.rilin.state.ri.us/Statutes/TITLE17/17-20/17-20-23.HTM.
Utah: No restrictions in statutes.
Vermont: No restrictions in statutes.
Washington: No restrictions in statutes.
Wisconsin: No restrictions in statutes.
Wyoming: No restrictions in statutes.

Third-Party Voter Registration Rules (Table 5):

Source data for Table 5, as indicated in footnotes 34 and 36 of my original report, comes from
nationalvoterregistrationday.org, which has available a fact sheet for each state related to, in part,
third-party voter registration rules.

Absentee Ballot Application Verification Rules (Table 6):

No absentee ballot application required (all-mail elections):
Colorado: https://leg.colorado.gov/sites/default/files/images/olls/crs2020-title-01.pdf (at 416).
Hawaii: https://law.justia.com/codes/hawaii/2019/title-2/chapter-15/section-15-2/.
Oregon: https://www.oregonlegislature.gov/bills_laws/ors/ors253.html.
Utah: https://le.utah.gov/xcode/Title20A/Chapter3A/20A-3a-
S202.html#:~:text=Conducting%20election%20by%20mail.,-
(1)&text=Except%20as%20otherwise%20provided%20for,in%20accordance%20with%20this%
20section.&text=maintain%20the%20signatures%20on%20file%20in%20the%20election%20of
ficer's%20office.
Washington: https://app.leg.wa.gov/rcw/default.aspx?cite=29A.40.010.

Minimal verification:
Alaska: https://www.elections.alaska.gov/doc/prpsa/APPENDIX_D-1.pdf.
District of Columbia:
https://www.dcregs.dc.gov/Common/DCMR/SectionList.aspx?SectionNumber=3-720.
North Dakota: https://www.legis.nd.gov/cencode/t16-1c07.pdf#nameddest=16p1-07-12.
Vermont: https://legislature.vermont.gov/statutes/section/17/051/02542.

Information and eligibility checked against voter registration records:
Florida:
http://www.leg.state.fl.us/statutes/index.cfm?App_mode=Display_Statute&Search_String=&UR
L=0100-0199/0101/Sections/0101.65.html.
Kansas: https://www.ksrevisor.org/statutes/chapters/ch25/025_011_0022.html.
Maine: https://www.mainelegislature.org/legis/statutes/21-A/title21-Asec754-A.html and
https://www.mainelegislature.org/legis/statutes/21-A/title21-Asec756.html.
Maryland: https://codes.findlaw.com/md/election-law/md-code-elec-law-sect-9-310.html.
Minnesota: https://www.revisor.mn.gov/statutes/cite/203B.07.
Nebraska: https://nebraskalegislature.gov/laws/statutes.php?statute=32-947.


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Nevada: https://www.leg.state.nv.us/nrs/nrs-293.html#NRS293Sec325.
New Mexico: https://nmml.org/wp-content/uploads/2011/08/2019-Election-Code-Searchable-
PDF-by-NM-Clerks-v1.pdf (at 13, 156, 157, and 161).
North Carolina:
https://www.ncleg.gov/EnactedLegislation/Statutes/PDF/BySection/Chapter_163/GS_163-
231.pdf.
Ohio: https://codes.ohio.gov/ohio-revised-code/section-3509.03.
Oklahoma: https://oksenate.gov/sites/default/files/2019-12/os26.pdf (at 135).
South Dakota: https://sdlegislature.gov/Statutes/Codified_Laws/2040897.
Virginia: https://law.lis.virginia.gov/vacode/title24.2/chapter7/section24.2-706/ and
https://law.lis.virginia.gov/vacode/title24.2/chapter7/section24.2-707/.
Wisconsin: https://docs.legis.wisconsin.gov/statutes/statutes/6/iv/87.
Wyoming: https://wyoleg.gov/statutes/compress/title22.pdf (9-121 at 76)

Signature verification in addition to checking information and eligibility against voter
registration card:
Arizona:
https://www.azleg.gov/viewdocument/?docName=https://www.azleg.gov/ars/16/00547.htm,
https://www.azleg.gov/viewdocument/?docName=https://www.azleg.gov/ars/16/00550.htm, and
https://www.azleg.gov/viewdocument/?docName=https://www.azleg.gov/ars/16/00552.htm.
California:
https://leginfo.legislature.ca.gov/faces/codes_displaySection.xhtml?lawCode=ELEC&sectionNu
m=3019.
Georgia: https://codes.findlaw.com/ga/title-21-elections/ga-code-sect-21-2-385.html.
Idaho: https://legislature.idaho.gov/statutesrules/idstat/title34/t34ch10/sect34-1005/.
Iowa: https://www.legis.iowa.gov/DOCS/ACO/IC/LINC/Section.53.16.pdf and
https://www.legis.iowa.gov/DOCS/ACO/IC/LINC/Section.53.18.pdf.
Illinois: https://www.ilga.gov/legislation/ilcs/documents/001000050K19-8.htm.
Michigan:
http://www.legislature.mi.gov/(S(ylc3mvwwj2jii5gp2t0rji0b))/mileg.aspx?page=GetObject&obj
ectname=mcl-168-761.
Montana: https://leg.mt.gov/bills/mca/title_0130/chapter_0130/part_0020/section_0130/0130-
0130-0020-0130.html.
New Jersey: https://nj.gov/state/dos-statutes-elections-19-60-63.shtml#ele_19_63_17.
Pennsylvania: https://codes.findlaw.com/pa/title-25-ps-elections-electoral-districts/pa-st-sect-25-
3146-6.html.
Rhode Island: http://webserver.rilin.state.ri.us/BillText20/SenateText20/S2475.htm.

Voters must ‘qualify’ to vote absentee with an acceptable excuse:
Alabama: https://codes.findlaw.com/al/title-17-elections/al-code-sect-17-11-4.html,
https://codes.findlaw.com/al/title-17-elections/al-code-sect-17-9-30.html, and
https://codes.findlaw.com/al/title-17-elections/al-code-sect-17-11-7.html.
Arkansas: https://codes.findlaw.com/ar/title-7-elections/ar-code-sect-7-5-409.html.
Connecticut: https://cga.ct.gov/current/pub/chap_145.htm#sec_9-135.
Delaware: https://delcode.delaware.gov/title15/c055/index.html.
Indiana: https://codes.findlaw.com/in/title-3-elections/in-code-sect-3-11-10-24.html.



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Kentucky: https://apps.legislature.ky.gov/law/statutes/statute.aspx?id=51649.
Louisiana: http://legis.la.gov/legis/Law.aspx?d=81337.
Massachusetts:
https://malegislature.gov/Laws/GeneralLaws/PartI/TitleVIII/Chapter54/Section92 and
https://malegislature.gov/Laws/GeneralLaws/PartI/TitleVIII/Chapter54/Section94.
Mississippi: https://codes.findlaw.com/ms/title-23-elections/ms-code-sect-23-15-673.html.
Missouri:
https://revisor.mo.gov/main/OneSection.aspx?section=115.277#:~:text=Missouri%20Revisor%2
0of%20Statutes%20%2D%20Revised%20Statutes%20of%20Missouri%2C%20RSMo%20Secti
on%20115.277&text=(7)%20For%20an%20election%20that,acute%20respiratory%20syndrome
%20coronavirus%202..
New Hampshire: http://www.gencourt.state.nh.us/rsa/html/lxiii/657/657-mrg.htm.
New York: https://www.nysenate.gov/legislation/laws/ELN/8-410 and
https://www.nysenate.gov/legislation/laws/ELN/8-412.
South Carolina: https://www.scstatehouse.gov/code/t07c007.php (at 15-380)
Tennessee: https://codes.findlaw.com/tn/title-2-elections/tn-code-sect-2-6-201.html.
Texas: https://statutes.capitol.texas.gov/Docs/EL/htm/EL.82.htm.
West Virginia: https://codes.findlaw.com/wv/chapter-3-elections/wv-code-sect-3-3-1.html.


Absentee Ballot Requesting Rules (Table 7):

No excuse permanent absentee voting for all-mail elections:
Arizona: https://www.azleg.gov/ars/16/00544.htm.
California: https://codes.findlaw.com/ca/elections-code/elec-sect-3201.html.
Colorado: https://codes.findlaw.com/co/title-1-elections/co-rev-st-sect-1-7-5-104.html.
District of Columbia: https://www.dcboe.org/dcboe/media/PDFFiles/Absentee-Request-Form-
and-Information-10262020_b.pdf.
Hawaii: https://law.justia.com/codes/hawaii/2019/title-2/chapter-11/section-11-101/.
Illinois: https://www.ilga.gov/legislation/ilcs/documents/072000050K19-
2.htm#:~:text=(a)%20A%20person%20commits%20possession,property%2C%20or%20any%20
part%20thereof%2C.
Maryland: https://casetext.com/statute/code-of-maryland/article-election-law/title-9-
voting/subtitle-3-absentee-voting/section-9-3111-permanent-absentee-ballot-status.
Montana: https://leg.mt.gov/bills/mca/title_0130/chapter_0130/part_0020/section_0120/0130-
0130-0020-0120.html.
New Jersey: https://nj.gov/state/dos-statutes-elections-19-60-63.shtml#ele_19_63_3.
Nevada: https://www.leg.state.nv.us/nrs/nrs-293.html#NRS293Sec3165.
Oregon: https://law.justia.com/codes/oregon/2019/volume-06/chapter-253/section-253-065/.
Utah: https://le.utah.gov/xcode/Title20A/Chapter3A/20A-3a-
S202.html#:~:text=Conducting%20election%20by%20mail.,-
(1)&text=Except%20as%20otherwise%20provided%20for,in%20accordance%20with%20this%
20section..
Washington: https://app.leg.wa.gov/rcw/default.aspx?cite=29A.40.010.

No excuse time-limited absentee voting:


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Alaska: https://casetext.com/regulation/alaska-administrative-code/title-6-governors-office/part-
1-elections/chapter-25-administration-of-elections/article-3-absentee-and-questioned-
voting/section-6-aac-25650-permanent-absentee-voter.
Florida: http://www.leg.state.fl.us/statutes/index.cfm?App_mode=Display_Statute&URL=0100-
0199/0101/Sections/0101.62.html.
South Dakota: https://sdlegislature.gov/Statutes/Codified_Laws/2040879.
Virginia: https://law.lis.virginia.gov/vacode/title24.2/chapter7/section24.2-703.1/.

Permanent absentee voting for disability / seniors only:
Alabama: http://alisondb.legislature.state.al.us/alison/CodeOfAlabama/1975/17-11-3.1.htm.
Connecticut: https://cga.ct.gov/current/pub/chap_145.htm#sec_9-140e.
Delaware: https://delcode.delaware.gov/title15/c055/index.html.
Kansas: https://www.ksrevisor.org/statutes/chapters/ch25/025_011_0022.html.
Louisiana: https://www.sos.la.gov/ElectionsAndVoting/PublishedDocuments/ElectionCode.pdf
(at 244-247).
Mississippi: https://codes.findlaw.com/ms/title-23-elections/ms-code-sect-23-15-629.html.
New York: https://www.nysenate.gov/legislation/laws/ELN/8-400.
Rhode Island: http://webserver.rilin.state.ri.us/Statutes/TITLE17/17-20/INDEX.HTM.
Tennessee: https://codes.findlaw.com/tn/title-2-elections/tn-code-sect-2-6-201.html.
West Virginia:
http://www.wvlegislature.gov/wvcode/code.cfm?chap=3&art=3#:~:text=%C2%A73%2D3%2D2
b.,the%20special%20absentee%20voting%20list..
Wisconsin: https://docs.legis.wisconsin.gov/statutes/statutes/6/iv/86/2/a.


Time-limited absentee voting for disability / seniors only:
Georgia: https://codes.findlaw.com/ga/title-21-elections/ga-code-sect-21-2-381.html.
North Carolina:
https://www.ncleg.gov/EnactedLegislation/Statutes/PDF/BySection/Chapter_163/GS_163-
226.pdf.
Oklahoma: http://okrules.elaws.us/oac/230:30-5-8.2.
Texas: https://codes.findlaw.com/tx/election-code/elec-sect-86-0015.html.

No provision / must request each election:
Arkansas: https://codes.findlaw.com/ar/title-7-elections/ar-code-sect-7-5-405.html.
Idaho: https://legislature.idaho.gov/statutesrules/idstat/title34/t34ch10/sect34-1002/.
Indiana: https://codes.findlaw.com/in/title-3-elections/in-code-sect-3-11-4-2.html.
Iowa: No provision.
Kentucky: https://casetext.com/statute/kentucky-revised-statutes/title-10-elections/chapter-117-
regulation-of-elections/disabled-and-absent-voters/section-117085-application-for-mail-in-
absentee-ballot-and-federal-in-person-provisional-absentee-voting-absentee-ballot-for-medical-
emergencies-in-person-absentee-voting-in-the-clerks-office-supervision-of-and-challengers-for-
absentee-voting-form-of-ballot-voters-proof-of-identification-or-voter-affirmation-cancellation-
of-absentee-ballot-disclosure-of-information.
Maine: https://www.mainelegislature.org/legis/statutes/21-A/title21-Asec753-A.html and
https://www.mainelegislature.org/legis/statutes/21-A/title21-Asec753-B.html.



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Massachusetts: https://malegislature.gov/laws/generallaws/parti/titleviii/chapter54/section86.
Michigan: https://www.michigan.gov/documents/sos/AVApp_535884_7.pdf.
Minnesota: https://www.revisor.mn.gov/statutes/cite/203B.04.
Missouri: https://revisor.mo.gov/main/OneSection.aspx?section=115.284.
Nebraska: https://nebraskalegislature.gov/laws/statutes.php?statute=32-
941#:~:text=Early%20voting%3B%20written%20request%20for%20ballot%3B%20procedure.
&text=A%20registered%20voter%20may%20use,the%20person%20is%20not%20registered..
New Hampshire: http://www.gencourt.state.nh.us/rsa/html/lxiii/657/657-mrg.htm.
New Mexico: https://law.justia.com/codes/new-mexico/2020/chapter-1/article-6/section-1-6-4/.
North Dakota: https://www.legis.nd.gov/cencode/t16-1c07.pdf#nameddest=16p1-07-06.
Ohio: https://codes.ohio.gov/ohio-revised-code/section-3509.03.
Pennsylvania: https://codes.findlaw.com/pa/title-25-ps-elections-electoral-districts/pa-st-sect-25-
3146-2.html and https://codes.findlaw.com/pa/title-25-ps-elections-electoral-districts/pa-st-sect-
25-3150-12.html.
South Carolina: https://www.scstatehouse.gov/code/t07c015.php.
Vermont: https://codes.findlaw.com/vt/title-17-elections/vt-st-tit-17-sect-2532.html.
Wyoming: https://wyoleg.gov/statutes/compress/title22.pdf (at 70).




Electioneering Rules (Table 8):

Prohibited within building:
New Hampshire: http://www.gencourt.state.nh.us/rsa/html/lxiii/659/659-43.htm.
Vermont: https://legislature.vermont.gov/statutes/section/17/051/02508.
Washington: https://app.leg.wa.gov/rcw/default.aspx?cite=29A.84&full=true#29A.84.510.

Prohibited between 10-75 feet of building:
Alabama: http://alisondb.legislature.state.al.us/alison/codeofalabama/1975/17-5-2.htm and
http://alisondb.legislature.state.al.us/alison/codeofalabama/1975/17-9-50.htm.
Arizona: https://www.azleg.gov/ars/16/00515.htm.
Connecticut: https://www.cga.ct.gov/current/pub/chap_146.htm#sec_9-236.
Delaware: https://delcode.delaware.gov/title15/c049/sc02/index.html.
Indiana: https://codes.findlaw.com/in/title-3-elections/in-code-sect-3-11-10-26-3.html.
Missouri: https://revisor.mo.gov/main/OneSection.aspx?section=115.637.
North Carolina:
https://www.ncleg.gov/EnactedLegislation/Statutes/PDF/BySection/Chapter_163/GS_163-
166.4.pdf.
Pennsylvania: https://casetext.com/statute/pennsylvania-statutes/statutes-unconsolidated/title-25-
ps-elections-electoral-districts/chapter-14-election-code/article-xii-preparation-for-and-conduct-
of-primaries-and-elections/section-3060-regulations-in-force-at-polling-places.
Rhode Island: http://webserver.rilin.state.ri.us/Statutes/TITLE17/17-19/17-19-49.HTM.
Virginia: https://law.lis.virginia.gov/vacode/24.2-604/.
Washington, D.C.: https://www.dmlp.org/sites/citmedialaw.org/files/DC%20Electioneering.pdf.



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Prohibited between 100-150 feet of building:
Arkansas: https://codes.findlaw.com/ar/title-7-elections/ar-code-sect-7-1-103.html.
California:
https://leginfo.legislature.ca.gov/faces/codes_displayText.xhtml?lawCode=ELEC&division=18.
&title=&part=&chapter=4.&article=7.
Colorado: https://www.sos.state.co.us/pubs/info_center/laws/Title1/Title1.pdf (at 404).
Florida: http://www.leg.state.fl.us/statutes/index.cfm?App_mode=Display_Statute&URL=0100-
0199/0102/Sections/0102.031.html.
Georgia: https://codes.findlaw.com/ga/title-21-elections/ga-code-sect-21-2-414.html and
https://legiscan.com/GA/text/SB202/2021.
Idaho: https://legislature.idaho.gov/statutesrules/idstat/title18/t18ch23/sect18-2318/.
Illinois: https://www.ilga.gov/legislation/ilcs/fulltext.asp?DocName=001000050K17-
29#:~:text=(a)%20No%20judge%20of%20election,of%20the%20property%20of%20that.
Kentucky: https://apps.legislature.ky.gov/law/statutes/statute.aspx?id=51667.
Maryland: https://codes.findlaw.com/md/election-law/md-code-elec-law-sect-16-206.html.
Massachusetts:
https://malegislature.gov/Laws/GeneralLaws/PartI/TitleVIII/Chapter54/Section65.
Michigan:
http://www.legislature.mi.gov/(S(oqaayeq2mitdyk44kcuryvt1))/mileg.aspx?page=getobject&obj
ectName=mcl-168-744.
Minnesota: https://www.revisor.mn.gov/statutes/cite/204C.06.
Mississippi: https://codes.findlaw.com/ms/title-23-elections/ms-code-sect-23-15-895.html.
Montana: https://leg.mt.gov/bills/mca/title_0130/chapter_0350/part_0020/section_0110/0130-
0350-0020-0110.html.
Nevada: https://www.leg.state.nv.us/nrs/nrs-293.html#NRS293Sec740.
New Jersey: https://nj.gov/state/dos-statutes-elections-19-31-39.shtml#ele_19_34_15.
New Mexico: https://nmml.org/wp-content/uploads/2011/08/2019-Election-Code-Searchable-
PDF-by-NM-Clerks-v1.pdf (at 253).
New York: https://www.nysenate.gov/legislation/laws/ELN/8-104.
North Dakota: https://www.legis.nd.gov/cencode/t16-1c01.pdf.
Ohio: https://codes.ohio.gov/ohio-revised-code/section-3501.35.
Oregon: https://www.oregonlegislature.gov/bills_laws/ors/ors260.html (at 260.695)
South Dakota: https://sdlegislature.gov/Statutes/Codified_Laws/2040825
Tennessee: https://codes.findlaw.com/tn/title-2-elections/tn-code-sect-2-7-111.html.
Texas: https://statutes.capitol.texas.gov/Docs/EL/htm/EL.61.htm.
Utah: https://le.utah.gov/xcode/Title20A/Chapter3A/20A-3a-S501.html.
West Virginia: https://codes.findlaw.com/wv/chapter-3-elections/wv-code-sect-3-9-9.html.
Wisconsin: https://docs.legis.wisconsin.gov/statutes/statutes/12/03.

Prohibited between 200-250 feet of building:
Alaska: http://www.akleg.gov/basis/statutes.asp#15.15.170.
Hawaii: https://casetext.com/statute/hawaii-revised-statutes/division-1-government/title-2-
elections/chapter-11-elections-generally/part-ix-voting-procedures/section-11-132-two-hundred-
foot-radius.
Kansas: https://www.ksrevisor.org/statutes/chapters/ch25/025_024_0030.html.
Maine: https://www.mainelegislature.org/legis/statutes/21-a/title21-Asec682.html.



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Nebraska: https://nebraskalegislature.gov/laws/statutes.php?statute=32-1524.
South Carolina: https://www.scstatehouse.gov/code/t07c025.php.

Prohibited 300 feet or greater from building:
Iowa: https://www.legis.iowa.gov/docs/code/39A.4.pdf.
Louisiana: http://www.legis.la.gov/legis/Law.aspx?d=81431.
Oklahoma: https://oksenate.gov/sites/default/files/2019-12/os26.pdf (at 82).
Wyoming: https://wyoleg.gov/statutes/compress/title22.pdf (at 187).



I declare under penalty of perjury under the laws of the United States that the foregoing is true and
correct to the best of my knowledge.



Executed this 27th day of October, 2021.




                                 i'JY
______________________________
Quentin Kidd, Ph.D.




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       EX. 5                         CHAPTER 2021-11
         T. Piderit

                      Committee Substitute for Committee Substitute for
                        Committee Substitute for Senate Bill No. 90

        An act relating to elections; creating s. 97.029, F.S.; prohibiting certain
         persons from settling certain actions, consenting to conditions, or agreeing
         to certain orders in certain circumstances; requiring certain persons to
         make certain legal challenges and move to dismiss or otherwise terminate
         a court’s jurisdiction in certain circumstances; creating s. 97.0291, F.S.;
         prohibiting certain agencies and state and local officials from soliciting,
         accepting, or otherwise using private funds for election-related expenses;
         providing for construction; amending s. 97.052, F.S.; revising require-
         ments for the uniform statewide voter registration application; amending
         s. 97.0525, F.S.; requiring the Division of Elections to maintain a website
         for the online voter registration system; providing additional require-
         ments for a biennial comprehensive risk assessment of the online voter
         registration system; amending s. 97.053, F.S.; revising requirements
         governing the acceptance of voter registration applications; amending s.
         97.057, F.S.; requiring the Department of Highway Safety and Motor
         Vehicles to assist the Department of State in identifying certain residence
         address changes; requiring the Department of State to report such
         changes to supervisors of elections; amending s. 97.0575, F.S.; revising
         requirements governing third-party voter registration organizations;
         providing applicability; revising circumstances under which a third-
         party voter registration organization is subject to fines for violations
         regarding the delivery of voter registration applications; revising require-
         ments for division rules governing third-party voter registration organi-
         zations; amending s. 97.0585, F.S.; deleting an exemption from public
         records requirements for information related to a voter registration
         applicant’s or voter’s prior felony conviction and his or her restoration
         of voting rights to conform to changes made by the act; amending s.
         97.1031, F.S.; revising information that an elector must provide to a
         supervisor of elections when the elector changes his or her residence
         address, party affiliation, or name; amending s. 98.0981, F.S.; providing
         that certain ballot types or precinct subtotals may not be reported in
         precinct-level election results; requiring supervisors of elections to make
         certain data available on their websites and transmit such data to the
         division; requiring the division to create and maintain a certain dash-
         board; amending s. 99.012, F.S.; removing provisions relating to the
         method of filling a vacancy created by an officer’s resignation to qualify as
         a candidate for another public office; amending s. 99.021, F.S.; revising the
         oath for candidates seeking to qualify for nomination as a candidate of a
         political party; requiring a person seeking to qualify for office as a
         candidate with no party affiliation to subscribe to an oath or affirmation
         that he or she is registered without party affiliation and has not been a
         registered member of a political party for a specified timeframe; amending
         ss. 99.061 and 99.063, F.S.; conforming provisions to changes made by the
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        act; amending s. 100.111, F.S.; revising the method of filling a vacancy in
        nomination for a political party; amending s. 101.051, F.S.; prohibiting
        certain solicitation of voters at drop box locations; increasing the no-
        solicitation zone surrounding a drop box location or the entrance of a
        polling place or an early voting site wherein certain activities are
        prohibited; conforming a provision; amending s. 101.131, F.S.; revising
        requirements for poll watcher identification badges; amending s. 101.545,
        F.S.; requiring ballots, forms, and election materials to be retained for a
        specified minimum timeframe following an election; amending s.
        101.5605, F.S.; revising the timeframe within which the Department of
        State must approve or disapprove a voting system submitted for
        certification; amending s. 101.5614, F.S.; revising requirements for
        making true duplicate copies of vote-by-mail ballots under certain
        circumstances; requiring that an observer of the duplication of ballots
        be provided certain allowances; requiring that the duplication process
        take place in the presence of a canvassing board member; requiring a
        canvassing board to make certain determinations; amending s. 101.572,
        F.S.; requiring that voter certificates be open for public inspection;
        providing certain persons with reasonable access to ballot materials;
        requiring a supervisor to publish notice of such access; amending s.
        101.591, F.S.; revising the timeframe and requirements for the voting
        systems audit report submitted to the department; amending s. 101.595,
        F.S.; requiring a specified report regarding overvotes and undervotes to be
        submitted with the voting systems audit report; revising the date by which
        the department must submit the report to the Governor and Legislature;
        amending s. 101.62, F.S.; limiting the duration of requests for vote-by-mail
        ballots to all elections through the end of the calendar year of the next
        regularly scheduled general election; requiring certain vote-by-mail ballot
        requests to include additional identifying information regarding the
        requesting elector; requiring supervisors of elections to record whether
        a voter’s certificate on a vote-by-mail ballot has a mismatched signature;
        revising the definition of the term “immediate family” to conform to
        changes made by the act; prohibiting counties, municipalities, and state
        agencies from sending vote-by-mail ballots to voters absent a request;
        specifying applicability of the act to outstanding vote-by-mail ballot
        requests; amending s. 101.64, F.S.; revising requirements for vote-by-
        mail ballot mailing envelopes and secrecy envelopes; amending s. 101.68,
        F.S.; specifying that the supervisor may not use any knowledge of a voter’s
        party affiliation during the signature comparison process; authorizing the
        canvassing of vote-by-mail ballots upon the completion of the public
        preelection testing of automatic tabulating equipment; revising duties of
        the canvassing board with respect to protests; amending s. 101.69, F.S.;
        revising requirements governing the placement and supervision of secure
        drop boxes for the return of vote-by-mail ballots; requiring the supervisor
        to designate drop box locations in advance of an election; prohibiting
        changes in drop box locations for an election after their initial designation;
        specifying requirements regarding the retrieval of vote-by-mail ballots
        returned in a drop box; providing that the supervisor is subject to a civil
        penalty for certain violations regarding drop boxes; amending s. 102.031,
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          F.S.; prohibiting certain solicitation activities within a specified area
          surrounding a drop box; expanding the definition of “solicit” and
          “solicitation”; providing for construction; restricting certain persons
          from prohibiting the solicitation of voters by a candidate or a candidate’s
          designee outside of the no-solicitation zone; creating s. 102.072, F.S.;
          requiring the supervisor of elections to post and update on his or her
          website vote-by-mail ballot data at specified intervals; amending s.
          102.141, F.S.; requiring the names of canvassing board members be
          published on the supervisor’s website before the tabulation of any vote-by-
          mail ballots in an election; authorizing each political party and candidate
          to have one watcher at canvassing board meetings within a distance that
          allows him or her to directly observe proceedings; requiring additional
          information be included in public notices of canvassing board meetings;
          amending s. 104.0616, F.S.; revising the definition of “immediate family”;
          prohibiting any person from distributing, ordering, requesting, collecting,
          delivering, or otherwise physically possessing more than two vote-by-mail
          ballots of other electors per election, not including immediate family
          members; providing exceptions; providing a penalty; providing an effective
          date.

        Be It Enacted by the Legislature of the State of Florida:

          Section 1.   Section 97.029, Florida Statutes, is created to read:

          97.029   Civil actions challenging the validity of election laws.—

          (1) In a civil action challenging the validity of a provision of the Florida
        Election Code in which a state or county agency or officer is a party in state
        or federal court, the officer, agent, official, or attorney who represents or is
        acting on behalf of such agency or officer may not settle such action, consent
        to any condition, or agree to any order in connection therewith if the
        settlement, condition, or order nullifies, suspends, or is in conflict with any
        provision of the Florida Election Code, unless:

           (a) At the time settlement negotiations have begun in earnest, written
        notification is given to the President of the Senate, the Speaker of the House
        of Representatives, and the Attorney General.

          (b) Any proposed settlement, consent decree, or order that is proposed or
        received and would nullify, suspend, or conflict with any provision of the
        Florida Election Code is promptly reported in writing to the President of the
        Senate, the Speaker of the House of Representatives, and the Attorney
        General.

          (c) At least 10 days before the date a settlement or presettlement
        agreement or order is to be made final, written notification is given to the
        President of the Senate, the Speaker of the House of Representatives, and
        the Attorney General.
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        (2) If any notification required by this section is precluded by federal law,
      federal regulation, court order, or court rule, the officer, agent, official, or
      attorney representing such agency or officer, or the Attorney General, shall
      challenge the constitutionality of such preclusion in the civil suit affected
      and give prompt notice thereof to the President of the Senate, the Speaker of
      the House of Representatives, and the Attorney General.

         (3) If, after a court has entered an order or judgment that nullifies or
      suspends, or orders or justifies official action that is in conflict with, a
      provision of the Florida Election Code, the Legislature amends the general
      law to remove the invalidity or unenforceability, the officer, agent, official, or
      attorney who represents or is acting on behalf of the agency or officer bound
      by such order or judgment must promptly after such amendment of the
      general law move to dismiss or otherwise terminate any ongoing jurisdiction
      of such case.

        Section 2.   Section 97.0291, Florida Statutes, is created to read:

        97.0291 Prohibition on use of private funds for election-related expenses.
      No agency or state or local official responsible for conducting elections,
      including, but not limited to, a supervisor of elections, may solicit, accept,
      use, or dispose of any donation in the form of money, grants, property, or
      personal services from an individual or a nongovernmental entity for the
      purpose of funding election-related expenses or voter education, voter
      outreach, or registration programs. This section does not prohibit the
      donation and acceptance of space to be used for a polling room or an early
      voting site.

        Section 3. Paragraph (t) of subsection (2) of section 97.052, Florida
      Statutes, is amended to read:

        97.052   Uniform statewide voter registration application.—

        (2) The uniform statewide voter registration application must be
      designed to elicit the following information from the applicant:

        (t)1. Whether the applicant has never been convicted of a felony and, if
      convicted, has had his or her voting rights restored by including the
      statement “I affirm that I am not a convicted felon or, if I am, my right to vote
      has been restored I have never been convicted of a felony.” and providing a
      box for the applicant to check to affirm the statement.

        2. Whether the applicant has been convicted of a felony, and if convicted,
      has had his or her civil rights restored through executive clemency, by
      including the statement “If I have been convicted of a felony, I affirm my
      voting rights have been restored by the Board of Executive Clemency.” and
      providing a box for the applicant to check to affirm the statement.

        3. Whether the applicant has been convicted of a felony and, if convicted,
      has had his or her voting rights restored pursuant s. 4, Art. VI of the State
      Constitution, by including the statement “If I have been convicted of a felony,
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        I affirm my voting rights have been restored pursuant to s. 4, Art. VI of the
        State Constitution upon the completion of all terms of my sentence,
        including parole or probation.” and providing a box for the applicant to
        check to affirm the statement.

          Section 4. Subsections (1) and (2) and paragraph (b) of subsection (3) of
        section 97.0525, Florida Statutes, are amended to read:

          97.0525   Online voter registration.—

          (1) Beginning October 1, 2017, An applicant may submit an online voter
        registration application using the procedures set forth in this section.

          (2) The division shall establish and maintain a secure Internet website
        that safeguards an applicant’s information to ensure data integrity and
        permits an applicant to:

          (a) Submit a voter registration application, including first-time voter
        registration applications and updates to current voter registration records.

          (b) Submit information necessary to establish an applicant’s eligibility to
        vote, pursuant to s. 97.041, which includes the information required for the
        uniform statewide voter registration application pursuant to s. 97.052(2).

          (c) Swear to the oath required pursuant to s. 97.051.

          (3)

           (b) The division shall conduct a comprehensive risk assessment of the
        online voter registration system before making the system publicly available
        and every 2 years thereafter. The comprehensive risk assessment must
        comply with the risk assessment methodology developed by the Department
        of Management Services for identifying security risks, determining the
        magnitude of such risks, and identifying areas that require safeguards. In
        addition, the comprehensive risk assessment must incorporate all of the
        following:

          1. Load testing and stress testing to ensure that the online voter
        registration system has sufficient capacity to accommodate foreseeable
        use, including during periods of high volume of website users in the week
        immediately preceding the book-closing deadline for an election.

          2. Screening of computers and networks used to support the online voter
        registration system for malware and other vulnerabilities.

          3. Evaluation of database infrastructure, including software and oper-
        ating systems, in order to fortify defenses against cyberattacks.

          4. Identification of any anticipated threats to the security and integrity
        of data collected, maintained, received, or transmitted by the online voter
        registration system.
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        Section 5. Paragraph (a) of subsection (5) and subsection (6) of section
      97.053, Florida Statutes, are amended to read:

        97.053     Acceptance of voter registration applications.—

        (5)(a) A voter registration application is complete if it contains the
      following information necessary to establish the applicant’s eligibility
      pursuant to s. 97.041, including:

        1.    The applicant’s name.

        2. The applicant’s address of legal residence, including a distinguishing
      apartment, suite, lot, room, or dormitory room number or other identifier, if
      appropriate. Failure to include a distinguishing apartment, suite, lot, room,
      or dormitory room or other identifier on a voter registration application does
      not impact a voter’s eligibility to register to vote or cast a ballot, and such an
      omission may not serve as the basis for a challenge to a voter’s eligibility or
      reason to not count a ballot.

        3.    The applicant’s date of birth.

       4. A mark in the checkbox affirming that the applicant is a citizen of the
      United States.

        5.a. The applicant’s current and valid Florida driver license number or
      the identification number from a Florida identification card issued under s.
      322.051, or

         b. If the applicant has not been issued a current and valid Florida driver
      license or a Florida identification card, the last four digits of the applicant’s
      social security number.

      In case an applicant has not been issued a current and valid Florida driver
      license, Florida identification card, or social security number, the applicant
      shall affirm this fact in the manner prescribed in the uniform statewide
      voter registration application.

        6. A mark in the applicable checkbox affirming that the applicant has not
      been convicted of a felony or that, if convicted, has had his or her civil rights
      restored through executive clemency, or has had his or her voting rights
      restored pursuant to s. 4, Art. VI of the State Constitution.

        7. A mark in the checkbox affirming that the applicant has not been
      adjudicated mentally incapacitated with respect to voting or that, if so
      adjudicated, has had his or her right to vote restored.

        8. The original signature or a digital signature transmitted by the
      Department of Highway Safety and Motor Vehicles of the applicant
      swearing or affirming under the penalty for false swearing pursuant to s.
      104.011 that the information contained in the registration application is true
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        and subscribing to the oath required by s. 3, Art. VI of the State Constitution
        and s. 97.051.

           (6) A voter registration application, including an application with a
        change in name, address, or party affiliation, may be accepted as valid only
        after the department has verified the authenticity or nonexistence of the
        driver license number, the Florida identification card number, or the last
        four digits of the social security number provided by the applicant. If a
        completed voter registration application has been received by the book-
        closing deadline but the driver license number, the Florida identification
        card number, or the last four digits of the social security number provided by
        the applicant cannot be verified, the applicant shall be notified that the
        number cannot be verified and that the applicant must provide evidence to
        the supervisor sufficient to verify the authenticity of the applicant’s driver
        license number, Florida identification card number, or last four digits of the
        social security number. If the applicant provides the necessary evidence, the
        supervisor shall place the applicant’s name on the registration rolls as an
        active voter. If the applicant has not provided the necessary evidence or the
        number has not otherwise been verified prior to the applicant presenting
        himself or herself to vote, the applicant shall be provided a provisional ballot.
        The provisional ballot shall be counted only if the number is verified by the
        end of the canvassing period or if the applicant presents evidence to the
        supervisor of elections sufficient to verify the authenticity of the applicant’s
        driver license number, Florida identification card number, or last four digits
        of the social security number no later than 5 p.m. of the second day following
        the election.

          Section 6. Subsection (13) is added to section 97.057, Florida Statutes, to
        read:

         97.057 Voter registration by the Department of Highway Safety and
        Motor Vehicles.—

          (13) The Department of Highway Safety and Motor Vehicles must assist
        the Department of State in regularly identifying changes in residence
        address on the driver license or identification card of a voter. The
        Department of State must report each such change to the appropriate
        supervisor of elections who must change the voter’s registration records in
        accordance with s. 98.065(4).

          Section 7. Paragraphs (c) and (d) of subsection (1), paragraph (a) of
        subsection (3), and subsection (5) of section 97.0575, Florida Statutes, are
        amended to read:

          97.0575    Third-party voter registrations.—

          (1) Before engaging in any voter registration activities, a third-party
        voter registration organization must register and provide to the division, in
        an electronic format, the following information:
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        (c) The names, permanent addresses, and temporary addresses, if any, of
      each registration agent registering persons to vote in this state on behalf of
      the organization. This paragraph does not apply to persons who only solicit
      applications and do not collect or handle voter registration applications.

        (d) A sworn statement from each registration agent employed by or
      volunteering for the organization stating that the agent will obey all state
      laws and rules regarding the registration of voters. Such statement must be
      on a form containing notice of applicable penalties for false registration.

         (3)(a) A third-party voter registration organization that collects voter
      registration applications serves as a fiduciary to the applicant, ensuring that
      any voter registration application entrusted to the organization, irrespective
      of party affiliation, race, ethnicity, or gender, must shall be promptly
      delivered to the division or the supervisor of elections in the county in which
      the applicant resides within 14 days after completed by the applicant, but
      not after registration closes for the next ensuing election. A third-party voter
      registration organization must notify the applicant at the time the
      application is collected that the organization might not deliver the applica-
      tion to the division or the supervisor of elections in the county in which the
      applicant resides in less than 14 days or before registration closes for the
      next ensuing election and must advise the applicant that he or she may
      deliver the application in person or by mail. The third-party voter
      registration organization must also inform the applicant how to register
      online with the division and how to determine whether the application has
      been delivered 48 hours after the applicant completes it or the next business
      day if the appropriate office is closed for that 48-hour period. If a voter
      registration application collected by any third-party voter registration
      organization is not promptly delivered to the division or supervisor of
      elections in the county in which the applicant resides, the third-party voter
      registration organization is liable for the following fines:

        1. A fine in the amount of $50 for each application received by the
      division or the supervisor of elections in the county in which the applicant
      resides more than 14 days 48 hours after the applicant delivered the
      completed voter registration application to the third-party voter registration
      organization or any person, entity, or agent acting on its behalf or the next
      business day, if the office is closed. A fine in the amount of $250 for each
      application received if the third-party voter registration organization or
      person, entity, or agency acting on its behalf acted willfully.

         2. A fine in the amount of $100 for each application collected by a third-
      party voter registration organization or any person, entity, or agent acting
      on its behalf, before book closing for any given election for federal or state
      office and received by the division or the supervisor of elections in the county
      in which the applicant resides after the book-closing deadline for such
      election. A fine in the amount of $500 for each application received if the
      third-party registration organization or person, entity, or agency acting on
      its behalf acted willfully.
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          3. A fine in the amount of $500 for each application collected by a third-
        party voter registration organization or any person, entity, or agent acting
        on its behalf, which is not submitted to the division or supervisor of elections
        in the county in which the applicant resides. A fine in the amount of $1,000
        for any application not submitted if the third-party voter registration
        organization or person, entity, or agency acting on its behalf acted willfully.

        The aggregate fine pursuant to this paragraph which may be assessed
        against a third-party voter registration organization, including affiliate
        organizations, for violations committed in a calendar year is $1,000.

          (5) The division shall adopt by rule a form to elicit specific information
        concerning the facts and circumstances from a person who claims to have
        been registered to vote by a third-party voter registration organization but
        who does not appear as an active voter on the voter registration rolls. The
        division shall also adopt rules to ensure the integrity of the registration
        process, including controls to ensure that all completed forms are promptly
        delivered to the division or a supervisor in the county in which the applicant
        resides rules requiring third-party voter registration organizations to
        account for all state and federal registration forms used by their registration
        agents. Such rules may require an organization to provide organization and
        form specific identification information on each form as determined by the
        department as needed to assist in the accounting of state and federal
        registration forms.

          Section 8. Paragraphs (d), (e), and (f) of subsection (1) of section 97.0585,
        Florida Statutes, are amended to read:

          97.0585 Public records exemption; information regarding voters and
        voter registration; confidentiality.—

          (1) The following information held by an agency, as defined in s. 119.011,
        and obtained for the purpose of voter registration is confidential and exempt
        from s. 119.07(1) and s. 24(a), Art. I of the State Constitution and may be
        used only for purposes of voter registration:

           (d) Information related to a voter registration applicant’s or voter’s prior
        felony conviction and whether such person has had his or her voting rights
        restored by the Board of Executive Clemency or pursuant to s. 4, Art. VI of
        the State Constitution.

          (e) All information concerning preregistered voter registration appli-
        cants who are 16 or 17 years of age. This paragraph is

           (f) Paragraphs (d) and (e) are subject to the Open Government Sunset
        Review Act in accordance with s. 119.15 and shall stand repealed on October
        2, 2024, unless reviewed and saved from repeal through reenactment by the
        Legislature.

          Section 9.   Section 97.1031, Florida Statutes, is amended to read:
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        97.1031 Notice of change of residence, change of name, or change of party
      affiliation.—

        (1)(a) When an elector changes his or her residence address, the elector
      must notify the supervisor of elections. Except as provided in paragraph (b),
      an address change must be submitted using a voter registration application.

        (b) If the address change is within the state and notice is provided to the
      supervisor of elections of the county where the elector has moved, the elector
      may do so by:

         1. Contacting the supervisor of elections via telephone or electronic
      means, in which case the elector must provide his or her date of birth and the
      last four digits of his or her social security number, his or her Florida driver
      license number, or his or her Florida identification card number, whichever
      may be verified in the supervisor’s records; or

        2. Submitting the change on a voter registration application or other
      signed written notice.

        (2) When an elector seeks to change party affiliation, the elector shall
      notify his or her supervisor of elections or other voter registration official by
      submitting a voter registration application using a signed written notice
      that contains the elector’s date of birth or voter registration number. When
      an elector changes his or her name by marriage or other legal process, the
      elector shall notify his or her supervisor of elections or other voter
      registration official by submitting a voter registration application using a
      signed written notice that contains the elector’s date of birth or voter’s
      registration number.

        (3) The voter registration official shall make the necessary changes in
      the elector’s records as soon as practical upon receipt of such notice of a
      change of address of legal residence, name, or party affiliation. The
      supervisor of elections shall issue the new voter information card.

        Section 10. Present subsections (4) and (5) of section 98.0981, Florida
      Statutes, are redesignated as subsections (5) and (6), respectively, a new
      subsection (4) is added to that section, and paragraph (a) of subsection (2) of
      that section is amended, to read:

        98.0981 Reports; voting history; statewide voter registration system
      information; precinct-level election results; book closing statistics; live
      turnout data.—

        (2)   PRECINCT-LEVEL ELECTION RESULTS.—

        (a) Within 30 days after certification by the Elections Canvassing
      Commission of a presidential preference primary election, special election,
      primary election, or general election, the supervisors of elections shall collect
      and submit to the department precinct-level election results for the election
      in a uniform electronic format specified by paragraph (c). The precinct-level
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        election results shall be compiled separately for the primary or special
        primary election that preceded the general or special general election,
        respectively. The results shall specifically include for each precinct the total
        of all ballots cast for each candidate or nominee to fill a national, state,
        county, or district office or proposed constitutional amendment, with
        subtotals for each candidate and ballot type. However, ballot type or
        precinct subtotals in a race or question having fewer than 30 voters voting
        on the ballot type or in the precinct may not be reported in precinct results,
        unless fewer than 30 voters voted a ballot type. “All ballots cast” means
        ballots cast by voters who cast a ballot whether at a precinct location, by
        vote-by-mail ballot including overseas vote-by-mail ballots, during the early
        voting period, or by provisional ballot.

          (4) LIVE TURNOUT DATA.—On election day, each supervisor of
        elections shall make live voter turnout data, updated at least once per
        hour, available on his or her website. Each supervisor shall transmit the live
        voter turnout data to the division, which must create and maintain a real-
        time statewide turnout dashboard that is available for viewing by the public
        on the division’s website as the data becomes available.

          Section 11. Paragraph (f) of subsection (3) and paragraph (g) of
        subsection (4) of section 99.012, Florida Statutes, are amended to read:

          99.012   Restrictions on individuals qualifying for public office.—

          (3)

          (f)1. With regard to an elective office, the resignation creates a vacancy
        in office to be filled by election. Persons may qualify as candidates for
        nomination and election as if the public officer’s term were otherwise
        scheduled to expire.

          2. With regard to an elective charter county office or elective municipal
        office, the vacancy created by the officer’s resignation may be filled for that
        portion of the officer’s unexpired term in a manner provided by the
        respective charter. The office is deemed vacant upon the effective date of
        the resignation submitted by the official in his or her letter of resignation.

          (4)

          (g) Notwithstanding the provisions of any special act to the contrary,
        with regard to an elective office, the resignation creates a vacancy in office to
        be filled by election, thereby authorizing persons to qualify as candidates for
        nomination and election as if the officer’s term were otherwise scheduled to
        expire. With regard to an elective charter county office or elective municipal
        office, the vacancy created by the officer’s resignation may be filled for that
        portion of the officer’s unexpired term in a manner provided by the
        respective charter. The office is deemed vacant upon the effective date of
        the resignation submitted by the official in his or her letter of resignation.
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        Section 12. Present paragraph (c) of subsection (1) of section 99.021,
      Florida Statutes, is redesignated as paragraph (d), a new paragraph (c) is
      added to that subsection, and paragraph (b) of that subsection is amended, to
      read:

        99.021     Form of candidate oath.—

        (1)

        (b) In addition, any person seeking to qualify for nomination as a
      candidate of any political party shall, at the time of subscribing to the oath or
      affirmation, state in writing:

        1.    The party of which the person is a member.

        2. That the person has not been a registered member of the any other
      political party for which he or she is seeking nomination as a candidate for
      365 days before the beginning of qualifying preceding the general election for
      which the person seeks to qualify.

        3. That the person has paid the assessment levied against him or her, if
      any, as a candidate for said office by the executive committee of the party of
      which he or she is a member.

        (c) In addition, any person seeking to qualify for office as a candidate
      with no party affiliation shall, at the time of subscribing to the oath or
      affirmation, state in writing that he or she is registered without any party
      affiliation and that he or she has not been a registered member of any
      political party for 365 days before the beginning of qualifying preceding the
      general election for which the person seeks to qualify.

        Section 13. Paragraph (a) of subsection (7) of section 99.061, Florida
      Statutes, is amended to read:

        99.061 Method of qualifying for nomination or election to federal, state,
      county, or district office.—

        (7)(a) In order for a candidate to be qualified, the following items must be
      received by the filing officer by the end of the qualifying period:

        1. A properly executed check drawn upon the candidate’s campaign
      account payable to the person or entity as prescribed by the filing officer in
      an amount not less than the fee required by s. 99.092, unless the candidate
      obtained the required number of signatures on petitions pursuant to s.
      99.095. The filing fee for a special district candidate is not required to be
      drawn upon the candidate’s campaign account. If a candidate’s check is
      returned by the bank for any reason, the filing officer shall immediately
      notify the candidate and the candidate shall have until the end of qualifying
      to pay the fee with a cashier’s check purchased from funds of the campaign
      account. Failure to pay the fee as provided in this subparagraph shall
      disqualify the candidate.
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          2. The candidate’s oath required by s. 99.021, which must contain the
        name of the candidate as it is to appear on the ballot; the office sought,
        including the district or group number if applicable; and the signature of the
        candidate, which must be verified under oath or affirmation pursuant to s.
        92.525(1)(a).

          3. If the office sought is partisan, the written statement of political party
        affiliation required by s. 99.021(1)(b); or if the candidate is running without
        party affiliation for a partisan office, the written statement required by s.
        99.021(1)(c).

          4. The completed form for the appointment of campaign treasurer and
        designation of campaign depository, as required by s. 106.021.

          5. The full and public disclosure or statement of financial interests
        required by subsection (5). A public officer who has filed the full and public
        disclosure or statement of financial interests with the Commission on Ethics
        or the supervisor of elections prior to qualifying for office may file a copy of
        that disclosure at the time of qualifying.

          Section 14. Paragraph (b) of subsection (2) of section 99.063, Florida
        Statutes, is amended to read:

          99.063    Candidates for Governor and Lieutenant Governor.—

          (2) No later than 5 p.m. of the 9th day following the primary election,
        each designated candidate for Lieutenant Governor shall file with the
        Department of State:

          (b) If the office sought is partisan, the written statement of political
        party affiliation required by s. 99.021(1)(b); or if the office sought is without
        party affiliation, the written statement required by s. 99.021(1)(c).

          Section 15. Paragraph (a) of subsection (3) of section 100.111, Florida
        Statutes, is amended to read:

          100.111    Filling vacancy.—

          (3)(a) In the event that death, resignation, withdrawal, or removal
        should cause a party to have a vacancy in nomination which leaves no
        candidate for an office from such party, the filing officer before whom the
        candidate qualified shall notify the chair of the state and county political
        party executive committee of such party and:

          1. If the vacancy in nomination is for a statewide office, the state party
        chair shall, within 5 days, call a meeting of his or her executive board to
        consider designation of a nominee to fill the vacancy.

          2. If the vacancy in nomination is for the office of United States
        Representative, state senator, state representative, state attorney, or public
        defender, the state party chair shall notify the appropriate county chair or
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      chairs and, within 5 days, the appropriate county chair or chairs shall call a
      meeting of the state executive committee members residing members of the
      executive committee in the affected county or counties to consider designa-
      tion of a nominee to fill the vacancy.

        3. If the vacancy in nomination is for a county office, the state party chair
      shall notify the appropriate county chair and, within 5 days, the appropriate
      county chair shall call a meeting of his or her executive committee to
      consider designation of a nominee to fill the vacancy.

      The name of any person so designated shall be submitted to the filing officer
      before whom the candidate qualified within 7 days after notice to the chair in
      order that the person designated may have his or her name on the ballot of
      the ensuing general election. If the name of the new nominee is submitted
      after the certification of results of the preceding primary election, however,
      the ballots shall not be changed and the former party nominee’s name will
      appear on the ballot. Any ballots cast for the former party nominee will be
      counted for the person designated by the political party to replace the former
      party nominee. If there is no opposition to the party nominee, the person
      designated by the political party to replace the former party nominee will be
      elected to office at the general election.

        Section 16. Subsections (2) and (5) of section 101.051, Florida Statutes,
      are amended to read:

        101.051 Electors seeking assistance in casting ballots; oath to be
      executed; forms to be furnished.—

        (2) It is unlawful for any person to be in the voting booth with any elector
      except as provided in subsection (1). A person at a polling place, a drop box
      location, or an early voting site, or within 150 100 feet of a drop box location
      or the entrance of a polling place or an early voting site, may not solicit any
      elector in an effort to provide assistance to vote pursuant to subsection (1).
      Any person who violates this subsection commits a misdemeanor of the first
      degree, punishable as provided in s. 775.082 or s. 775.083.

         (5) If an elector needing assistance requests that a person other than an
      election official provide him or her with assistance in voting, the clerk or one
      of the inspectors shall require the person providing assistance to take the
      following oath:

                         DECLARATION TO PROVIDE ASSISTANCE

      State of Florida

      County of ......

      Date ......
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        Precinct ......

          I, …(Print name)…, have been requested by …(print name of elector
        needing assistance)… to provide him or her with assistance to vote. I swear
        or affirm that I am not the employer, an agent of the employer, or an officer
        or agent of the union of the voter and that I have not solicited this voter at
        the polling place, drop box location, or early voting site or within 150 100 feet
        of such locations in an effort to provide assistance.

                                                            …(Signature of assistor)…

        Sworn and subscribed to before me this ...... day of ......, …(year)….

                                       …(Signature of Official Administering Oath)…

         Section 17. Subsection (5) of section 101.131, Florida Statutes, is
        amended to read:

          101.131     Watchers at polls.—

          (5) The supervisor of elections shall provide to each designated poll
        watcher an, no later than 7 days before early voting begins, a poll watcher
        identification badge which that identifies the poll watcher by name. Each
        poll watcher must wear his or her identification badge while performing his
        or her duties in the polling room or early voting area.

          Section 18.      Section 101.545, Florida Statutes, is amended to read:

           101.545 Retention and destruction of certain election materials.—All
        ballots, forms, and other election materials shall be retained in the custody
        of the supervisor of elections for a minimum of 22 months after an election
        and in accordance with the schedule approved by the Division of Library and
        Information Services of the Department of State. All unused ballots, forms,
        and other election materials may, with the approval of the Department of
        State, be destroyed by the supervisor after the election for which such
        ballots, forms, or other election materials were to be used.

          Section 19. Paragraph (d) of subsection (2) of section 101.5605, Florida
        Statutes, is amended to read:

          101.5605        Examination and approval of equipment.—

          (2)

          (d) The Department of State shall approve or disapprove any voting
        system submitted to it within 120 90 days after the date of its initial
        submission.
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        Section 20. Paragraph (a) of subsection (4) of section 101.5614, Florida
      Statutes, is amended to read:

        101.5614      Canvass of returns.—

        (4)(a) If any vote-by-mail ballot is physically damaged so that it cannot
      properly be counted by the voting system’s automatic tabulating equipment,
      a true duplicate copy shall be made of the damaged ballot in an open and
      accessible room in the presence of witnesses and substituted for the
      damaged ballot. Likewise, a duplicate ballot shall be made of a vote-by-
      mail ballot containing an overvoted race if there is a clear indication on the
      ballot that the voter has made a definite choice in the overvoted race or ballot
      measure. A duplicate or a marked vote-by-mail ballot in which every race is
      undervoted which shall include all valid votes as determined by the
      canvassing board based on rules adopted by the division pursuant to s.
      102.166(4). A duplicate may be made of a ballot containing an undervoted
      race or ballot measure if there is a clear indication on the ballot that the
      voter has made a definite choice in the undervoted race or ballot measure. A
      duplicate may not include a vote if the voter’s intent in such race or on such
      measure is not clear. Upon request, a physically present candidate, a
      political party official, a political committee official, or an authorized
      designee thereof, must be allowed to observe the duplication of ballots.
      The observer must be allowed to observe the duplication of ballots in such a
      way that the observer is able to see the markings on each ballot and the
      duplication taking place. All duplicate ballots must shall be clearly labeled
      “duplicate,” bear a serial number which shall be recorded on the defective
      ballot, and be counted in lieu of the defective ballot. The duplication of
      ballots must happen in the presence of at least one canvassing board
      member. After a ballot has been duplicated, the defective ballot shall be
      placed in an envelope provided for that purpose, and the duplicate ballot
      shall be tallied with the other ballots for that precinct. If any observer makes
      a reasonable objection to a duplicate of a ballot, the ballot must be presented
      to the canvassing board for a determination of the validity of the duplicate.
      The canvassing board must document the serial number of the ballot in the
      canvassing board’s minutes. The canvassing board must decide whether the
      duplication is valid. If the duplicate ballot is determined to be valid, the
      duplicate ballot must be counted. If the duplicate ballot is determined to be
      invalid, the duplicate ballot must be rejected and a proper duplicate ballot
      must be made and counted in lieu of the original.

        Section 21.    Section 101.572, Florida Statutes, is amended to read:

        101.572    Public inspection of ballots.—

        (1) The official ballots and ballot cards received from election boards and
      removed from vote-by-mail ballot mailing envelopes and voter certificates on
      such mailing envelopes shall be open for public inspection or examination
      while in the custody of the supervisor of elections or the county canvassing
      board at any reasonable time, under reasonable conditions; however, no
      persons other than the supervisor of elections or his or her employees or the
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        county canvassing board shall handle any official ballot or ballot card. If the
        ballots are being examined prior to the end of the contest period in s.
        102.168, the supervisor of elections shall make a reasonable effort to notify
        all candidates whose names appear on such ballots or ballot cards by
        telephone or otherwise of the time and place of the inspection or examina-
        tion. All such candidates, or their representatives, shall be allowed to be
        present during the inspection or examination.

          (2) A candidate, a political party official, or a political committee official,
        or an authorized designee thereof, shall be granted reasonable access upon
        request to review or inspect ballot materials before canvassing or tabulation,
        including voter certificates on vote-by-mail envelopes, cure affidavits,
        corresponding comparison signatures, duplicate ballots, and corresponding
        originals. Before the supervisor begins comparing signatures on vote-by-
        mail voter certificates, the supervisor must publish notice of the access to be
        provided under this section, which may be access to the documents or images
        thereof, and the method of requesting such access. During such review, no
        person granted access for review may make any copy of a signature.

         Section 22. Subsection (5) of section 101.591, Florida Statutes, is
        amended to read:

          101.591    Voting system audit.—

           (5) By December 15 of each general election year Within 15 days after
        completion of the audit, the county canvassing board or the board
        responsible for certifying the election shall provide a report with the results
        of the audit to the Department of State in a standard format as prescribed by
        the department. The report must be consolidated into one report with the
        overvote and undervote report required under s. 101.595(1). The report shall
        contain, but is not limited to, the following items:

          (a)   The overall accuracy of audit.

          (b)   A description of any problems or discrepancies encountered.

          (c) The likely cause of such problems or discrepancies.

          (d) Recommended corrective action with respect to avoiding or mitigat-
        ing such circumstances in future elections.

          Section 23. Subsections (1) and (3) of section 101.595, Florida Statutes,
        are amended to read:

          101.595    Analysis and reports of voting problems.—

           (1) No later than December 15 of each general election year, the
        supervisor of elections in each county shall report to the Department of
        State the total number of overvotes and undervotes in the “President and
        Vice President” or “Governor and Lieutenant Governor” race that appears
        first on the ballot or, if neither appears, the first race appearing on the ballot
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      pursuant to s. 101.151(2), along with the likely reasons for such overvotes
      and undervotes and other information as may be useful in evaluating the
      performance of the voting system and identifying problems with ballot
      design and instructions which may have contributed to voter confusion. This
      report must be consolidated into one report with the audit report required
      under s. 101.591(5).

        (3) The Department of State shall submit the report to the Governor, the
      President of the Senate, and the Speaker of the House of Representatives by
      February 15 January 31 of each year following a general election.

        Section 24. Paragraphs (a) and (b) of subsection (1), subsection (3), and
      paragraph (c) of subsection (4) of section 101.62, Florida Statutes, are
      amended, and subsection (7) is added to that section, to read:

        101.62     Request for vote-by-mail ballots.—

        (1)(a) The supervisor shall accept a request for a vote-by-mail ballot from
      an elector in person or in writing. One request is shall be deemed sufficient
      to receive a vote-by-mail ballot for all elections through the end of the
      calendar year of the next second ensuing regularly scheduled general
      election, unless the elector or the elector’s designee indicates at the time the
      request is made the elections within such period for which the elector desires
      to receive a vote-by-mail ballot. Such request may be considered canceled
      when any first-class mail sent by the supervisor to the elector is returned as
      undeliverable.

        (b) The supervisor may accept a written, an in-person, or a telephonic
      request for a vote-by-mail ballot to be mailed to an elector’s address on file in
      the Florida Voter Registration System from the elector, or, if directly
      instructed by the elector, a member of the elector’s immediate family, or the
      elector’s legal guardian. If an in-person or a telephonic request is made, the
      elector must provide the elector’s Florida driver license number, the elector’s
      Florida identification card number, or the last four digits of the elector’s
      social security number, whichever may be verified in the supervisor’s
      records.; If the ballot is requested to be mailed to an address other than the
      elector’s address on file in the Florida Voter Registration System, the
      request must be made in writing. A written request must be and signed by
      the elector and include the elector’s Florida driver license number, the
      elector’s Florida identification card number, or the last four digits of the
      elector’s social security number. However, an absent uniformed service voter
      or an overseas voter seeking a vote-by-mail ballot is not required to submit a
      signed, written request for a vote-by-mail ballot that is being mailed to an
      address other than the elector’s address on file in the Florida Voter
      Registration System. For purposes of this section, the term “immediate
      family” has the same meaning as specified in paragraph (4)(c). The person
      making the request must disclose:

        1.    The name of the elector for whom the ballot is requested.
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          2.     The elector’s address.

          3.     The elector’s date of birth.

          4. The elector’s Florida driver license number, the elector’s Florida
        identification card number, or the last four digits of the elector’s social
        security number, whichever may be verified in the supervisor’s records.

          5.     The requester’s name.

          6.5.    The requester’s address.

           7.6. The requester’s driver license number, the requester’s identification
        card number, or the last four digits of the requester’s social security number,
        if available.

          8.7.    The requester’s relationship to the elector.

          9.8.    The requester’s signature (written requests only).

          (3) For each request for a vote-by-mail ballot received, the supervisor
        shall record: the date the request was made; the identity of the voter’s
        designee making the request, if any; the Florida driver license number,
        Florida identification card number, or last four digits of the social security
        number of the elector provided with a written request;, the date the vote-by-
        mail ballot was delivered to the voter or the voter’s designee or the date the
        vote-by-mail ballot was delivered to the post office or other carrier; the
        address to which the ballot was mailed or the identity of the voter’s designee
        to whom the ballot was delivered;, the date the ballot was received by the
        supervisor;, the absence of the voter’s signature on the voter’s certificate, if
        applicable; whether the voter’s certificate contains a signature that does not
        match the elector’s signature in the registration books or precinct register;,
        and such other information he or she may deem necessary. This information
        shall be provided in electronic format as provided by division rule adopted by
        the division. The information shall be updated and made available no later
        than 8 a.m. of each day, including weekends, beginning 60 days before the
        primary until 15 days after the general election and shall be contempor-
        aneously provided to the division. This information shall be confidential and
        exempt from s. 119.07(1) and shall be made available to or reproduced only
        for the voter requesting the ballot, a canvassing board, an election official, a
        political party or official thereof, a candidate who has filed qualification
        papers and is opposed in an upcoming election, and registered political
        committees for political purposes only.

          (4)

         (c) The supervisor shall provide a vote-by-mail ballot to each elector by
        whom a request for that ballot has been made by one of the following means:
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        1. By nonforwardable, return-if-undeliverable mail to the elector’s
      current mailing address on file with the supervisor or any other address
      the elector specifies in the request.

        2. By forwardable mail, e-mail, or facsimile machine transmission to
      absent uniformed services voters and overseas voters. The absent uniformed
      services voter or overseas voter may designate in the vote-by-mail ballot
      request the preferred method of transmission. If the voter does not designate
      the method of transmission, the vote-by-mail ballot shall be mailed.

        3. By personal delivery before 7 p.m. on election day to the elector, upon
      presentation of the identification required in s. 101.043.

        4. By delivery to a designee on election day or up to 9 days before prior to
      the day of an election. Any elector may designate in writing a person to pick
      up the ballot for the elector; however, the person designated may not pick up
      more than two vote-by-mail ballots per election, other than the designee’s
      own ballot, except that additional ballots may be picked up for members of
      the designee’s immediate family. For purposes of this section, “immediate
      family” means the designee’s spouse or the parent, child, grandparent,
      grandchild, or sibling of the designee or of the designee’s spouse. The
      designee shall provide to the supervisor the written authorization by the
      elector and a picture identification of the designee and must complete an
      affidavit. The designee shall state in the affidavit that the designee is
      authorized by the elector to pick up that ballot and shall indicate if the
      elector is a member of the designee’s immediate family and, if so, the
      relationship. The department shall prescribe the form of the affidavit. If the
      supervisor is satisfied that the designee is authorized to pick up the ballot
      and that the signature of the elector on the written authorization matches
      the signature of the elector on file, the supervisor shall give the ballot to that
      designee for delivery to the elector.

        5. Except as provided in s. 101.655, the supervisor may not deliver a
      vote-by-mail ballot to an elector or an elector’s immediate family member on
      the day of the election unless there is an emergency, to the extent that the
      elector will be unable to go to his or her assigned polling place. If a vote-by-
      mail ballot is delivered, the elector or his or her designee shall execute an
      affidavit affirming to the facts which allow for delivery of the vote-by-mail
      ballot. The department shall adopt a rule providing for the form of the
      affidavit.

        (7) Except as expressly authorized for voters having a disability under s.
      101.662, for overseas voters under s. 101.697, or for local referenda under ss.
      101.6102 and 101.6103, a county, municipality, or state agency may not send
      a vote-by-mail ballot to a voter unless the voter has requested a vote-by-mail
      ballot in the manner authorized under this section.

        Section 25. Notwithstanding the amendments made to s. 101.62(1)(a),
      Florida Statutes, by this act, an existing vote-by-mail ballot request
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        submitted before the effective date of this act is deemed sufficient for
        elections held through the end of the 2022 calendar year.

          Section 26. Subsection (1) of section 101.64, Florida Statutes, is amended
        to read:

          101.64   Delivery of vote-by-mail ballots; envelopes; form.—

           (1)(a) The supervisor shall enclose with each vote-by-mail ballot two
        envelopes: a secrecy envelope, into which the absent elector shall enclose his
        or her marked ballot; and a mailing envelope, into which the absent elector
        shall then place the secrecy envelope, which shall be addressed to the
        supervisor and also bear on the back side a certificate in substantially the
        following form:

                     Note: Please Read Instructions Carefully Before
                    Marking Ballot and Completing Voter’s Certificate.

                                  VOTER’S CERTIFICATE

           I, ......, do solemnly swear or affirm that I am a qualified and registered
        voter of ...... County, Florida, and that I have not and will not vote more than
        one ballot in this election. I understand that if I commit or attempt to commit
        any fraud in connection with voting, vote a fraudulent ballot, or vote more
        than once in an election, I can be convicted of a felony of the third degree and
        fined up to $5,000 and/or imprisoned for up to 5 years. I also understand that
        failure to sign this certificate will invalidate my ballot.

        …(Date)…                                               …(Voter’s Signature)…

        …(E-Mail Address)…                            …(Home Telephone Number)…

                                                     …(Mobile Telephone Number)…

          (b) Each return mailing envelope must bear the absent elector’s name
        and any encoded mark used by the supervisor’s office.

          (c) A mailing envelope or secrecy envelope may not bear any indication of
        the political affiliation of an absent elector.

          Section 27. Subsections (1) and (2) of section 101.68, Florida Statutes,
        are amended to read:

          101.68   Canvassing of vote-by-mail ballot.—

          (1) The supervisor of the county where the absent elector resides shall
        receive the voted ballot, at which time the supervisor shall compare the
        signature of the elector on the voter’s certificate with the signature of the
        elector in the registration books or the precinct register to determine
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      whether the elector is duly registered in the county and must may record on
      the elector’s registration record certificate that the elector has voted. During
      the signature comparison process, the supervisor may not use any knowl-
      edge of the political affiliation of the voter whose signature is subject to
      verification. An elector who dies after casting a vote-by-mail ballot but on or
      before election day shall remain listed in the registration books until the
      results have been certified for the election in which the ballot was cast. The
      supervisor shall safely keep the ballot unopened in his or her office until the
      county canvassing board canvasses the vote. Except as provided in
      subsection (4), after a vote-by-mail ballot is received by the supervisor,
      the ballot is deemed to have been cast, and changes or additions may not be
      made to the voter’s certificate.

        (2)(a) The county canvassing board may begin the canvassing of vote-by-
      mail ballots upon the completion of the public testing of automatic
      tabulating equipment pursuant to s. 101.5612(2) at 7 a.m. on the 22nd
      day before the election, but must begin such canvassing by no not later than
      noon on the day following the election. In addition, for any county using
      electronic tabulating equipment, the processing of vote-by-mail ballots
      through such tabulating equipment may begin at 7 a.m. on the 22nd day
      before the election. However, notwithstanding any such authorization to
      begin canvassing or otherwise processing vote-by-mail ballots early, no
      result shall be released until after the closing of the polls in that county on
      election day. Any supervisor, deputy supervisor, canvassing board member,
      election board member, or election employee who releases the results of a
      canvassing or processing of vote-by-mail ballots prior to the closing of the
      polls in that county on election day commits a felony of the third degree,
      punishable as provided in s. 775.082, s. 775.083, or s. 775.084.

        (b) To ensure that all vote-by-mail ballots to be counted by the
      canvassing board are accounted for, the canvassing board shall compare
      the number of ballots in its possession with the number of requests for
      ballots received to be counted according to the supervisor’s file or list.

        (c)1. The canvassing board must, if the supervisor has not already done
      so, compare the signature of the elector on the voter’s certificate or on the
      vote-by-mail ballot cure affidavit as provided in subsection (4) with the
      signature of the elector in the registration books or the precinct register to
      see that the elector is duly registered in the county and to determine the
      legality of that vote-by-mail ballot. A vote-by-mail ballot may only be
      counted if:

        a. The signature on the voter’s certificate or the cure affidavit matches
      the elector’s signature in the registration books or precinct register;
      however, in the case of a cure affidavit, the supporting identification listed
      in subsection (4) must also confirm the identity of the elector; or

        b. The cure affidavit contains a signature that does not match the
      elector’s signature in the registration books or precinct register, but the
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        elector has submitted a current and valid Tier 1 identification pursuant to
        subsection (4) which confirms the identity of the elector.

        For purposes of this subparagraph, any canvassing board finding that an
        elector’s signatures do not match must be by majority vote and beyond a
        reasonable doubt.

          2. The ballot of an elector who casts a vote-by-mail ballot shall be
        counted even if the elector dies on or before election day, as long as, before
        the death of the voter, the ballot was postmarked by the United States Postal
        Service, date-stamped with a verifiable tracking number by a common
        carrier, or already in the possession of the supervisor.

          3. A vote-by-mail ballot is not considered illegal if the signature of the
        elector does not cross the seal of the mailing envelope.

          4. If any elector or candidate present believes that a vote-by-mail ballot
        is illegal due to a defect apparent on the voter’s certificate or the cure
        affidavit, he or she may, at any time before the ballot is removed from the
        envelope, file with the canvassing board a protest against the canvass of that
        ballot, specifying the precinct, the voter’s certificate or the cure affidavit the
        ballot, and the reason he or she believes the ballot to be illegal. A challenge
        based upon a defect in the voter’s certificate or cure affidavit may not be
        accepted after the ballot has been removed from the mailing envelope.

          5. If the canvassing board determines that a ballot is illegal, a member of
        the board must, without opening the envelope, mark across the face of the
        envelope: “rejected as illegal.” The cure affidavit, if applicable, the envelope,
        and the ballot therein shall be preserved in the manner that official ballots
        are preserved.

          (d) The canvassing board shall record the ballot upon the proper record,
        unless the ballot has been previously recorded by the supervisor. The
        mailing envelopes shall be opened and the secrecy envelopes shall be mixed
        so as to make it impossible to determine which secrecy envelope came out of
        which signed mailing envelope; however, in any county in which an
        electronic or electromechanical voting system is used, the ballots may be
        sorted by ballot styles and the mailing envelopes may be opened and the
        secrecy envelopes mixed separately for each ballot style. The votes on vote-
        by-mail ballots shall be included in the total vote of the county.

         Section 28. Subsection (2) of section 101.69, Florida Statutes, is
        amended, and subsection (3) is added to that section, to read:

          101.69   Voting in person; return of vote-by-mail ballot.—

          (2)(a) The supervisor shall allow an elector who has received a vote-by-
        mail ballot to physically return a voted vote-by-mail ballot to the supervisor
        by placing the return mail envelope containing his or her marked ballot in a
        secure drop box. Secure drop boxes shall be placed at the main office of the
        supervisor, at each permanent branch office of the supervisor, and at each
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      early voting site. Secure drop boxes may also be placed at any other site that
      would otherwise qualify as an early voting site under s. 101.657(1). Drop
      boxes must be geographically located so as to provide all voters in the county
      with an equal opportunity to cast a ballot, insofar as is practicable. Except
      for secure drop boxes at an office of the supervisor, a secure drop box may
      only be used; provided, however, that any such site must be staffed during
      the county’s early voting hours of operation and must be monitored in person
      by an employee of the supervisor’s office. A secure drop box at an office of the
      supervisor must be continuously monitored in person by an employee of the
      supervisor’s office when the drop box is accessible for deposit of ballots or a
      sworn law enforcement officer.

        (b) A supervisor shall designate each drop box site at least 30 days before
      an election. The supervisor shall provide the address of each drop box
      location to the division at least 30 days before an election. After a drop box
      location has been designated, it may not be moved or changed except as
      approved by the division to correct a violation of this subsection.

        (c)1. On each day of early voting, all drop boxes must be emptied at the
      end of early voting hours and all ballots retrieved from the drop boxes must
      be returned to the supervisor’s office.

        2. For drop boxes located at an office of the supervisor, all ballots must be
      retrieved before the drop box is no longer monitored by an employee of the
      supervisor.

        3. Employees of the supervisor must comply with procedures for the
      chain of custody of ballots as required by s. 101.015(4).

        (3) If any drop box is left accessible for ballot receipt other than as
      authorized by this section, the supervisor is subject to a civil penalty of
      $25,000. The division is authorized to enforce this provision.

        Section 29. Paragraphs (a), (b), and (e) of subsection (4) of section
      102.031, Florida Statutes, are amended to read:

        102.031 Maintenance of good order at polls; authorities; persons allowed
      in polling rooms and early voting areas; unlawful solicitation of voters.—

        (4)(a) No person, political committee, or other group or organization may
      solicit voters inside the polling place or within 150 feet of a drop box or the
      entrance to any polling place, a polling room where the polling place is also a
      polling room, an early voting site, or an office of the supervisor where vote-
      by-mail ballots are requested and printed on demand for the convenience of
      electors who appear in person to request them. Before the opening of a drop
      box location, a the polling place, or an early voting site, the clerk or
      supervisor shall designate the no-solicitation zone and mark the boundaries.

        (b) For the purpose of this subsection, the terms “solicit” or “solicitation”
      shall include, but not be limited to, seeking or attempting to seek any vote,
      fact, opinion, or contribution; distributing or attempting to distribute any
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        political or campaign material, leaflet, or handout; conducting a poll except
        as specified in this paragraph; seeking or attempting to seek a signature on
        any petition; and selling or attempting to sell any item; and engaging in any
        activity with the intent to influence or effect of influencing a voter. The terms
        “solicit” or “solicitation” may not be construed to prohibit an employee of, or a
        volunteer with, the supervisor from providing nonpartisan assistance to
        voters within the no-solicitation zone such as, but not limited to, giving items
        to voters, or to prohibit exit polling.

          (e) The owner, operator, or lessee of the property on which a polling place
        or an early voting site is located, or an agent or employee thereof, may not
        prohibit the solicitation of voters by a candidate or a candidate’s designee
        outside of the no-solicitation zone during polling hours.

          Section 30.   Section 102.072, Florida Statutes, is created to read:

          102.072 Vote-by-mail count reporting.—Beginning at 7:00 p.m. election
        day, the supervisor must, at least once every hour while actively counting,
        post on his or her website the number of vote-by-mail ballots that have been
        received and the number of vote-by-mail ballots that remain uncounted.

          Section 31. Subsection (1) and paragraphs (a) and (b) of subsection (2) of
        section 102.141, Florida Statutes, are amended to read:

          102.141    County canvassing board; duties.—

          (1) The county canvassing board shall be composed of the supervisor of
        elections; a county court judge, who shall act as chair; and the chair of the
        board of county commissioners. The names of the canvassing board members
        must be published on the supervisor’s website upon completion of the logic
        and accuracy test. Alternate canvassing board members must be appointed
        pursuant to paragraph (e). In the event any member of the county
        canvassing board is unable to serve, is a candidate who has opposition in
        the election being canvassed, or is an active participant in the campaign or
        candidacy of any candidate who has opposition in the election being
        canvassed, such member shall be replaced as follows:

          (a) If no county court judge is able to serve or if all are disqualified, the
        chief judge of the judicial circuit in which the county is located shall appoint
        as a substitute member a qualified elector of the county who is not a
        candidate with opposition in the election being canvassed and who is not an
        active participant in the campaign or candidacy of any candidate with
        opposition in the election being canvassed. In such event, the members of the
        county canvassing board shall meet and elect a chair.

          (b) If the supervisor of elections is unable to serve or is disqualified, the
        chair of the board of county commissioners shall appoint as a substitute
        member a member of the board of county commissioners who is not a
        candidate with opposition in the election being canvassed and who is not an
        active participant in the campaign or candidacy of any candidate with
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      opposition in the election being canvassed. The supervisor, however, shall
      act in an advisory capacity to the canvassing board.

        (c) If the chair of the board of county commissioners is unable to serve or
      is disqualified, the board of county commissioners shall appoint as a
      substitute member one of its members who is not a candidate with opposition
      in the election being canvassed and who is not an active participant in the
      campaign or candidacy of any candidate with opposition in the election being
      canvassed.

         (d) If a substitute member or alternate member cannot be appointed as
      provided elsewhere in this subsection, or in the event of a vacancy in such
      office, the chief judge of the judicial circuit in which the county is located
      shall appoint as a substitute member or alternate member a qualified elector
      of the county who is not a candidate with opposition in the election being
      canvassed and who is not an active participant in the campaign or candidacy
      of any candidate with opposition in the election being canvassed.

        (e)1. The chief judge of the judicial circuit in which the county is located
      shall appoint a county court judge as an alternate member of the county
      canvassing board or, if each county court judge is unable to serve or is
      disqualified, shall appoint an alternate member who is qualified to serve as a
      substitute member under paragraph (a).

        2. The chair of the board of county commissioners shall appoint a
      member of the board of county commissioners as an alternate member of the
      county canvassing board or, if each member of the board of county
      commissioners is unable to serve or is disqualified, shall appoint an
      alternate member who is qualified to serve as a substitute member under
      paragraph (d).

        3. If a member of the county canvassing board is unable to participate in
      a meeting of the board, the chair of the county canvassing board or his or her
      designee shall designate which alternate member will serve as a member of
      the board in the place of the member who is unable to participate at that
      meeting.

        4. If not serving as one of the three members of the county canvassing
      board, an alternate member may be present, observe, and communicate with
      the three members constituting the county canvassing board, but may not
      vote in the board’s decisions or determinations.

        (2)(a) The county canvassing board shall meet in a building accessible to
      the public in the county where the election occurred at a time and place to be
      designated by the supervisor to publicly canvass the absent electors’ ballots
      as provided for in s. 101.68 and provisional ballots as provided by ss.
      101.048, 101.049, and 101.6925. During each meeting of the county
      canvassing board, each political party and each candidate may have one
      watcher able to view directly or on a display screen ballots being examined
      for signature matching and other processes. Provisional ballots cast
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        pursuant to s. 101.049 shall be canvassed in a manner that votes for
        candidates and issues on those ballots can be segregated from other votes. As
        soon as the absent electors’ ballots and the provisional ballots are canvassed,
        the board shall proceed to publicly canvass the vote given each candidate,
        nominee, constitutional amendment, or other measure submitted to the
        electorate of the county, as shown by the returns then on file in the office of
        the supervisor.
          (b) Public notice of the canvassing board members, alternates, time, and
        place at which the county canvassing board shall meet to canvass the absent
        electors’ ballots and provisional ballots must be given at least 48 hours prior
        thereto by publication on the supervisor’s website and published in one or
        more newspapers of general circulation in the county or, if there is no
        newspaper of general circulation in the county, by posting such notice in at
        least four conspicuous places in the county. The time given in the notice as to
        the convening of the meeting of the county canvassing board must be specific
        and may not be a time period during which the board may meet.

          Section 32.     Section 104.0616, Florida Statutes, is amended to read:
          104.0616      Vote-by-mail ballots and voting; violations.—
          (1) For purposes of this section, the term “immediate family” means a
        person’s spouse or the parent, child, grandparent, grandchild, or sibling of
        the person or the person’s spouse.
          (2) Any person who distributes, orders, requests, collects, delivers
        provides or offers to provide, and any person who accepts, a pecuniary or
        other benefit in exchange for distributing, ordering, requesting, collecting,
        delivering, or otherwise physically possesses possessing more than two vote-
        by-mail ballots per election in addition to his or her own ballot or a ballot
        belonging to an immediate family member, except as provided in ss.
        101.6105-101.694, including supervised voting at assisted living facilities
        and nursing home facilities as authorized under s. 101.655, commits a
        misdemeanor of the first degree, punishable as provided in s. 775.082 or, s.
        775.083, or s. 775.084.
          Section 33.     This act shall take effect upon becoming a law.

          Approved by the Governor May 6, 2021.
          Filed in Office Secretary of State May 6, 2021.




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